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                           UNITEA STATES DISTRICT COURT
                           FOR THE DISTRICT pF COLUMBIA


TJ~EM I~LC,                                    )

                      Plaintiff                )

v.                                             ) CASE NUMBER 1:13-CV-00382-BAH

REPUBLIC OF GHANA,et al.,                      )

                      Defendants.


                  DECLARATION OF PROFESSOR KOFI QUASHIGAH

       I, Kofi Quashigah, declare that if called as a witness in this action, I could and would

competently testify to the following, based on personal knowledge or information, and as my

expert opinion.

       1.     I am a citizen and resident ofthe Republic of Ghana. I am an attorney at law duly

admitted in the Republic of.Ghana since 1981.. I am the Dean ofthe Law Faculty ofthe

University of Ghana, and have held that position since January, 2009. Attached as Exhibit 1

hereto is a true and correct copy of my C.V.

                        Constitutional Structure ofthe Republic of Ghana

       2.      The Republic of Ghana is a sovereign state. The Constitution of the Republic of

Ghana was adopted in 1992. The Constitution provides for three branches of government; the

Executive, Parliament and the Judiciary. See Chapters Eight, Ten and Eleven respectively ofthe

1992 Ghanaian Constitution. (Exhibits 2, 3 and 4 hereto). The Ministry of Finance is.an organ

of the Republic of Ghana. See Article 58(1),(3),(4) ofthe 1992 Ghanaian Constitution. (Exhibit

5 hereto).

       3.      Each ofthe branches of government is autonomous ofthe others. See generally

Chapters Eight, Ten and Eleven respectively ofthe 1992 Constitution and particularly Article
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58(1),(2),(3),(4)[in respect of the Executive](Exhibit 5 hereto), Article 93[in respect of the

Legislature](Exhibit 6 hereto), Article 125(1),(3)(Exhibit 7 hereto), Article 127 [in respect of

the Judiciary](Exhibit 8 hereto). The judiciary in Ghana is, therefore, independent ofthe

Executive and Parliament, and these latter braches respect the Constitutional autonomy ofthe

judiciary. Judges are appointed and serve until reaching the retiring age but may be removed

frgm office for "stated misbehavior or incompetence or on ground of inability to perform the

functions of office arising from infirmity of body or mind." Any purported removal must be in

accordance with the strict procedure prescribed in the Constitution..See Article 146 of the 1992

Ghanaian Constitution](Exhibit 9 hereto).

       4.      The government of Ghana,including its organs, agencies and instrumentalities,

may be sued in the courts of Ghana. See C.C. W Ltd v. Accra Metropolitan Assembly No.

J4/5/2007 13TH February 2008. The Government of Ghana is subject to claims against it as if it

were an ordinary citizen. Article 293(1) ofthe 1992 Ghanaian Constitution (Exhibit 10 hereto)

provides that: "Where a person has a claim against the Government, that claim may be enforced

as of right by proceedings taken against the Government for that purpose without the grant of a

fiat or the use of the process known as petition of rights." The courts of Ghana do not favor

governmental parties over private litigants. Foreign litigants also enjoy equal treatment under

the law, and have equal access to the courts. See Article 127(2) of the 1992 Ghanaian

Constitution, supra; Attorney General v. Balkan EneNgy Ltd., decision of Ghana Supreme Court

No. J6/1/2012 16 May 2012.

        5.      In sum,the courts of Ghana afford all parties due process of law.

                                    Complaint of TJGEM,LLC

        6.      I have reviewed the Complaint filed by TJGEM,LLC("TJGEM")in this action.




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       7.     In my opinion, under a conflicts oflaw analysis, the circumstances, dealings and

any resulting contract relating to the allegations in the TJGEM Complaint are governed by

Ghanaian law, and not by United States law. This matter relates to a project that was to be

executed in Ghana, the defendants are in Ghana and there is no agreement that could be

interpreted as agreeing that any dispute arising should be heard only in the Courts ofthe United

States of America. See The Assunzione [1954] 1 All E.R 278.

       8.      TJGEM could file a similar complaint in the courts of Ghana against these same

defendants. In my opinion, the courts of Ghana have personal jurisdiction over all ofthe named

defendants in this action. The governmental defendants (including the Republic of Ghana,the

Accra Metropolitan Assembly("AMA"),former Minister Kwabena Dufour, and Mayor Alfred

O. Vanderpuije) are subject to the jurisdiction ofthe Ghana courts because they are Ghanaian

entities or citizens. The Conti Construction Co., Inc. defendant also would be subject to the

jurisdiction ofthe Ghanaian courts because it is alleged to have conducted business in Ghana.

       9.      Ghanaian law provides for causes of action similar to the ones asserted in the

TJGEM Complaint, and damages also may be pleaded. I am not declaring herein that TJGEM

would or would not prevail on these claims in Ghana. Rather, that the types of legal theories

asserted are generally available also in Ghana. As indicated above, if TJGEM pursued its claims

in the courts of Ghana, it would be provided the same due process as any Ghanaian entity.

        10.    The Ghanaian legal system also provides for appellate review, and TJGEM also

would have recourse to appellate review. See Chapter Eleven ofthe 1992 Ghanaian

Constitution, supra. Again, I am not declaring whether TJGEM would prevail or not on appeal,

but explaining that the process of appellate review also is available.

       ///




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                                  Accra Metropolitan Assembly

       11.     Accra is the capital ofthe Republic of Ghana. Accra is governed by a mayoral

council system of government in which the mayor, or Metropolitan Chief Executive, is the

highest ranking public official -the Mayor is the chief representative of the Government in the

district. See Section 20(3)(d) Local Government Act, 1993 (Exhibit 11 hereto). The

Metropolitan Chief Executive is appointed by the President ofthe Republic of Ghana, and

approved by the AMA. The Mayor of Accra, like all other District Chief Executives are

appointed by the President with the prior approval ofthe District Assembly. See Article 243 of

the 1992 Ghanaian Constitution (Exhibit 12 hereto) and Section 20 ofthe Local Government

Act, 1993 (Exhibit 11 hereto).

       12.     AMA is an organ ofthe Republic of Ghana, established by the Ghanaian

Constitution. See Chapter Twenty ofthe 1992 Ghanaian Constitution; particularly Article 240;

also the Local Government Act(Exhibit 13 hereto). The AMA has 104 assembly members,70

percent of which are elected, and the remainder appointed by the President in consultation with

the traditional authorities and other interest groups in the district. See Article 242 ofthe 1992.

Ghanaian Constitution (Exhibit 14 hereto).. ;

        13.    The Powers ofthe AMA Metropolitan Chief Executive are set forth in Article

243(2) ofthe 1992 Ghanaian Constitution, supra, and Section 20(3)ofthe Local Government

Act, 1993, Act 462,supra, and generally include (a). presiding at meetings ofthe Executive

.Committee of the Assembly (b). having responsibility for the day —to- day performance ofthe

executive and administrative functions ofthe District Assembly; and (c). being the chief

representative ofthe Central Government in the district.

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              Accra MaXor Lacks Actual Authority To Award the Subiect Contract

       14.    I also have reviewed the Declarations ofthe Coordinating Director of AMA,and

pfthe Chief Director of the Ministry of Finance of the Republic of Ghana, being submitted to the

Court herewith. I agree with the declarants that Mr. Vanderpuije, in his capacity as Metropolitan

Chief Executive of AMA,lacked actual authority to award the contract for the subject

infrastructure project to TJGEM,for the various reasons discussed below under Ghanaian law.

       15.     The issue, whether the Metropolitan Chief Executive of AMA had actual

authority to award the contract for the subject infrastructure project, is governed by Ghanaian

law, because Ghanaian law sets forth the authority of the Metropolitan Chief Executive of AMA.

See the 1992 Ghanaian Constitution, the Local Government Act, 1993, Act 462 and the Public

Procurement Act, 2003, Act 663,supra.

       16.     Further, under Ghanaian law, persons and entities (like TJGEM)dealing with

governmental officials are presumed to know Ghanaian law related to the actual authority of

governmental officials with whom they have dealings. Under Ghanaian law every person is

deemed to know the law or at least to conduct due diligence with the assistance of competent

counsel. If the plaintiffs had done due diligence they would have informed themselves ofthe

requirements ofthe Constitution, Procurement Act and the Local Government Act as they relate

to the handling of contracts relating to the subject matter ofthis dispute The public policy

behind these principles, which are recognized in most established legal systems in the World, is

to ensure that the Rule of Law and approved processes are followed and complied with to

eliminate the incidence of corruption and to encourage or promote transparency in the award of

contracts which is a virtue espoused by well-meaning establishments.

       ///




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             The Required Process And Approvals To Award the Subject Contract

       17.     Under Ghanaian law, the process for the awarding ofthe subject contract is as

follows, and would require the following approvals set out in law, namely, in the 1992 Ghanaian

Constitution, the Procurement Act, the Local Government Act, and the Environmental Protection

Agency Act, 1994, Act 490 and its Regulations.

       18.     Under Ghanaian law all procurements of goods, works and services are subject to

the Provisions of the Public Procurement Act, 2003, Act 663. This legislation was promulgated

principally to provide far administrative and institutional arrangements for procurements by all

public institutions, including AMA. It is directed principally at eliminating corruption and

ensuring that public contracts are awarded to the best bidder to guarantee transparency and value

for money. Breach of its set procedures is subject to punitive criminal action. See Part IX of Act

663 relating to Offences relating to procurement(Exhibit 15 hereto). Part V of Act 663 (Exhibit

16 hereto) sets out in elaborate detail the Tendering Procedures —there are procedures for

inviting tenders, prequalification, standard oftender documents, submission oftenders, period of

validity oftenders, opening oftenders, examination oftenders, evaluation oftenders, etc. It is

also required that a tenders board be properly constituted and follow the procedure as laid down

by law. In Schedule 1 of Act 663 (Exhibit 17 hereto) said Metropolitan/Municipal/District

Tender Committee is composed ofthe following persons: The Metropolitan, Municipal or

District Chief Executive as Chairperson, with the following as members —the Director of

Finance, Lawyer appointed by the Assembly, one Member of Parliament and three heads of
         a
Departments one of whom represents the user department or agency. The quorum shall be four

members including the chairperson. Obviously, based on the foregoing, the Chairperson (in this

case the Metropolitan Chief Executive or Mayor), alone, lacks authority to and cannot make a
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decision on behalf of the procurement board. This procurement board procedure also requires

participation and/or approvals by various other entities, including the Ghanaian Public

Procurement Authority, the Ghanaian Parliament, the Ghanaian Ministry of Water Resources,

Works and Housing, the Ghanaian Ministry for Local Government and Rural Development, the

Ghanaian Ministry of Finance, and the Office ofthe President of Ghana.

       19.     Where the amount of money involved is beyond the established thresh-hold of a

tender entity its decision is subject to the approval by a superior Board. Because the subject

contract is for allegedly over $500 million, it would require such approval, as well. Furthermore,

the Public Procurement Act, 2003 establishes procedures for- the "procurement of goods and

services, financed in whole or in part from public funds..." See Public Procurement Act, 1993,

Act 663, section 14(1)(a)(Exhibit 18 hereto). In addition, according to article 181(3.) ofthe 1992

Ghanaian Constitution,"[n]o loan shall be raised by the Government on behalf of itself or




                                                                                              any
other public institution or authority otherwise than by or under the authority of an Act of

Parliament."(Exhibit 19 hereto). Therefore, Parliament also must approve loans for public

institutions and, thus, by implication the very projects for which the loan is sought.

       20.     Finally, approval for the project must also be obtained from the Environmental

Protection Agency Act, if required, before any project agreement is finalized.

       21.     All of the above measures are intended for avoidance of corruption, to ensure

transparency, and to encourage competitiveness. Until and only if all such approvals are

obtained, AMA cannot contract for the subject project. Any representation by any governmental

official to the contrary, including any such alleged representation by the Mayor (again, not

declaring that any representation was ever made), has no legal significance whatsoever and

cannot bind AMA and/or the Republic of Ghana under Ghanaian law.




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       22.     If after the subject contract is awarded TJGEM wishes to challenge the

procurement process or ultimate award, procedures are available in Ghana under the Public

Procurement Act, 2003, Act 663 —see generally Part VII ofthe Act(Exhibit 20 hereto). Again

without declaring that there is any basis to TJGEM's allegations, TJGEM also has procedures

available to report to the Ghanaian authorities any alleged improprieties in the course ofthe

procurement process or ultimate award. TJGEM could lodge a complaint with the Economic and

Organized Crimes Office, Act 804 or with the Commission in Human Rights and Administrative

Justice. See e.g. the Ghana Supreme Court case of CHRAJv. A.G and Baba Ka~naNa [2011]2

SCGLR 746.

                      Foreign Sovereign Immunity And Related Principles

       23.     In my opinion, under established principles of international law, AMA and the

Republic of Ghana have sovereign immunity from the jurisdiction ofthe United States courts

with respect to this dispute. Ghana is a Sovereign Republic. See Articles 1(1) and 4(1)ofthe

Ghanaian Constitution (Exhibits 21 and 22 hereto). However, as noted above, AMA,the

Republic of Ghana may be sued in the courts of Ghana. Further, under Ghanaian law and

international law, the Mayor and former Minister ofFinance have governmental official

immunity from the jurisdiction of the United States courts with respect to this dispute. However,

if TJGEM is able to establish official wrongdoing by these persons, then TJGEM also would be

able to assert claims against them in the courts of Ghana. I am not declaring regarding the

probability of success of any such claims.

        24.    Ghanaian law also respects principles of international comity. It is my opinion

that under principles of reciprocity, even if the United States District Court had jurisdiction over

this matter and these defendants, the action should be dismissed based on abstention grounds.
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       25.      Accordingly, I respectfully submit to the United States District Court that, in my

opinion, this action should be dismissed in the United States, and TJGEM should be required to

proceed in the Ghanaian judicial forum should it choose to do so.

       I declare under penalty pf perjury that the foregoing is true and correct. Executed in

Accra, Ghana.




Dated: 7t~' June 2013.
                                                      Kofi Quashigah




                                                 ~~
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                          CURktRI~ULUM VITAE
                                  OF
                       PROFESSOR KOFI QUASHIGAH
 SUMMARY

 Prof. Kofi Quashigah is an Associate Professor at the Faculty of Law, University of
 Ghana and Dean ofthe Faculty, His teaching and research interests include ConstitutipnaX
 Law, Human Rights, International Humanitarian Law, Juxisprudence, Governance,
 Elections.Law and Alternative Dispute Resolution.

 He was a Fulbright Scholar at the Harvard Human Rights Program between 2001/2QQ2
 and a McAxthur Foundation Visiting Scholar at the University of Wisconsin, USA in
 1992.

 He was adjudged and honoured as the 2005 Best Teacher in the Humanities in the
 University of Ghana.

 Prof. Quashigala was the brain behind the design and implementation of the newly
 introduced LL,M in International Law & Intexnational Humanitarian Law Programme of
 the Faculty. He was equally instrumental in negotiating the inclusion ofthe Faculty in the
 LI,.M in Human. Rights and Democratization in Africa; a programme in which five other
 Universities are partners.

 In collaboration with Prof. Obiora Okafor of the Osggode Hall, Law School, Canada, he
 promoted and edited the classical book titled "Legitimate Governance in Africa,"
 published by Kluwer Publishers in 1999.

 He is currently spearheading the production of the first issue of the "Annual Survey of
 Ghana Law." This is a project that is intended to revolutionize the approach to legal
 research in Ghana.

 He has on several occasions selected, trained and led the University of Ghana team to
 several of the Annual. All Africa Human RightsMoot Court Competition. Several
 honours wexe wan thus creating a special niche for the Faculty of Law of the University
 of Ghana among Faculties ofLaw in Africa.

  Prof. Quashigah is the Director of the Human Rights Centre of the Faculty of Law,
  University of Ghana. He had undertaken a number of Consultancies far iJNICEF and
  others; these include, j.JI~1ICEF/Ministry of Education, consultancy work on the Legal
  Framework Far The Right To Pre-Tertiary Education In Ghana — 2001; far UNICEF —
  Ghana, - he undertook a study on "Legislative Reform Initiatives, Institutional
  Development and Policy Changes in Favour of Children; Ghana National Study:' —
  June/July 2004; Consultant to National governance Programme (under the LJNDP
  Consolidating Democratic Governance Programme) — he was contracted to write a
  comprehensive but concise assessment ofthe Human Rights environment to be 'integrated
  into the Governance Component of tl~e Country Assessment on Ghana -- June 200;


                                     EXHIBIT 1
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 Research into ~iIV in Ghana for Centre for Human Rights, University of Pretoria, South
 Africa — 2005; Consultant assisting Ministry of Education in the Drafting of a Bill for a
 new Education Law for Ghana — 2005.

 He has attended several A~QR training sessions in Ghana and also visited the Harvard
 Negotiation Program and the Harvard Mediation Program. He has been invo]ved in the
 teaching of ADR to various groups in Ghana. He had co-ordinated the Woxld Bank
 institute Distance Learning Training is ADR - 2005.

 He had participated in a training session on Conflict Resolution at the Fifth Annual
 International Seminar on Arms Control &Disarmament —10`'' - 23rd September, 1997 at
 the Baker Institute, Juniata. College, Williamsburg,Pennsylvania, USA.

 Prof, Quashigah was the Associate Dean (Vice Dean) of the Faculty of Law of the
 University of Nigeria between 1991 and 1993.

 He had undergone extensive training in Alternative Dispute Resolution Skills and also
 Labour Management techniques. These are skills required for effective leadership. Prof,
 Quashigah is a qualified Mediator and teaches and practices mediation.

 Between January/February 2005 he was the Ghana country Facilitator for a World Bank
 Institute Distance Learning Course on Alternative Dispute Resolution for Ghana and
 Nigeria. He also was the Facilitator for the Workshop on the Alternative Dispute
 Resolution Bill of Ghana held on 2°d and 3rd September 2005. Again from 22"a _ 25m
 November 2005 he was the Ghana Facilitator of the International Development Law
 Organization (IDLO) Distance Learning Course on Strategic Litigation/Public Interest
 Litigation,

  He is the incumbent President of the Ghana Associatipn of Certified Mediators and
  Arbitrators.

  H~ is also the Co-ordinator of the ADR Coalition of Ghana. The Coalition is made up of
  institutional representation from the Judiciary, the Ghana Bar Association, the Faculty of
  Law ofthe University pf Ghana,the Ghana Arbitration Centre and the Ghana Association
  of Certified Mediators and Arbitrators.

  He is into citrus farming on part-time basis and even then was able to manage the farna to
  be adjudged the best citrus farmer in Akwapinn North District for 2006.

  He was instrumental in the Faculty of Law winning Four TALIF awards for projects
  within the Faculty.

  He had assisted the ADR Coalition -Ghana in securing funding from the IJNDP. The
  iJNDP was able to support the production of a Handbook on ADR in Ghana through the
  Coalition.



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 He was very instrumental in the raising of funds for the organi2ation of the 2000 All
 Africa Human Rights Moot Court Competition hosted by the Faculty of Law of the
 University of Ghana.
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                          COMPLETE CURRICULUM VITA

        A. Full Name: KOFI QUASHIGAH

~       ~3, Title: Associate Professor & Deau,Faculty of Law,University of Ghana

        C. Occupation; Lecturer in Law,Faculty ofLaw,University of Ghana

        p. Contact Address &Phone Numbers:
          Faculty of Law
           University of Ghana
            Legon
           Accra
     Phone: 2~3 20 8181454(Cell)

     E-mail: kauashi~ah(a~n,~.edu.~b~ & kauashi~ah2001na,,yahoo.com

        E. Educational Background

     (a).     Institutions Attended with Dates:

              (i)     University of Ghana, Legon - September 1974 -August 1979.
              (ii)    Ghana Law School - Acara. September 1979 -June 1981..
              (iii)   University ofNigeria, Enugu Campus -October 1983-November 1984.
              (iv)    University of Nigeria, Enugu Campus -October 1985-December 1989.

     (b).      Academic Qualifications with Dates:

              (i)       LL.B.(Ghana), October 1979.
              (ii)      Barrister-at-Law, Ghana,November 1981.
              (iii)     LL.M.(NIG). November 1984.
              (iv)      Ph.D.(NIG). December 19$9.

            F. Working Experience:

              (i)      Ministry of Justice, Ghana - As State Counsel -September 1981 -
                       August 1982.
              (ii)     Research Counsel. Nigeria Law Publications, October 1982 - Septennber
                       1983.
              (iii)    Lecturer in Law, University ofNigeria. September 1985 -August 199 .
              (iv)     Lecturer in Law, University of Ghana.; September 1994 -- April 1996.
              (v)      Senior Leoturex —April 1996 —May 2000
              (vi)      Associate Professor —May 2000 -~ To Date

      G. Areas of Teaching &Research Interest:



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           (i)       Human Rights
           (ii)      Jurisprudence
           (iii)     Constitutional Law
           (iv)      International Humanitarian Law
           (y)       Governance &Conflict Resolution.
           (vi)      Alternative Dispute Resolution

 H.Details of Teaching Experience At University Level:

          (i)      University ofNigeria, 1985 - 1994 Undergraduate Courses Handled
                   (a)      Constitutional Law
                   (b)      Jurisprudence
                   (c)      The Law of Contract and Tort(A Service Course for the Faculty
                            of Environmental Studies)
                   (d)     Law of Evidence (Tutorial)

                                 Post-Graduate Course Handled:
                                         Human Rights.

          (ii)     University of Ghana, 1994 To Date
                    Course Assigned:
                    (a)    Constitutional Law
                    (b)    Juxisprudence
                    (c)    Human Rights
                    (d)     International Humanitarian Law

  (iii)      Guest Lecturer in Basic Law,Ghana Institute of Public Adminis~ratian(GIMPA).

  (iv)       Visiting Lecturer in LLM Human Rights at the University of Pretoria, South
             Africa —March,2000, Apri1200~, May 2005.

  (v)        Visiting Professor, University of Education, Winneba — 2Q05.

  (vi)       Member Accreditation Panel to Review proposed and existing law programmes
             in some tertiary institutions in Ghana — 2006 & 2007.


  I.      Fellowships:

            (i)    Fulbright Schplar at Harvard University Human Rights Program -- 2001-
                   2002,
             (ii) Social Science Research Council McArthur Foundation. Visiting Scholar
                   1991 (University of Wiscpnsin, Madison),
             (iii) Social Science Research Council Small Grants Wprkshop Fellowship
                   1993 -For use in basting a Workshop on THE ROLE OF HUMAN



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                RIGHTS NGOs IN THE PROMOTIpN AND PROTECTION OF
                HUMAN RIGHTS IN WEST AFRICA.


 J.   Administrative Positions Hsld:

       (i)       Associate Dean ofLaw (Vice Dean), University ofNigeria, 1991-1993.

       (ii)      Faculty Representative, Board of School ofPostgraduate Studies,
                 University ofl~Tigeria, 19881994.

       (iii)     Faculty Representative, Board of General Studies, University of
                 Nigeria, 198$-1994.

       (iv)      Hall Warden, Mariere Hall, University of Nigeria, Enugu Campus,
                 1991-1994.

       (v)       Director, Human Rights Study Centre, Faculty of Law,University of
                 Ghana

       (vi)      Member,Publications Board, University of Ghana

        (vii)    Member,Human Rights Committee ofthe Ghana Bar Association —
                 1998 & 1999

        (viii) Hall Tutor —Commonwealth Hall, UniversiTy o~ Ghana, Legon —Current.

        (ix)    Council of Commonwealth Hall —Member —Current.

        (x)     Faculty Representative —Board of Graduate Studies, University of Ghana
                 —1999 -Date

        (xi)    Chairman, Disciplinary Board far Junior Senior Staff — 2004-2006

        (xii) Chairman,Disciplinary Board for Senior Members — 20Q6 - 2008

        (xiii) Chairman, Examination Malpractices Committee —From time to time

        (xiv) Member,Teaching and Learning Innovation Fund(TALIF)T'roposal
               Review Committee — 2004 to Date

        (xv) Member,University Tenders Board, University of Ghana -Current

        (xvi) Member,Procurement Committee, University of Ghana -Current




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       (xvii) Ca-opted Member —Project for the Ascertainment of Customary Law in
               Ghana - 2007

       (xviii) Member,ZJniversity Negotiating Team for the Settlement of Labour
                Dispute with laid off Casuals ofthe University - 2007


 K.    Ca~asultancy:

       1, Consultant for Royal Danish Embassy, Ghana and the Commission on Human
       Rights aid Administrative Justice, Ghana on Project for the Identifiaatian of
       Areas far Possible Danish Support to Ghana's Commission on Human Rights and
       Administrative Justice.

       2.Guest Lecturer —Ghana Institute ofPublic Administration(GIMPA)—1998 To
       Date,

        3.Guest Lecturer —African Human Rights Camp 1997, 19th October — 7t"
        November 1997 at Sogakope ,Ghana.

       4. Consultant to the Direotoxate for Social Mobilization — (Nigeria, Anambra
        State)for the teaching ofthe Constitution and the praductian of Handbook on
        Understanding the Constitution ofNigeria —period 1989 to 1990.

        5. Guest Lecturer to Newly Elected Members ofthe Anambra State House of
        Assembly under the short-lived 1989 Constitution afNigeria —Organizational
        Structure and Function of State Legislatures Under the 1.989 Constitution,

       6.Consultant on Alternative Dispute Resolution on World Bank Pxoject into
       Alternative Dispute.Resolution in Ghana —1999.

       7. Consultant — UNICEF/Ministry of Education for consultancy work on the
        LEGAL FR.A.MEWORK FOR THE RIGHT TO PRE-TERTIARY EDUCATION
        IN GI~AI*IA.

        8. Consultant —Centre for Democracy &Development.

  L.     C4NF~R~NC~S,SPECIAL SEMINARS AND WO~iK~HOPS AT WHICH
                                       PAPERS WERE READ:
  1. 1992 Conference ofthe African Studies Association held at Seattle, Washington.
  U.S.A., 20 - 24 November. 1992.
               Title ofPaper Presented
  Protection of Human Rights in the Changing Domestic and Tnternatianal Scenes:
  Prospects in Sub-Saharan Africa(Hosted by the S.S.R.0 at Seattle).




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 2, International Conference on West African Integratipn organized by the International
 Development Research Centre(IDR.C)at Dakar. Senegal. 11 - 1S Januaxy. 1993.
              Title ofPaper Presented_
 Human Rights and Integration in West Africa.

 3. Joint Konrad Adenauer Foundatian/Catholic Institute for Development, Justice and
 Peace(CIDJ~IP)International Colloquium on Regionalism, Ethnic and Tribal Conflicts
 and Democracy in Africa held at Enugu,Nigeria, from 6th - 18th June, 1993.
                                      Title ofPaper Presented:
                               National Integration and Local Conflicts.

 ~. Sixth Annual Conference ofthe African Society ofInternational and Comparative Law
 held in Accra, Ghana, 20th - 24th September, 1993.
                                    Title ofPaper Presented
               Ths United Nations and Humanitarian Intervention in the Contemporary
       World Situation, Published in Proceedings ofthe Sixth Annual Conference ofthe
       African Society of International and Comparative Law, Accra. 20 - 24 September,
        1993. pp. 36-63.

  5. Human Rights Seminar for Public Law Teachers. Gateway Hotel Ota,
 Nigeria, Sponsored by Friedrich Nauman Foundation, November 27 - 30,    1994.
                                   Title of Paper  Presented
               VVhy Human Rights? The Relevance of Human Rights in Contemporary
                              International Politics and Relations.

 6. Social Science Research Council(USA)Workshop on the Role of Human Rights Non-
       Governmental Organizations held at the Zodiac Hotel, Enugu, Nigeria, 17th - 19~'
       May 1995.
                                        Title ofPaper Presented:
                  The  Rale of Human   Rights  Non Governxn~ntal Organizations(NGOs).
              within the Legal and International Framework ofthe African Charter on
                              Human and Peoples' Rights(ACHPR).

  7. Eighth Annual Conference ofthe African Society of International.And Cpmparative
  Law, Cairo, Egypt,2 - S September,1996.
                               Title ofPaper Presented:
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                           C_ ~t~l S~T I ~1" V~'I t~ i~




                                 CHAPTER EIGHT

                                 THE EXCCUTYVE

                                      The President

   57.

             (1)There shall be a President ofthe Republic of Ghana who shall be the
             Head o£ State and Head ofGovernment and Commander-in Chiefofthe
             Armed Foxces of Ghana.,

             (2)The President shall take precedence over all other persons in Ghana;
             and in descending order,the Vice-President, the Speaker ofParliament
             and the Chief Justice, shall take precedence over all other persons in
              Ghana.

             (3)Before assuming office the President sha11 take and subscribe before
             Parliament the oath ofallegiance and the presidential oath set out in the
             Second Schedule to this Constitution.

              (4) Without prejudice to the provisions ofarticle 2 ofthis Constitution,
              and subject to the operation ofthe prerogative writs, the President shall
              not, while irx office, be liable to proceedings in any court for the
               performance o£his functions, ox for any act done or omitted to be done, or
               purported to be done, or purported to have been done or purporCing to be
               done in the performance of his functions, tuzder this Constitution or any
               other law.

              (5} The President shall not, while in office as President, be personally
              liable to any civil or criminal proceedings in court.

              (~ Civil or criminal proceedings may be instituted against a person within
              three years after his ceasing to be President, in respect ofanything done ar
              omitted to be done by him in his personal capacity before or during his
              term ofoffice notwithstanding any period oflimitation except where the
               proceedings had been legally barred before he assume~cl the office of
              President.

    58,

               (1)The executive authority of Ghana shall vest in the President and shall
               be exercised in accordance with the provisions ofthis Constitution,




                                            EXHIBIT 2
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             (2)The executive authority of Ghana shall extend to the execution and .
                                                                                  in
             maintenance ofthis.Constitution and all laws made under or continued
             force by this Constitution,
                                                                                    red
             (3)Subject to the provisions ofthis Constitution, the functions confer
             on the President liy clause(1)ofthis article tray be exerci sed by him .
             either directly ar through officers subordinate to him.

             (4)Except as otherwise provided in this Constitution or by a law not
                                                                                  shall
             inconsistent with this Constitution, all executive acts ofGovernment
             be expressed to be taken in the name ofthe President.
                                                                                      made,
             (5)A constitutional ar statutory instrument or any other instrument
                                              of the Presid ent shall be authen ticate d by
             issued or executed in tha Warne
             the signature ofa Minister and  the validit y of nay such inshu ment   so
                                                                                   is nat
             authenticated shall not be called in question on the ground that it
              made, issued or executed by the   Presid ent.

   59.
                                                                             in writing,
              The President shall not leave Ghana without prior notification
              signed by him and addressed to the Speaker ofParlia    ment.



                                                                             m such
              (1)There shall be aVice-President ofGhana who shall perfor
                                                                          by the
              functions as may be assigned to hun by this Constitution or
              President.
                                                                               ated by the
               (2)A candidate for the office ofVice-President sha11 be design
                                                           the electi on ofPresid ent.
               candidate for the office ofPresident before
                                                                         to a candid   ate
               (3)The provisions of article 62 afthis Constitution apply
               for election~as Vice-President,
                                                                                  dent ifthe
               (4)A candidate shall ~be deemed to be duly elected asVice-Presi of
                                                                     on to the office
               candidate who designated him as candidate for electi
                                                                             ance with the .
                Vice-President has been duly elected as President in accord
                provisions of article 63 of this Constitution.
                                                                           m the functions
               (5)The Vice-President shall, before commencing to perfor
                                                                            and the Vice-
               ofVic~President, take and subscribe the oath of allegiance
                                                                              tution,
               Presidential oath set outin the Second Schedule to this Consti
                                                                               office, the
                (6)Whenever the President dies, resigns or is removed from
                Vice-President shall assume office as Presid ent for the unexpi red term of
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             office ofthe President with effect from the dale ofthe death, resignation or
             removal ofthe President,

             (7) Whare the unexpired term served by the Vice-President under clause
             (6)of'this article exceeds halfthe term ofa President, the Vice-President
             is subsequently only eligible to serve one fizll term as President.

             (8) Whenever the ~'eesident is absent from Ghana or is for any other
             reason unable to perform the functions ofhis office, the ~Vic,~-President
             shall perform the function ofthe President rantil the President returns or is
             able to perform.

             (9)The Vice-President shall, before commencing to perform the functions
             ofthe President under clause(6)ofthis article, take and subscribe the oath
             set out in the Second Schedule to this Constitution in relation to the office
             ofPresident.

             (10)The Vice-President shall, upon assuming office as President under
             clause(6)ofthis article, nominate a person to the office afVice-President
             subject to approval by Parliament,         .

              (11) Where the President and the Vice-President are both unable to
              perform the functions ofthe President, the Speaker ofParliament shall
              perform those functions until the President or the Vice-President is able to
              perform those factions or a new President assumes office, asthe-case may
               be.

              (12)'The Speaker shall, before commencing to perform the functions of
              the President under clause(11)ofthis article, take and subscribe the oath
              set out in relation to the ai~ice ofPresident.

              (13)'Where the Speaker ofParliament assumes the office ofPresident as a
              xesult ofthe death, resignation or removal from office ofthe President and
              the Vice-President, there shall be a presidential election within three
               months after his assumption of office.

              (14)The provisions ofarticle 69 ofthis Constitution shall apply to the
              removal from office ofthe Vice-President.

    61.

               There shall be a public seal and a presidential seal,the use and custody of
               which shall, subject to the provisions ofthis Constitution, be regulated by
               law.
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   62.

             A person shall not ba qualified for election as the President of Ghana
             unless -

                     (a)he is a citizen ofGhana by birth;

                     (b)he has attained the aga offorty years; and

                     (c)he is a person who is otherwise qualified to be elected a
                     Member ofParliament, except that the disqualifications s$t outi in
                     paragraphs(c),(d), and(e)of clause(2)of article 94 ofthis
                     Constitution shall not be removed,in respect ofany such person;
                      by a presidential pardon or by the lapse oftime as provided for in
                      clause(5)ofthat article.

   63.

              (1) A person shall not be a candidate in a presidential election unless he is
              nominated.for election as ~•esident by a document which -

                      (a)is signed by lvm; and

                      (b)is signed by not less than two persons who are registered voters
                      resident in the area.of authority ofeach district assembly;

                      (c)is delivered to the Electoral Commission on or before the day
                      appointed as nomination day in relation to the election;

                      (d)designates a person to serve as Vice-President,

              (2)The election ofthe President sha11 be on the terms o£universal adult
              sut~rage and shall, subject to the provisions ofthis Constitution, be
              conducted in accordance with such regulations as may be prescribed by
              constitutional inshument.by the Electoral Commission and shall be held so
               as to begin -

                       (a) where a President is in office, not earlier than four months nor
                       later than ana month before his terin~of office expires; anti

                       (b)in any other case, within three months after the office of
                       President becomes vacant; and shall be held at such place and shall
                       begin on such date as the Electoral Commission sha11, by
                       constitutional inshument,specify.
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             (3)A person shall not be elected as President ofGhana unless at the
             'presidential eleotion the number of votes cast in his favour is more than
              fifty per cent ofthe total number of valid votes cast at the election.

             (4) Where at a presidential election there are more than twa candidates and
             no oandidate obtains the number or percentage of votes specified in clause
             (3)ofthis article a second election shall be held within twenty-one days
             after the previous election.

             (5} ~'he candidates for a presidential election held under clause(~)ofthis
             article shall be the two candidates wl~o obtained the two highest numbers
             ofvotes at the previous election,

             (6)'VVhere at a presidential election three or more candidates obtain the
             two highesC numbers of votes referred to in clause(5)ofthis article, then
             unless there are withdrawals such that only two candidates remain, aa~other
             elec.~ion shall held within twent~ana days after the previous election at
             which the candidates wkio obtained the two highest numbers of votes shall,
             subject to any withdrawal, be continued until a President is elected,

              ('n A presidential candidate under clause(5)or(6)ofthis article may, be
              writing under his hand, withdraw his candidature ax any time before the
              election.

              (8)If after a second presidential election held under clause(4)ofthis
              article the two candidates obtained an equal number of votes,then,
              naiwithstat~ding any withdra~vval, another election shall be held within
              twenty-one days after the election at which the two candidates shall be the
              only candidates and the same process shall, subject to any withdrawal, bey
               continued until a President is elected.

              (9)An insi~u~~~ent which -

                       (a)is executed'under the hand ofthe Chaurnan ofthe Electoral
                       Commission and under the seal ofthe Commission;and

                       (b)-states that the person named in the instrutrient was declared
                       elected as the President ofGhana at the.election ofthe President,
                       shall be prima facie evidence that the person nanned was so elected.

    64.

               (1)The validity ofthe election ofthe President maybe challenged only by
               a citizen of Ghana who znay present a petition for the purpose to the
               Supreme Court within twentyone days after the declaration ofthe result
               ofthe election in respect of which the petition is presented.
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             (2)A declaration by the Supreme Court that the election ofthe President is
             not valid shall be without prejudice to anything done by the President
             before the declaration.

             (3)The Rules ofCourt Committee shall, by constitutional instru~nen~,
             'make rules ofcourt for the practice and procedure for petitions to the
              Supreme Court challenging the election ofa President

   6S.

              The Electoral Commission shall, by.constitutional instr~.tment, make
              regulations for the purpose ofgiving effect to article 63 ofthis
              Consritution.

   66.

              (1)A person elected as President shall, subject to clause(3)ofthis article,
              hold office for a term offour years beginning from the date on which he is
              swam in as President.

              (2)A person shall not be elected to hold office as President ofGhana for
              more than two terms.

              (3)The oi~ice ofPresident shall become vacant -

                      .(a) on the expiration ofthe period specified in clause(1)ofthis
                      article; or

                      (b) ifthe incumbent dies or resigns from office ar ceases to hold
                      office under article 69 ofthis Cflnstitution.

              (4)The President may, by writing signed by him, and addressed to the
              Speaker ofParliament, resign from his office as President,

    67.

               The President shall, at the beguaning ofeach session ofParliannent and
               before a dissolution o£Parliament, deliver to Parliament`a message on the
               state ofthe nation.

    68.

               (1)The President shall not, while he continues in office as President

                       (a)hold any other af~ice ofprofit ar emohu~nent whetter private ar
                       public and whether directly or indirectly; or
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                     (b)hold the office ofchancellor ar head ofany university in
                     Ghana.

             (2)The President shall not,on leaving office as President, hold any office
             of profit or.emolument, except with the permission ofParliament, in any
             establishment, either directly or indixectly, other than that ofthe State.

             (3)The President shall receive such salary, allowances and facilities as
             may be prescribed by Parliament on the recommendations ofthe
             committee referred to in article 71 ofthis Constitution.

             (4)On leaving office,the President shall receive a gratuity in addition to
             pension, equivalent to his salary and other allowances and facilities
              prescribed by Parliament in accordance with clause(3)ofthis article.

             (5)The salary, allowances,facilities, pensions-and gratuity referred to in
             clauses(3)and(4)shall be exempt from tax,

              (6} Where the President is removed from office under paragraph(c)of
              clause(1)ofarticle 69 ofthis Constitution ar resigns, he shall be entitled
              to such pension and other retiring awards~and facilities as Parliament may
               prescribe on the recommendation ofthe Committee referred to in Article
              71 ofthis Constitution.

              (7)The salary and allowances payable to the President and any.pension or
              gratuity payable to him on leaving oi~ce sha11 be charged on the
              Consolidated Fund,

              (8)The salary, allowances, facilities and privileges ofthe President shall
              not be varied to his disadvantage while he holds office.

              (9)The pension payable to the President and the facilities available to him
              shall not be varied to his disadvantage during his lifetime.

    69.                         .

               (1)The President shall be removezl from office ifhe is found, in
               accordance with the provisions ofthis article -

                       (a)to have acted in willful violation ofthe oath ofallegiance and
                       the presidential oath set out in the Second Schedule to, or in willful
                       violation ofany other provision o~ this Constitution; or .

                       (b}to have conducted himselfin amanner -
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                                     (i)which brings or is likely to bring the high office
                                     ofPresident into disrepute, ridicule or contempt; or

                                     (u)prejudicial ar inimical to the economy or the
                                     security ofthe State; or

                     (c)to be incapable ofperforming the functions ofhis office by
                     reason ofzn~i~mity ofbody or mind.

             (2)For•the purposes ofthe removal from office ofthe President, a notice
             in writing -

                     (a)signed by not less than one-third ofall the members of
                     Parliament, and

                     (b)stating that the conducti or the physical or mental capacity of
                     the President be investigated an any ofthe grounds specified in
                     clause(1)ofthis article, shall be given to the Speaker wha shall
                      unmediately inform the Chiefjustice and deliver the notice to hun
                     copied to the President.

              (3)The notice referred to in clause(2)ofthis article shall be accompanied
              by a statement in writing setting out in detail the facts, supported by the
              necessary documents,on which it is claimed that the conduct or the
              physical or mental capacity ofthe President by investigated for the
               purposes ofhis removal from office.

              (4)Subject to clause(5)ofthis article, the ChiefJustice shall, by
              constitutional instrwwnent, immediately convene a tribunal consisCing ofthe
              Chief Justice as Chairman and the four nnost senior justices ofthe
              Supreme Court and the tribunal shall inquire, in camera, whether there is a
               prima facie case for the removal ofthe President.

              (5) Where a notice under clause(2)ofthis article is delivered to the Chief
              Justice in respect ofthe removal from office ofthe President an the
              grounds ofphysical or mental incapacity, the Chief Justice shall,vn
              consultation with the professional head ofthe Ghana Heatth Services,
               causes a medical board to be convened which shall consist ofnot less than
              four eminent medical specialists and the President shall be informed
               accordingly.

              (6)The President shall be invited to submit himselffor examination by the
              medical board within fourteen days after the appointment.ofthe board.
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             (7)The President shall be entitled during the proceedings ofthe tribunal or
             ofthe medical board to be heard in his defence by himself or by a lawyer
             or other expert or person as the case nnay be, ofhis own choice.

             (8)'The Rules ofCaurt Committee shall, by constitutional instrument,
             make xules for the practice and procedure ofthe tribunal or ofthe medical
             board for the removal ofthe President.

             (9) Where the tribunal or medical board specified in clauses(4)and(5)of
             this article determines that there is a prima facie case far the removal of
             the President or that the President is by reason ofphysical or mental
             incapacity unable to perform the fur►ctions ofhis office, the ~rndings shall
             immediately be submitted to the Speaker ofParliament through the Chief
              Justice and copied to the President.

             (10)Parliament shall, within -fourteen days after the date ofthe findings of
             the tribunal or tnedioal board, move a resolution whether or not the
             President shall be removed from of~ica.

             (11)The resolution for the removal fronn o~ics ofthe President shall be
             by a secret ballot end shall be taken to be approved by Parliament if
             supported by the votes ofnot less that two-thirds ofall the members of
             Parliament after prior debate.

              (12} The proceedings ofParliament for the removal ofthe President shall
              not be held in camera except where Parliament otherwise orders in the
              interest ofnatitonal security.

              (13)The President shall cease to hold oi~'ice as President on the date
              Pariia~ment decides that he be removed from office.



              (1)The President shall, acting in consultation with the Council of State,
              appoint-

                       (a)the Commissioner for Human Rights and Administrative
                       Justice and his Deputies;

                       (b)the Auditor-General;

                       (c)the District Assemblies Common Fund Administrator;

                       (d)the Chairmen and other members of -

                                       (i)the Public Services Commission;
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                                     (ii) the Lands Camrnission;

                                     (iii) the governing bodies ofpublic corporations;

                                     (iv) a National Council t'or Higher Education
                                     howsoever described; and

                     (e)the holders ofsuch~other of~'ices as may be prescribed by this ,
                     Constitution or by any other law not inconsistent with this
                     Constitution.

             (2)The President shall, acting on the ac}vice ofthe. Council'of State,
             appoint the Chairman, Deputy Chairmen, and other mennbers ofthe
             Electoral Commission.

   71.

             (1)The salaries and allowances payable, and the facilities and privileges
             available,to

                     (a)the Speaker and Deputy Speakers and members ofParliament;

                     (b)the ChiefJustice and the other Justices ofthe Superior Court of
                     Judicature;

                      (c)the Auditox-General,the Chairman and Deputy Chairmen afthe
                      Electoral Commission,the commissioner for Human Rights and .
                      Administrative Justice and his Deputies and the District
                       Assemblies Common Fund Administrator;

                      (d)the Chairman, Vice-Chairman and the other members of

                                       (i)a National Council for Higher Education
                                       howsoever described;

                                       (ii)the Public Services Commission;

                                       (iii) the National Media Commission;

                                       (iv)the Lands Commission; and

                                       (v)the National Commission for civic Education;

               being expendihzre charged on the Consolidated Fund,shall be determined
               by the President on the recommendations ofa committee ofnot more than
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             five persons appointed by the President, acting in accordance with the
             advice ofthe Council ofState.

             (2)The salaries and allowances payable, and the facilities available, to the
             President,the Vice-President, the chairman and the other members ofthe
             Council of State; Ministers ofState and Deputy Ministers, being
             expenditure charged on the Consolidated Fund,shall be detettx~ivaed by
             Parliament an the recommendations ofthe committee referred to in clause
             (1)ofthis article,

             (3)For the purposes ofthis article, and e~ccept as otherwise provided in
             this Constitution, "salaries" includes allowances, facilities and privileges
             and retiring benefits or awards.

   '72.

             (1)The President may,acting in consultation with the Council ofState-

                      (a) grant to a person convicted ofan offence a pardon either free or
                      subject to lawful conditions; ox

                      (b)grant to a person a respite, either indefinite or for a specified
                      period, from the execution ofpunishment imposed on him.far an
                      offence; or

                      (cj substitute a less severe form.ofpunishment for a punishment
                      imposed o~ a person for an offence; ar

                      (d)remit the whole or part ofa punishment irmposed on a person ox
                      ofa penalty or forfeiture otherwise due to Government on account
                      on any offence.

              (2) Where a person is sentenced to death for an offence, a written report of
              the case fronn the trialjudge orjudges, together with such other
              information derived from the record ofthe case or elsewhere as may be
               necessary, shall be submitted to the President.

              (3)For the avoidance of doubt, it is hereby declared that a reference in this
              article to a conviction or the imposition ofa punishment, penalty, sentence
              or forfeiture includes a conviction or the imposition ofa punishment,
              penalty, sentence or forfeiture by acourt-marital ax other military tribunal.

                                   International Relations
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   73.

             The Government of Ghana shall conduct its international affairs in
             consonance with the consonance with the accepted principles of public
             internatipna] law and diplomacy in a manner consistent with the national
             interest ofGhana.                                .

   74.

             (1)The President shall, acting in consultation with the Council ofState,
             appoint persons to represent Ghana abroad.

             (2)The Fcesident may receive envoys accredited to Ghana,

   75.

             (1)The President may execute or cause to be executed treaties, agreements
             or conventions in the name ofGhana.

              (2)A treaty, agreement or convention executed by or under the authority
              ofthe President shall be subject to ratification by-

                       (a)Act ofParliament; or

                       (b)a resolution ofParliament supported by the votes ofmare than
                       on-halfo£all the members ofParliament.

                                        The Cabinet

    76.

              (1)There shall be a Cabinet which shall consist ofthe President, the Vice-
              President and not less than ten and not more than nineteen Ministers of
              State.

              (2)The Cabinet shall assist the President in the determination ofgeneral
              policy ofthe Government..

              (3)There shall be a Secretary to the Cabinet who shall be appointed by the
              President.

    77.

               (1)The Cabinet shall be summoned 6y the President who shall preside at
               all its meetings; and in the absence ofthe President, the Vice-President
                      preside.
               shall
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             (2)The Cabinet shall regulate the procedure at its meetings.

   78.

             (1) Ministers ofState sha11 be appointed by the President with the prior
             approval ofParliament from among members ofParliament or persons
             qualified to be elected as members ofParliament,except that the nnajority
             ofMinisters ofState shall be appointed from among members of
             Parliament,

             (2)The President shall appoint such number ofMinisters ofState as may
             be necessary for the ef~i~ient running ofthe State.

              (3)A Minister of State sha11 not hold any other office of profit or
              emolument whether private or public and whether directly or indirectly
              unless otherwise permitted by the Speaker acting on the recommendations
              ofa committee ofParliament on the ground-

                     (a)that holding that office will not prejudice the work ofa
                     Minister; and

                      (b)'that na conflict of interest arises ox would arise as a result of
                      the Minister holding that oi~ice.

    79.

              (1)The President naay, in consultation with a Minister ofState, and with
              the prior approval ofParliament, appoint one ox more Deputy Ministers to
              assist the Minister in the performance.ofhis functions.

              (2)A person shall not be appointed a Deputy Minister unless he is a
              Member ofParliament ar is qualified to be elected as a member of
              Parliament.

              (3)Clause(3)of article 78 applies to a Deputy Minister as it applies to a
              Minister of State.

    80.

               A Minister ofState or Deputy Minister shallnot enter upon the duties of
               his unless he has #aken and subscribed the oath of allegiance, the oath of
               Muaister of State and the Cabinet oath, as the case maybe,sat out iri the
               Second Schedule to this Constitution.
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   81.

             The office ofa Minister ofState or a Deputy Minister shall became vacant


                     (a) his appointment is revoked by the President; ox .

                     (b)he is elected as Speaker or Deputy Speaker; or

                     (c)he resigns from oi~ce; or .

                     (d)he dies.

   82.

             (1)Parliament may, by a resolution supported by the votes ofnot less than
             two-thirds ofall the members ofParliament, pass a vote ofcensure on a
             Minister of State.

              (2)A motion £or the resolution xeferred to in ctause(1)ofthis article shall
              not be moved in Parliament unless-

                      (a)seven days' notice has been given ofthe motion; and

                      (b)the notice for the motion has been signed by not less than one-
                      third of all the members ofParliament;

              (3)The motion shall be debated in Parliament within fourCeen days after
              the receipt by the Speaker ofthe nofi~e for the motion.

              (4)A Minister of State in respect of whom a vote ofcensure is debated
              under cause(3)ofthis article is entitled, during the debate,to be heard in
              his defence.

              (5) Where a vote ofcensure is- passed against a Minister under this article
              the President may,unless the Minister resigns his office,revoke his
              appointment as a Minister.

               (6)For the avoidance ofdoubt this article applies to a Deputy Minister as
               it applies to a Minister of State.

                                        The National Security Council
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   83.

             (1)There shall be a National Security Council which sha11 consist of-

                     (a)the President;

                     (b)the Vice-President;

                     (c).the Ministers for the time being holding the portfolios of.
                     foreign affairs, defence, interior, and finance and such other
                     Ministers as the President may determine;.

                     (d)the ChiefofDefense Staffand two other members ofthe
                     Armed Farces;

                     (e)the Inspector-General ofPolice and two other members ofthe
                     Police Service, one ofwhom shall be the Commissioner ofPolice
                     responsible for Criminal Investigations Department;

                     (~ the Director-General ofthe Prisons Service;

                      (g)the Director ofExternal Intelligence;

                      (h)the Du~ector ofInternal Intelligence;

                      (i)the Director ofMilitary Intelligence;

                      (j)the Commissioner of Custortzs, Excise and Preventive Service;
                      and

                      (k)three persons appointed by the President.

              (2)The President shall preside at meetings ofthe National -Security
              Council and in his absence the Vice-President shall preside.

              (3)The President may,acting in consultation with the National Security
              Council, invite such persons as he considers necessary for any
              deliberations ofthe Council.

              (4)A person invited to participate in the deliberations ofthe Council under
              clause(3)ofthis article shall not vote on any matter for decision before
              the Council.

              (5)The National Security Council shall regulate the procedure at its
              meetings.
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             (6)The Secretary to the Cabinet shall be the Secretary to the National
             Secuxity Council.

   84.

             The functions ofthe National Security Council include-

                     (a)considering and taking appropriate measures to safeguard the
                     internal and e7cternal security ofGhana;

                     (b)ensuring the collection ofinformation relating to the security of
                     Ghana and the integration oftkie domestic, foreign and security
                     policies relating to it so as to enable the security services and other
                     depar(rnen~s and agencies o£the Government to co-operate more
                     effectively in matters relating to national security;

                     (c) assessing and appraising the objectives, commitments and risks
                     ofGhana in relation to the actual and potential military power in
                     the interest ofnational security; and

                     (d)taking appropriate measures regarding the consideration of
                      polioies an matters ofcommon interest to the departments aid
                     agencies ofthe Government concerned with national security.

    85.

              No agency, establishment ar other organization concerned with national
              security shall be established except as provided for under this
              Constitution.

                              National Development Planning Commission

              (1)There shall be a National Development Planning Commission.

              (2)The Commission shall consist of-

                      (i) a Chairman who shall be appointed by the President in
                      consultation with the Council ofState;

                      (ii) the Minister responsible for finance and such other Ministers of
                      State as the President may appoint;

                       (iii)the Government Statistician;

                      (iv)the Governor ofthe Bank of Ghana;
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                     (v)one representative from each region ofGhana appointed by the
                     Regional Co=ordinating Council ofthe region;

                     (vi) such other persons as may be appointed by the President
                     having regard to their knowledge and experience ofthe relevant
                     areas and roles pertaining to development, economic, social,
                     environmental azid spatial planning.

             (3)The National Development Planning Commission shall be responsible
             to the President.

   87.

             (1)The Commission shall advise the President on development plaruvng
             policy and strategy.

              (2)The Commission shall, at the request ofthe President or Parliament, or
              on its own initiative-

                      (a)study and make strategic analyses of macro-economic and
                      structural reform options;

                      (b) make proposals for the development ofmulti-year rolling plans
                      taking into consideration the resource potential and comparative
                      advantage ofthe different districts ofGhana;

                      (c)-make proposals for the protection ofthe natural and physical
                      environment;

                      (d) make proposals for ensuring the even development ofthe
                      districts ofGhana by the effective utilisation ofavailable
                      resources; and

                      (e) monztor, evaluate and co-ordinate development policies,
                      programmes and projects,

              (3)The Commission shall also perform such other functions rel~tir►g to
              dev~lapment planning as the President may direct.

                                           The Attorney-General

    88.

               (l)There shall be anAttorney-General of Ghana who shall be a Minister,
               of Stake and the principal legal adviser to the Government.
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             (2)The Attorney-General shall discharge such other duties ofa legal
             nature as may be referred or assigned to him by the President, or imposed
             on him by this Constitution or any other law,

             (3}The Attorney-General shall be responsible for the initiation and
             conduct ofall prosecutions ofcriminal offences.

             (4}All offences prosecuted in the name ofthe Republic ofGhana shall be
             at the suit ofthe Attorney-General or any other person authorised by him
             in accordance with any law.

             (S)The AtCorney-General shall be responsible for the insti{ution and `
             conduct of all civil cases on behalfofthe State; anti all civil proceedings
             against Che State shall be instituted against the Attorney-General as
              defendant.

              (6)The Attorney-General shall have audience in all courts in Ghana.
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                                   CHAPTER TEN

                               THE LEGISLATURE

                               Composition ofParliament

   93.

             (1)There shall be a Parliament of Ghana which shall consist ofnot less
             than one hundred and forty elected membexs.

             (2)Subject to the provisions ofthis Constitution,the legislative power of .
             Ghana shall.be vested in Parliament and shall be exercised in accordance
             with this Constitution.

    94.

             (1) Subject to the provisions ofthis article, a person shall not be.qualified
             to be a member ofParliament unless -

                     (a)he is a citizen ofGhana., has attained the age oftwenty-one
                     years and is a registered votex;

                     (b)he is resident in the constituency for which he stands as a
                     candidate far election to Parliament or has resided there far a total
                      period ofnot less than five years out ofthe ten years unmediately
                      preceduag the election for which he stands, or he hails from that
                      constituency; and

                      (c)he has paid all his tares or made arrangements satisfactory to
                      the appropriate authority for the payment ofhis ta~~es.

              (2)A person shall not 6e qua]ified to be a member ofParliament if he -

                      (a) owes allegiance to a country other than Ghana: or

                      (6)has been adjudged ox otherrwise declared-

                                       (i)bankrupt under any law~in force in Ghana and
                                       has not been discharged or

                                       (ii) to be ofunsound mind or is detained as a
                                       criminal lunatic under any law in force in Ghana; or

                       (c)has been convicted




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                                       (i)for high crime under this Constitution or high
                                       treason or treason or for an offence involving the
                                       security ofthe State, fraud, dishonesty or moral
                                       turpitude; or

                                       (n~ for nay other offence punishable by depth or by
                                       a seritance ofnot less than ten years; or

                                       (iii) for an offence relating to, or connected with
                                       election under a law in force in Ghana at any time;
                                       or

                     (d)has been found by the report ofa commission or a committee
                     ofinquiry to be incompetent to hold public office or is a person in
                     respect ofwhom a commissipn or committee ofinquiry has found
                     that while being a public officer he acquired assets unlawfully or
                     defrauded the State or mis-used or abused his office, or willfully
                     acted in a manner prejudicial to the interest ofthe State, and the
                     findings have not been set aside on appeal or judicial review; or

                     (e)is under sentence of death ox other sentence ofimprisonment
                     imposed an him by any court; or

                     (fl is not qualified to be xegist~red as a voter under any law relating
                     to public elections; or

                     (g)is other wise disqualified by a law in force at the tune ofthe
                     coming into force ofthis Constitution, not being inconsistent with.
                     a provision ofthis Constitution.
                              r

              (3)A person shall not be eligible to be a member ofParliament ifhe

                     (a)is prohibited from standing election by a law in force in Ghana
                     by reason of his holding or acting in anPffice the funcrions of
                     which involve a responsibility for or are carmected with the
                     conduct of, an election or responsibility for, the compilation or
                     revision ofan electoral register; ar

                      (b)is a member ofthe Police Service, the Prisons Service,the
                      Armed Forces,the Judicial Sezvice,the Legal Service, the Civil
                      Service, the Audit Service, the Parliamentary Service, the
                       Statistical Service,the Fire Service,the Customs,Excise and
                      Preventive Service,the Immigration Service, ox the Internal
                      Revenue Service; or

                      (c)is a Chief.
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             (4)For the purposes of paragraph(d)ofclause(2)ofthis article, in the
             case ofany finding made by a commission or committee ofinquixy which
             is not ajudicial or quasijudicial commission ar committee ofinquiry,
             without prejudice to any appeal against orjudicial review ofthat finding,
             the finding shall not have the effect ofdisqualifying a person under that
             paragraph unless it has been confirmed by a Government white paper.

             (5)A person shall not be taken to be disqualified to be a member of
             Parliament under paragraph (c)or(d)ofclause(2)ofthis article if

                     (a)ten years or mare have passed since the end ofthe sentence or
                     the date for the publication ofthe xeport ofthe commission or
                     committee ofincjuiry; or

                     (b)he has been pardoned.

   95.

             (1)Thare sha11 be a Speaker ofParliament who shall be elected by the
             members ofParliament from among persons who are members of
             Parliament or who are qualified to be elected as members ofParliament.

              (2)The Speaker shall vacate his office -

                      (a)iF he becomes a Minister of State ar a Deputy Minister, ar

                      (b)ifhe resigns from office by writing signed by lum and
                      addressed to the Clerk to Parliament; or

                      (c)ifany circumstances arise that, ifhe were not Speaker, would
                      disqualify him for election as a member ofParliament; or

                      (d)ifhe is removed from office by a resolution ofPaxliament
                      supported by the votes ofnot less than three-quarters of all the
                      nnembers ofParliament.

              (3)No business shall be transacted in Parliament other Haan an election to
              the o#Fice ofSpeaker, at any time when the office of Speaker is vacant.,

              (4)A person elected to the office of Speaker shall, before entering upon
              'the duties oFhis offic,~, take and subscribe before Parliament the oath. of
               allegiance and the Speaker's oath set out in the Second Schedule to this
               Constitution.
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             (5)The Speaker shall receive such salary and allowances, and an
             retirement, such retiring a wards as may be determined in accordance with
             article 71 ofthis Constitution,

             (~ The salary and allowances.payable to the Speaker and any retiring
             awards payable to him an retirement shall be charged. on the Consolidated
             Fund.

             ('n The salary and other allowances payable to the Speaker shall riot be
             varied to his disadvantage during his tenure ofoffice.

   s.

              (1)There shall be two Deputy Speakers ofParliament -

                     (a) who shall be elected by the members ofParliament from among
                     the members ofParliament; and

                     (b)both of whom shall not be members o£tha same political party.

              (2)The members ofParliament shall elect a person to the office ofDeputy
              Speaker when Parliament first meets after a dissolution~afPaxliament and
              ifthe office becomes vacant otherwise than by reason ofa dissolution of
              Parliament, at the first sitting offParliament after the office becomes
              vacant.

              (3)The provisions ofclause(2)of.artiole 95 ofthis Constitution shall
              apply in the case ofa Deputy Speaker.

    97.

              (1)A member ofParliannent shall vacate his seat in Parliament-

                      (a)upon a dissolution ofParliament; ar

                      (b)if he is elected as Speaker ofParliament; or

                      (c)ifhe is absent, without.the perrnissian in writing ofthe Speaker
                      and he is unable to offer a reasonable explanation to the
                      Parliamentary Committee on Privileges from fifteen sittings ofa
                       meeting ofParliament during any period,that Parliament has been
                      surrimoned to meet and continues to meet; or

                       (d)ifhe is expelled from parliament after having been found guilty
                       ofcontempt ofParliament by a committee ofParliament; or
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                     (e)ifany circumstances arise such that, ifhe were not a member of
                     Parliament, would cause him to be disqualified or ineligible for
                     electipn, under article 94 ofthis Constitution; ar

                     (fl if he resigns from office as a mennber ofParliament by writing
                     under his hand addressed to the Speaker; or

                     (g)if~e leaves the party ofwhich he was a member at the time of
                     his election to Parliament to join another party or seeks to remain
                     in Parliament as an independent member;or

                     (h)ifha was elected a member ofParliament as an independent
                     candidate andjoins a political patty.

              (2)Notwithstanding paragraph(g)ofclause(1)ofthis article, a merger of
              parties at the national level sanctioned by the parties' Constitutions or
              membership ofa coalition govert~ument ofwhich his original party forms
               part, shall not affect the status ofany member ofParliament.

    98.

              (1) A member ofParliament sha11 be paid such salary and allowances and
              provided with such facilities as may be determined in accordance with
              article 71 ofthis Constitution.

              (2)A member ofParliatnant shall not hold any office of profit or
              emolument, whether private ar public and either directly or indirectly,
              unless permitted to do so by the Speaker acting on the reconamendatians
              ofa committee ofParliament on the grounds that

                      (a)holding that office will not prejudice the work ofa member of
                      Parliament; and

                      (b)na conflict ofinterest arises ar would arise as a result ofthe
                      member holding that office.



               (1)The High Court shall have jurisdiction to hear and determine any
               question whether

                       (a)a person has been validly elected as a member ofParliament or
                       the seat ofa member has become vacant; or

                       (b)a person has been validly elected as a Speaker ofParliament or,
                       having been so elected, has vacated the office of Speaker,
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              (2)A person aggrieved by the determination ofthe High Court under this
              article may appeal to the Court of Appeal.

                                         Procedure in Parliament

    100.

              (1)A member ofParrliament sha11, before taking his seat in Parliament,
              take and subscribe before the Speaker and in tha presence ofthe members
              ofParliament, the oath ofallegiance and the oath ofa member of
              parliament set out in the Second Schedule to this Constitution.

              (2)A member ofParliament may, before taking the oaths referred to in
              clause(1)ofthis article;take part in the election offihe Speaker.

    101.

              The Speaker shall preside in Parliament at all sittings and in his absence a
              Deputy Speaker shall preside.

    102.

               A quorum ofParliament, apart from the person presiding, shall be one-
               third of all the members ofParliament.

    103.

              (1)Parliar~aent shall appoint standing committees and other connmitt~es as
              may be necessary for the effective discharge ofits functions.

              (2)The standing committees shall be appointed at the first meeting of
              Parliament after the election ofthe Speaker and the Deputy Speakers.

              (3)Committees ofParliament shall be charged with such £unctions,
              including the investigation and inquiry into the activities and
              administration ofministries and departments as parliament may determine;
              and such investigation and inquiries may extend to proposals for
               legislation.

               {4)Every member ofParliament shall be a member of a~ least one ofthe
               standing committees.

               (5)The composition ofthe conunittees shall, as much as possible, reflect
               the different shades ofopinion in Parliament.
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             (6)A committee appointed under.tlais article sha11 have the powers,rights
             and privileges ofthe High Courtor a Justice ofthe High Court at a trial for


                     (a)enforcing the attendance ofwitnesses and e~mining them on
                     oath, affirmation ox otherwise;

                     (b)compelling the production ofdocuments; and

                     (c)issuing a commission or xequest td e~rnirne witnesses abroad.

   104.

              (1)Except as otherwise provided in this Constitution, matters in
              Parliament shall be determined by the votes ofthe majority of members
              present and voting, with at least half ofall the members ofParliament
              present,

              (2} The Speaker shall have neither an original nor casting vote.

              (3) Where the votes on any motion are equal it shall be taken to be lost.

              (4) Where Parliament is considering a bill to amend the Constitution, or
              where the voting is in relation to the election ox removal ofany ~ersan
              under this Constitution or under any other law, voting shall be in secret

              (5) A membex who is a party to or a partner in a fu~m which is a party to a
              contract with the Government shall declare his interest and shall not vote
              on any question relating to the contract.

    IOS.

               A person who sits or votes in Parliament knowing or having reasonable
               grounds for knowing that he is not entitled so to do commits an offence
               and shall be liable an conviction, to such penalty as shall be prescribed by
               or under an Act ofParliament.

    106.

               (1)The power ofParliament to make laws sha11 be exercised by bills
               passed by parliament and assented to by the President.

               (2)No bill, other than such a bill as is referred to in paragraph (a) of
               article 108 ofthis Constitution, shall be introduced 'vn parliament unless
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                          (a)it is acconnpanied byan explanatory memoraiadum setting out
                          in detail the policy and principles ofthe bill, the defects ofthe
..                        existing law,the remedies proposed to deal with those defects and
                          the necessity for its introduction;and

                          (b)it has been published in the Gazette at least fourteen days
                          before the date ofits introduction in Parliament.

                  (3)A bill affecting the institution ofchieftaincy shall not be uatroduced in
                  Parliament without prior reference to the.National House ofChiefs.

                  (4) Whenever a bill is read the first time in Parliament, it shall be referred
                  to the appropriate committee appointed under article 103 ofthis
                   Constitution which shall e~miile the bill in detail and make all such
                   inquiries in relation to it as the committee considers expedient ar
                   necessary,

                   (5} Where a bill has been deliberated upon by the appropriate committee,
                   it shall be reported to Par~i~ment.

                   (6)The report ofthe committee, together with the explanatory
                   memorandum to the bill, shall form the basis for a full debate on the bill
                   for its passage, with or without amendments, or its rejection, by
                   Parliament.

                   (7) Where a bill passed by Parliament is presented to the President for
                   assent he sha11 signify, within seven days after the refuses to assent to the
                   bill, unless the bill has been referred by the President to the Council of
                    State under article 90 ofthis Constitution.

                   (8) Where the President refuses to assent to a bill, he shall, within fourteen
                   days der the refusal -

                            (a)state in a memorandum to the Speaker any specific provisions
                            ofthe bill which in his opinion should be reconsidered by
                            Parliament, including his recommendations for amendments ifany;
                            or

                            (b)inform the Speaker that he has referred the bill to the Council
                            ofState for consideration and comment under article 90 ofthis
                            Constitution.

                    (9)Parliament shall reconsider a bill taking into account the comments
                    made by the President or the Council of State, as the case maybe,under
                    clause(8)ofthis article.
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             (10) Where a bill reconsidered under clause(9)ofthis article is passed by
             Parliament by a resolution supported by the votes ofnot less than two-
             thirds ofall the members ofParliament,the President shall assent to it
             within t~vriy days after passing ofthe resolution.

             (11) Without prejudice to the power ofParliament to postpone the
             operation ofa law,a bill shall not becflme law until it has been duly
             passed and assented to in accordance with the provisions ofthis
             Constitution and shall not come into force unless it has been published in
             the Gazette.

             (12)The provisions ofclauses ('n to(10)ofthis article shall not apply to a
             bill certified by the Speaker as a bill to which the prctvisions.of article 108
             ofthis constitution apply; and accordingly, the President shall give his
             assent to any such bill when presented for assent.

              (13) Where it is determined by a committee ofParliament appointed for
              the purpose that a particular bill is ofan urgent nature, the provisions of
              the preceding clauses ofthis article, other than clause(1)and paragraph
              (a} ofclause(2)shall not apply, and accordingly,the President shall give
               his assent to the bill on its presentation for assent.

              (14)A bill introduced in Parliament by or on behalfofthe President shall
              not be delayed for more than three months in any committee of
              Parliament.

    107.

              Parliament shall have no power to pass any law -

                      (a)to alter the decision oxjudgement ofany court as between the
                       parCies subject to that decision or judgement; or

                       (b) which operates retrospectively to impose any limitations on,or
                       to adversely affect the personal rights and liberties ofany person ar
                       to impose a burden, obligarion or liability on any person except in
                       the case of a law enacted wider articles 178 Or 182 ofthis
                       Constitution,

    108.

               Parliament shall not, unless the bill is introduced or the motion is
               introduced by, ar on behalfo~ the President -
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                    (a)proceed-upon a bill including an amendment to a bill, that, in
                    the opinion ofthe person presiding, makes provision for any ofthe
                    following -

                                     (i)the imposition oftiaxation•or the alteration of
                                     taxation otherwise than by reduction; or

                                     (ii) the imposition ofa charge on the Consolidated
                                     Fund or other public funds of Ghana or the
                                     alteration ofany such charge otherwise than by
                                     reduction; or

                                     (iii)the payment, issue or withdrawal from t1ae.
                                     Consolidated Fund or other public funds of Ghana
                                     ofany moneys not charged on the Consolidated
                                     Fund or any increase the amount ofthat payment,




                                                                m
                                     issue or withdrawal; or

                                     (iv)the composition remission ofany debt due to

                                                           or
                                     the Government ofGhana; or

                     (b) proceed upon a motion, including an amendment to a motion,
                     the effect ofwhich, in'the opinion ofthe person presiding, would
                     be to make provision fox any ofthe purpose specified in paragraph
                     (a)ofthis article.

    109.

              (1)Parliament may by law regulate professional, trade and business
              organisations.

              (2)The affairs ofan organisatian,referred to in clause(1)ofthis article
              shall be conducted on democratic lines.

    110,

              (1) Subject to the provisions ofthis Constitution, Parliament may, by
              standing orders, regulate its own procedure,

              (2)Parliament may act notwithstanding avacancy in its membership,
              including a vacancy not filled when Parliament first meetsafter a
              dissolution ofParliament; and the presence or the participation ofa persain
              not entitled to be present or to participate in the proceedings ofParliament
              shall not invalidate these proceedings.
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             The Vice-President, or a Minister ox Deputy Minister who is not a member
             ofParliament, shall be entitled to parCicipate in the proceedings of
             Parliament and shall be accorded all the privileges ofa member of
             Parliament except that he is not entitled to vote or to hold an of~iice in
             Parliament.                   '

                                      Summoning, Dissolution, etc.

   112.

              (1)A session ofParliament shall beheld at such place within Ghana.and
              shall commence at such time as the Speaker may, by constitutional
              ins~lrument, appoint,

              (2)A session ofParliament shall beheld at least once a year, so that the
              period between the last sitting ofParliament in one session and the first
              sitting ofParliament in the next session does,not amount to twelve
               months.

              (3)Notwithstanding any other provision ofthis article fiffieen percent of
               members ofParliament may request a meeting ofParliatr~ent; and the
              Speaker shall; within seven days after the receipt ofthe request,summon
              Parliament.

              (4)Subject Co alausa(2)ofarticle 113 bfthis Constitution, a general
              election of members ofParliament shall be held within thirty days before
              the expiration ofthe period specified in clause(1)ofthat article; and a
              session ofParliament shall be appointed to commence within fourteen
              days aftex the expiration ofthat period.

              (5) Whenever a vacancy occurs in Parliament, the Clerk to Parliament
              sha11 notify the Electoral commission in writing within seven days after
              the vacancy occurred, and a by-election shall be held within thirty days
              after the vacancy occurred,

              (6)Notwithstanding clause(5)ofthis article, a byelection shall not be
              held within three months before the holding ofa general election,

    113.

               (1) Subject to clause(2)ofthis article, parliament shall continue for four
               years from the date ofits first sitting and shall then stand dissolved.
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             (2)At any time when Ghana is actually engaged in war,Parliament may,
             from time to time by resolution supported by the votes ofnot less than
             two-thirds of all the members ofParliament, extend the period offour
              years specified in clause(1)ofthis article for not more than twelve '
             months at a time, except that the life ofParliament shall notbe extended
              under this clause for mare than four years.

             (3) Where,after a dissolution ofParliament but before the holding ofa
             general election, the President is satisfied that owing to the existence ofa
             state ofwar or ofa state of public emergency in Ghana ar any paz~ of
              Ghana, it is necessary to recall Parliament,the President shad cause to be
             summoned the Parliament that has been dissolved to meet.

             (4)Unless the life ofParliament is extended under the provisions ofclause
             (2)ofthis article, the general election ofmembers ofParliament shall
             proceed and the Parliament that has been recalled shall, ifnot sooner
              dissolved, again stand dissolved on the date appointed for the general
              election.

    114.

              {l)A person who has served as a member ofParliament for a period ofnot
              less than four years shall be eligible, on ceasing to be a member or on his
              death, for the payment ofsuch gratuity to him or his personal
              representatives, asthe case maybe,as shall be determined by the
              President, acting in consultation with the Committee referred to in article
              71 ofthis Constitution.

              (2)For the purpose ofclause(1)ofthis article, the period offour years
              specified in that clause shall be interpreted to mean four continuous years,
              and accordingly, any period when the member is out ofoffice as a
               member, otherwise than by dissolution ofParliament, shall not be taken
              into account.

                                         Privileges and Immunities

    115.

               There shall be freedom of speech, debate and proceedings in Parliament
               and that freedom shall not be impeached or questioned in any court or
               place out a£Parliament.

    116.

              (1)Subject to the provisions ofthis article, but without prejudice to the
              general effect of article 11S ofthis Constitution, civil ox criminal
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             proceedings shall not be instituted against a member ofParliament in any
             caut~ or place out at'Parliament for any matter or thing brought by hun in
             or before Parliament by petition, bill, motion or otherwise.

             (2) Whenever in the opinion ofthe person presiding in Parliament a
             statement made by a member is prima facia defamatory ofany person,the
             person presiding shall refer the matter for inquiry to the Parliamentary
             committee on privileges which shall report its findings to Parliament not
             later than thirty days after the matter was referred to it.

             (3) Where the committee referred to in clause(2)ofthis article reports to
             parliament that the statement made by the member is defamatory ofany
             person,the member who made the statement shall, within seven days after
             that report, render an apology at the bar ofParliament committee on
             privileges and communicated to the person who has bean defamed.

              (4) Where a member refuses to render an apology in accordance with
              clause(3)ofthis article, the Speaker shall suspend that member fox the
              duration ofthe session ofparliament in which the defamatory statement
              was made and a member so suspended shall lose his parliamentary
               privileges, unmunities and remuneration, but they sha11 be restored to him
               if, at any time before the end ofthe session, he renders the apology as
              required by clause(3)ofthis artiole.

              (5)A person who has made a contemporaneous report ofthe,proceedings
              in Parliament, including a statement which has been the subject ofan
              inquiry under clause(2)ofthis article, shall publish the apology referred
              to in clause(3)ofthis article or the suspension or the apology referred to
              in clause(4)ofthis article with the same prominence as he published the
              first report.

              (6)Ifa person fails to publish the apology as required by clause(S)ofthis
              article, he shall not be protected by privilege.

    117,

               Civil or criminal process coming from any court or place out ofParliament
               shall not be served on; or executed in. relation to;the Speaker or a member
               or the clerk to Parliament while he is an his way to; attending at or
               ret~~rning from,any proceedings ofParliament.

    118.

               (1)Neither the Speaker,~nor a member of, nor the Clerk'to,Parliament
               shall be connpelled, while attending Parliament to appear as a witness in
               any court or place out ofParliament.
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             (2)The certificate ofthe Speaker that a member or the Clerk is attending
             the proceedings ofParliament is conclusive evidence of attendance at
             Parlia~nen~

   119.

              Neither the Speaker, nor a member of, nor the Clerk to,Parliament shall
              be squired to serve on ajury in any court or place out ofParliament.

   120.

              Subject to the provisions ofthis Constitution, a person shall not be under
              any civil or criminal liability in respect ofthe publication of

                      (a} the text ar a summary ofany report, papers, minutes, votes and
                      proceedings ofParliament; or

                      (b)a contemporaneous report ofthe proceedings ofParliament;

              unless it is shown that the publication was effected maliciously or
              otherwise without good faith.

    121,

              (1) A person summoned to attend to give evidence ar to produce a paper,
              book, record or other document before Parliannent, shall be entitled, in
              respect of his evidence, or the production ofthe document, as the case
              nnay be, to the same privileges as if he were appearing before a court.

              (2)A public officer shall not be required to produce before Parliament a
              document where

                      (a)the Speaker certifies -

                                       (i)that the document belongs to a class of
                  '                    documents,the production ofwhich is injurious to
                                       the public interest; or

                                       (ii) that disclosure ofthe contents ofthe document
                                       will be injurious to the public interest; ar

                       (b)tl~e National Security Council certifies

                                       (i)that the document belongs to a class of
                                       documents,the production ofwhich is pxejudiczal to
                                       tha security ofthe State; or
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                                      (ii)that disclosure ofthe contents ofthe document
                                      will be prejudicial to the security ofthe State.

             (3) Where there is a doubt as to the nature ofa document such as is
             referred to in clause(2)ofthis article, the Speaker or the National Security
             Council, as the case may be,shall refer the matter to the Supreme Court
             for determination whether the production, or the disclosure ofthe contents,
             ofthe document would be injurious to the public interest or, as the case
              may be, prejudicial to the security ofthe State.

             (4)An answer by a parson to a question put by Parliament shall not be
             admissible in evidence against him in any civil or criminal proceedings
             aut ofParliament, except proceedings for perjury brought under the
             criminal law,

                                          Contempt ofParliament

   122.

              An act or omission which obstructs or impedes Parliament in the
              performance ofits functions or which obshucts or impedes a member or
              oi~icer ofParliament in the discharge ofhis duties, or af~rorits the dignity
              ofParliament or which tends either directly or indirectly to produce that
              result, is contempt ofParliament.

    123.

              Where an act or omission which constitutes contempt ofParliament is an
              offence under he criminal.law, the exercise by Parliament ofthe power to
              punish for contempt shall not be a bar to the institution ofproceedings
              under the criminal law.

                                         The Parliamentary Service

    124.

              (1)There shall be a Parliamentary Service which shall form part ofthe
              public services ofGhana.

              (2)There shalt be a Parliamentary Service Board which shall consist of-

                               (a)the Speaker, as chairman;

                               (b)four other members all ofwhom shall be appointed by
                               the Speaker, acting in accordance with the advice ofa
                               committee ofParliament; and
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                                   (c)the Clerk to Parliament.

              .   ~ (3)There shall be a Clerk tQ Parliament who shall be the head ofthe
                    Parliamentary Service.

                   (4)The appointment ofthe Clerk and the other members of his staffin the
                   Parliamentary Service shall be made by the parliamentary Service Board
                   in consultation with the Public Services Commission.

'     ~            (5)'The Parliamentary Service Board shall, with the prior approval of
                   Parliament, make regulations, by constitutional instntinent, prescribing the
                   terms and conditions ofservice ofthe officersand other employees in the
                   Parliamentary Service and generally far the effective and efficient
                   administration ofthe Parliamentary Service,
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                                            ~~'~~~'
                                  ~o~l~~~~-~~'a~~


                                    CHAPTER ELEVEN

                                      TkIE JUDICIARY

                                              General

       125.

                 (1)justice emanates from the people and shall be administered in the
'                name ofthe Republic by the Judiciary which shall be independent and
                 subject only to this Constitution.

                 (2)Citizens may exercise popular ~articipatian in the administration of
                 justic,~ through the institutions ofpublic and customary tribunals and the
                 jury and assessor systems.

                  (3)The judicial power of Ghana shall be vested in the Judiciary,
                  accordingly, neither the President nor Parliament nor any organ ox agency
                  ofthe 'resident ar Parliament shall have or be given final judicial power,

                  (4)The ChiefJustice shall, subject to this Constitution, bathe Head ofthe
                  Judiciary and shall be responsible far the administration and supervision
                  ofthe Judiciary.

                  (S)The Judiciary sha11 have jurisdiction in all matters civil and criminal,
                  including matters relating to this Constitution, and such otherjurisdicCion
                  as Parliament may, by law,confer on it.

        126.

                  (1)The Judiciary shall consist of

                          (a)the Superior Courts ofJudicature comprising -

                                           (i)the Supreme Court;

                                           (ii) the Court of Appeal; and

                                            (iii) the High Court and Regional Tribunals.

                           (b)such lower courts or tribunals as Parliament may by law
                           establish,

                   (2)The Superior Courts shall be superior courts ofrecord and shall have
                   the power to commit for contempt to themselves and all such powers as




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              were vested in a court ofrecord immediately before the coming into force
              ofthis constitution.

             (3)Except as otherwise provided in this Constitution or as may atherwise
             be ordered by a court in the interest of public morality, public safety or
             public order,the proceedings ofevery court shall beheld in public.

              (4)In the exercise czfthe judicial power conferred on the Judiciary by this'
              Constitution or any other law,the Superior Courts may,in relation to any
              matter within theirjurisdiction, issue such orders and directions as may be
              necessary to ensure the enforcement ofany judgement, decree ox order of
              those courts,

    127.

              (1)In the exercise ofthe judicial powar ofGhana,the Judiciary, in both its
              judicial and admuustrative functions, including financial adminish~ation, is
              subject only to this Constitution and shall not be subject to the control or
              direction ofany person or authority.

              (2)Neither the President nor Parliament nor any person acting under the
              authority ofthe President or Parliametrt nor any other person whatsoever
              shall interfered with Judges orjudicial officers or other persons exercising
              judicial power, in the exercise oftheirjudicial functions; and all organs
               and agencies ofthe State shall accord to tfie courts such assistance as the
              courts may reasonably require to protect the independence, dignity and
               effectiveness ofthe courts, subject to this Constitution.

              (3)A Justice ofa Superior CourE, or any person exercising judicial power,
              shall not be liable tp any action or suit Far any act or omission by him in
              the exercise ofthe judicial power.

              (4)The administrative expenses ofthejudiciary, including all salaries,
              allowances, gratuities and pensions payable to our in respect of, persons
              serving in thejudiciary, shall be charged an the Consolidated Fund.

               (5)The salary, allowances, privileges and rights in respect ofleave of
               absence; gratuity, pension and other conditions ofservice ofa Justice of
               the superior court or aray judicial officer or other person exercising judicial.
               power, shall not be varied to his disadvantage.

               (6)Funds voted by parliament, or charged on the Gonsalidated Fund by
               this Constitution £or the Judiciary, shall be released to the Judiciary, in
               quarterly installments.
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             (7)For the purposes ofclause(1) ofthis article, "financial administration"
             includes the operation ofbanldi~g facilities by the Judiciary without the
             interference ofany person ox authority, other than for the purposes ofaudit
              by the Auditor General, ofthe funds voted by Parliament ar charged on
             the Consolidated Fund by this Constitution or any other law,for the
              purposes of defraying the expenses ofthe Judiciary in eespect ofwhich the
             funds were voted or charged.

                                    The Supreme Court

    128.

              (1)The Supreme court shall consist ofthe Chief Justice and not less than
              nine other Justices ofthe Supreme Court.

              (2)The Supreme Court shall be duly constituted for its work by not less
              than five Supreme Court Justices excapt as otherwise provided in article
              133 ofthis Constitution.

              (3)The ChiefJustice shall preside at sittings ofthe Supreme Court and in
              his absence, the most senior ofthe Justices ofthe Supreme Court, as
              constituted, shall preside.

              (4)A person shall not be qualified for appointment as a Justice ofthe
              Suprenne Court unless he is of high moral character and proven integrity
              and is of not less than fifteen years' standing as a lawyer.

    129.

              (1)The Supreme Court shall be the final court ofappeal and shall have
              such appellate and other jurisdiction as may be conferred on it by this
              Constitution or by any other law.

               (2)The Supreme Court shall not be bound to follow the decisions ofany
               other court.

               (3)The Supreme Court may, while treating its own previous decisions as
               normally binding, depart from a previous decision when it appears to it
               right to do so; and all other courts shall be bound to follow the decisions
               oftha Supreme Court on questions oflaw.

               (4)Por the purposes of hearing and determining a matter within its
               jurisdicrion and the amendment,execution or the enforcement ofa
               judgement or order made on any matter, and fox the purposes ofany other
               authority, expressly or by necessary implication given to the Suprenne
                Court by this Constitution ar any other law,the Supreme Couxt shall have
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              all the powers, authority and Jurisdiction vested in any court established
              by this Constitution or any other law.

    130,

             (1) Subject to the jurisdiction ofthe High Caurt in the enforcement ofthe
             Fundamental Human Rights and Freedoms as provided in article 33 ofthis
             Constitution,the Supreme Court sha11 have exclusive originaljurisdiction
             in -

                      (a)all matters relating to the enforcement or interpretation ofthis
                      Constitution; and

                      (b)all matters arising as to whether an enact~nsnt was made in
                      excess ofthe powers conferred on Parliament ox any other
                      authority or person by law or under this Constitution.

              (2) Where an issue that relates to a matter or question referred to in clause
              (1) afthis article arises in any proceedings in a courC other than the
              Supreme Court,that courC shall stay the proceedings and refer the question
              oflaw involved to the Supreme Court for determination; and the court in
               which the question arose shall dispose ofthe casa in accordance with the
               decision ofthe Supreme Court.

    131.

              (1)An appeal shall lie from ajudgement ofthe Court of Appeal to the
              Supreme Court-

                       (a)as ofright in a civil or criminal cause or matter in respect of
                       which an appeal has been brought to the Court ofAppeal from a
                       judgment ofthe High Court or a Regional Tribunal in the exercise
                       ofits originaljurisdiction; or                               '

                       (b} with the leave ofthe Court ofAppeal, in any other cause or
                       matter, where the case was commenced in a court lower than the
                       High Court or a Regional Tribunal and where the Court ofAppeal
                       is satisfied that the case involves a substantial question ~aflaw or is
                       in the public interesC,

               (2)NotwithsCanding clause(1)ofthis article, the Supreme Court may
               entertaun application for special leave to appeal to the Supreme Court in
               any cause ar matter, civil or criminal, and may grant leave accordingly.
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             (3)The Supreme Court shall have appellatejurisdiction, to the exclusion
             ofthe Court of Appel,to determine matters relating the conviction or




                                                                  to
             otherwise of a person for high treason or treason by the High Court.

             (4)An appeal from a decision ofthe Judicial Committee ofthe National
             House'of Chiefs shall lie to the Suprenne Court with the leave ofthat
             Judicial Committee or the Supreme CourC.

   132.

              The Supreme Court shall have supexvisoxy jurisdiction aver all courts and
              over any adjudicating authority and may,in the exercise ofthat
              supervisoryjurisdiction, issue orders and directions for the purpose of
              enforcing or securing the enforcement ofits supervisory power.

    133.

              (1)The Supreme Court may review any decision made or given by it on
              such grounds and subject to such conditions as may be prescribed by rules
              ofcourt.

              (2)The Supreme Court, when reviewing its decisions under this article,
              shall be constituted by not less than seven Justices ofthe Supreme Court.

    134.

              A single Justice ofthe Supreme Court may exercise power vested in the
              Supreme Court not involving the decision ofthe cause or matter before the
              Supreme Court, except that

                      (a)in criminal matters, where that Justice refuses or grants an
                      application in the exercise ofany such power, a person affected by
                      it is entitled to have the application determined by the Supreme
                       Court constituted by three Justices ofthe Supreme Court and

                      (b)in civil matters, any order, direction or decision made or given
                      under this article may be varied, discharged or reversed by the
                      Supreme Court constituted by three Justices ofthe Supreme Court.

     135.

               (1)The Supreme Court shall have exclusivejurisdiction to determine
               whether an official document sha11 not be produced ua court because its
                production or the disclosure ofits contents will be prejudicial to the
               security ofthe Sta#e ox will be injurious to the public interest,
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             (2).Where any issue referred to in clause(1)ofthis article arises as to the
             production or otherwise.af an official document in any proceedings before
             any court, other than the Supreme Court,the proceedings in that othex
             court shall be suspended while the Supreme CourC ermines the document.
              and determines whether,the document should be produced or not; and the
              Suprenne Court shall make the appropriate grder.

             (3)The proceedings ofthe Suprerrie Court as to whether an official
             dociunent may be produced sha11 beheld in camera.

    136.

              (1)The Court ofAppeal shall consist of

                     (a)the ChiefJustice;

                     (b)subject to clauses(2)and(3)oftivs article, not less than ten
                     Justices ofthe Court of Appeal; and

                      (c)such other Justices ofthe Superior Court of Judicature as the
                      Chief Justice may,for the determination ofa particular cause ar
                      matter by writing signed by him,request to sit in the Court of
                       Appeal for any specified period.

              (2)The Court of Appeal sha11 be duly constituted by any.three ofthe.
              Justices referred to in clause(1} ofthis article and when so constituted, the
              most senior ofthe justices shall preside.

              (3)A person shall not be qualified for appoini~nent as a Justice ofthe
              Court of Appeal unless he is.ofhigh moral character and proven integrity
              and is ofnot less than twelve years' standing as a lawyer:

              (4)The ChiefJustice may create such divisions o£the Court of Appeal as
              he considers necessary to sit in such places as he may determine,

               (5)Subject to clause(3} ofarticle 129 ofthis Constitution, the Court of
               Appeal shall be bound by its awn previous decisions; and all courts lower
               than the Court of Appeal shall follow the decisions ofthe Court ofAppeal
               on questions oflaw.

     137.

               (1)The Court of Appeal shall have jurisdiction throughout Ghana to hear
               and determine, subject to the provisions ofthis Constitution, appeals from
               ajudgement, decree"or order ofthe High Court and Regional Tribunals
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              and such other appellatejurisdiction as may be conferred on it by this
              Gonstitutian or any other law.

             (2)Except as otherwise provided in this Constitution, an appeal shall lie as
             ofright from ajudgement, decree or order ofthe High Court and a
             Regional Tribunal to the Court of Appeal,

              (3)For the purposes ofhearing and determining an appeal within its
              jurisdiction and the amendment, execution or the enforc,~xnent ofa
              judgment or order made on any appeal, and, for the purposes ofany other
              authority expressly or by necessary implication given to the Court of
               Appeal by this Constitution or any other law,the Court of Appeal shall
               have all the powers;authority and jurisdiction vested in the court from
               which the appeal is brought.

    138

              A single Justice ofthe Court ofAppeal may exercise a power vested in the
              Court of Appeal not involving the- decision ofa cause or matter before the
              Court of Appeal, except that -                                .

                      (a)in crimnaal matters, where that Justice refuses or grants an
                      application in the exercise ofany such power conferred by this
                      article, may be varied, discharged or reversed by the Court of
                      Appeal as duly constituted.

                                               The High Court

    139.

               (1)The High Court shall consist pf-

                       (a)the ChiefJustice

                       (b)not less than twenty Justices ofthe High Court; and

                       (c)such other Justice ofthe Superior Court ofJudicature as the
                       Chief Justice may,by writing signed.by him,request to sit as High
                       Court Justice for any period.

               (2)The High Court shall be constituted -

                       (a)by a single Justice ofthe Court; or

                       (b)by a single Justice ofthe Court and jury; or
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                      (c) by a single Justice ofthe Court with assessors; or

                      (d) by three Justices ofthe Court for the trial ofthe offence of high
                      treason or treason as required by article 19 of this Constitution.

             (3)There shall be in the High Court such divisions consisting ofsuch
             number of Justice respectively as the ChiefJustice may determine.

             (4)A person sha11 not be qualified for appoinhnent as a Justic$ ofthe High
             Court unless he is a person ofhigh moral character and proven integrity
             and is ofat leastten years' standing as a lawyer.

   140,

             (1)The High Court shall, subject to the provisions ofthis Constitution,
             have jurisdiction in all matters and in particular, in civil and crimunal
             matters and such original, appellate and otherjurisdiction as may be
             conferred on it by this Constitution or any other law.

             (2)The High Court shall have jurisdicrion to enforce the Fundamental
             Human .Rights and Freedoms guaranteed by this Constitution.

             (3)T'he High Court shall have no power,in a trial for the offence ofhigh
             treason or treason,to convict any person for an offence other than treason
             or treason.

              (4) A Justice o£'the High Court may,in accordance with rules ofcourt,
              exercise in court or in chambers, all or any ofthejurisdiction vested in the.
              High Court by this Consfitution or any other law.

             (5)For the purposes ofhearing and determining an appeal within its
             jurrisdiction and the amendment, execution or the enforcement ofa
             judgment or oxder made on any appeal;and for the purposes ofany other
             authority, expressly or by necessary implication given to the High Court'
             by this Constitution or any other law, the High Court shall have all tha
              powers, authority and jurisdiction vested in the Court from which the
             appeal is brought.

    141.

              The High Court sha11 have supervisory jurisdiction over all lower courts
              and any lower adjudicating authority; and may, in the exercise ofthat
              jurisdiction, issue orders and directions far the purpose ofenforcing or
              securing the enforcement ofits supervisory powers

                                             Regional Tribunals
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   142.

             (1)There shall be,establisheci in each region of Ghana.such Regional
             Tribunals as the chief Justine may determine,

             (2)A Regional Tribunal shall consist of

                     (a)the ChiefJustice;

                     (b)one Chairman; and

                     (c)such members who may or may nat be lawyers as shall
                     designated by the thiefjustice to sit as panel members ofa
                     Regional Tribunal and for such period as shall be specified in
                     writing by the ChiefJustice,

              (3)A Region Tribunal shall be duly constituted by a panel consisting of
              the Chairman and not less than twa other panel members.

              (4)A person shall not be appointed to be a Chairman ofa Regional
              Tribunal unless he is qualified to be appointed a Justice o£the High Court.

              (S)A panel member o£a Regional Tribunal shall be a person ofhigh
              moral character and proven integrity.

    143.

              (1)A~Regional Tribunal shall have jurisdiction to try such offences against
              the State and the public interest as Parliament may, by law, prescribe.

              (2)A Regional Tribunal shall have such appellate jurisdiction relating to
              the matters described.-in clause(1)ofthis article, as may be prescribed by
              law.

              (3)Fox the purpose of hearing and determining an appeal within its
              jurisdiction and the amendment, execution or enforcement ofajudgment
              or order on any appeal, and for the purposes ofany other authority
              expressly or by necessary implication given to it by this Constitution or
              any otkier law,a Regional Tribunal shall have all the powers, authority and
              jurisdiction vested in the tribunal from which the appeal is brought.

               Appoinirnent, retirement and removal ofJustices of Superior Courts and
               chairmen and other members ofRegional Tribunals.
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   144.

             (.1) The Chief Justice shall be appointed by the President acting in
             consultation with the Council of State and with the approval ofParliament.

             (2)The other Supreme Court Justices shall be appointed by the President
             acting on the advice ofthe Judicial Council,~in cansultatian with the
             Council of State and with the approval ofParliament,

             (3)Justices ofthe Court ofAppeal and ofthe High Court and Chairmen of
              Regional Tribunals shall~be appointed by the President acting on the
             •advice ofthejudicial Council.

             (4)Panel members ofRegional Tribunals other than the Chairmen shall.be
             appointed by the ChiefJustice in consultation with the Regional Co-
             ordinating Council for the ragion and on the advice ofthe Judicial
             Council,

              (5)Justices ofthe Superior Courts and Chairmen ofR~gianal Tribunals
              shall be appointed by warrant under the hand ofthe President and sealed
              by the Presidential seal.

              (6) Where the office of Chief Justice is vacant, or where the Chief Justice
              is for any reason unable to perform the functions ofhis office

                      (a) until a person has been appointed to, and has assumed the
                      functions a~ that office; or

                      (b)until the person holding that office has resumed the functions
                      ofthat office; as the case may be, those functions shall be
                      performed by t he most senior ofthe Justices ofthe Supreme
                       Court,

              ('n The office ofa Justice ofthe Superior Court shall not be abolished
              while there is a substantive holder in office.

              (&)A Chairman ofa Regional Tribunal shall enjoy the same salary,
              allowances, and gratuity and pension conditions as a Justice ofthe High
              Court.

              (9) Where the oi~ice ofa Justice ofthe High CourC or a Chairman ofthe
              Regional Tribunal is vacant or for any reason, a Justice ofthe High Court
              or a chairman ofthe Regional Tribunal is unable to perForm the functions
              ofhis office, or ifthe ChiefJustice advises the President that the state of .
               business in the High Court or Regional Tribunal so requires, the President
               may, acting in accordance with the advice oftha Judicial Council, appoint
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              a person who has held office as, or a person qualified for appointment as, a
              Justice ofthe High Court or a Chairman a£the Regional Tribunal to act as
              a Justice ofthe High Court ar a chairman ofthe Regional Tribunal,

             (10)A person appointed under clause(9)ofthis article to act as a Justice
             ofthe High Cotu~t or a Chairman ofthe Regional Tribunal sha11 continue
             to act for the period of his appointment or, where no period is specified,
             until his appointment is revoked by the President, acting in accordance
             with the advice ofthe Judicial Council.

             (11)Notwithstanding the expiration ofthe period ofhis appoinhnent or
             the revocation ofhis appointment under clause(9)ofthis article, a person
             appointed under clause(9)ofthis article may thereafter continue to act for
             a period not exceeding six months,to enable him to deliverjudgment or
             do any other thing in relaCion to proceedings that were commenced.before
             him previous to the expiration or revocation.

    145.

              (1)A Justice ofa Superior Court or a Chairman ofa Regional Tribunal
              may retire at anytime weer attaining the age ofsixty years.

              (2)A Justice ofa superior court or a Chairman ofa Regional Tribunal
              shall vacate his office

                      (a)in the case of a Justice ofthe Suprame Court ox the Court of
                      Appeal,on attaining the age ofseventy years; or

                      (b)in tb.e case ofa Justice ofthe High Court or a Chairman ofa
                      Regional Tribunal, on attaining the age ofsixtyfive years; or

                      (c) upon his removal from office in accordance with article 146 of
                      this Constitution.

              (3)A Justice ofthe Superior court of Judicature or a Chairman ofa
              Regional Tribunal may resign his office by writing signed by him and
              addressed to the President.

              (4)Notwithstanding that he has attained the age at which he is required by
              this article to vacate his office, a person holding office as a Justice ofa .
              Superior Court or Chairman ofa Regional Tribunal may continue in office
              for a period not exceeding six months after attaining that age, as may be
              necessary to enable him to deliverjudgment or do any other ~lvng iri
              relation to proceedings that were commenced before him previous to his
               attaining that age.
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   146,

             {1)A Justice ofthe Superior Court or a Chairman ofthe Regional Tribunal
             shall not be rennoved from office except for stated misbehaviour or
             incompetence or an ground ofinability to perform the functions ofhis
             office arising from infi►~nity ofbody or mind.

             (2)A Justice ofthe Superior Court ofJudicature or a Chairman ofthe
             Regional Tribunal' may only be removed in accordance with the procedure
             specified in this article.

             (3)Ifthe President receives a petition for the removal ofJustice ofa
             Superior Court other than the ChiefJustice or fox the removal ofthe
             Chairman ofa Regional Tribunal, he shall refer the petition to the Chief
             Justice, who shall determine whether there is a prima facie case.

              (4) Where the ChiefJustice decides that there is a prima facie case, he
              shall set up a committee consisting ofthree Justices ofthe Superior Courts
              or Chairmen ofthe Regional Tribunals or both, appointed by the Judicial
              council and two other persons who are not members ofthe Council of
               State, nor members ofParliament, nor lawyers, and who shall be
               appointed by the ChiefJustice on the advice ofthe Council ofState.

              (5}The committee appointed under clause(4)ofthis article shall
              investigate the complaint and sha11 make its recommendations to the Chief
              Justice who shall forward it to the President.

              (6) Where the petition is far the removal ofthe Chie~'Jusrice, the President
              shall, acting in consultation with the Council ofState, appoint a committee
              consisting oftwo Justices ofthe Supreme Court, one of"whom sha11 tie
              appointed chairman by the President, and three other persons who are not
               members ofthe Council of State, nor members ofParliament, nor lawyers.

              (7)The committee appointed under clause(6)ofthis article shall inquire
              into the petition and recommend to the President whether the ChiefJustice
              aught to be removed from office.

              (8)Ali proceedings under this articleshall be held in camera, and the
              Justice or Chairman against whom the petition is made is.entitled to be
              heard in his defence by himselfor by a lawyer or other export ofhis
              choice.

               (9)The President shall, in each case, act in accordance with the
               recommendations ofthe committee.
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             (10) Where a petition has been referred to a committee under this article,
             the President may -                  .

                     (a)in the case ofthe ChiefJustice, acting in accordance with the
                     advice ofthe Council of State, by warrant signed by hinn, suspend
                     the ChiefJustice;

                     (b)in the case ofany other Justice ofa Superior court or ofa
                     Chairman ofa Regional Tribunal, acting in accordance with the
                     advice ofthe Judicial Council, suspend that Justice or that
                     Chairman ofa Regional Tribunal.

             (11)The President may, at any time,revoke a suspension under this
             article.

   147.

              (1)A panel member ofa Regional Tribunal, other than the Chairman, shall
              have such allowances and benefits as may be determined by the President
              acting on the advice ofthe judicial Council

              (2)A panel member ofa Regional Tribunal other than the Chairman may
              be removed by the ChiefJustice acting on the advice ofthe Judicial
              Council and o~the Regional Co-ordinatit~g Council on grounds ofstated
               misbehaviour ox incompetence ox on grownd ofinability to perform lus
              functions arising from infu~t~ity ofbody or mind,

              (3)For the purposes of clause(2)ofthis article the panel member
              concerned is entitled to be heard in his defence by hinnselfar by a lawyer
              or other expert ofhis choice.

                        Appointment, retirement and removal ofJudicial Officers

    148.

               Subject to the provisions ofthis article, the power to appoint persons to
               hold or to act in ajudicial office shall be vested, subject to the approval of
               the President in the Chief Justice acting on the advic$ ofthe Judicial
               Council.

    149.

               Judicial officers shall received such salaries, allowances, facilities and
               privileges and other benefits as the President may,acting on the advice of
               the Judicial Council determine.
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   150.

             (1)A judicial officer

                             (a) may retire from. his oi~ice at any time after attaining the
                             age offorty-five years; and

                             (b)shall vacate his oi~ce on attaining the age ofsixty
                             years,

             (2)A judicial officer may resign his oi~ice by writing addressed to the
             ChiefJustice.

   151,

              (1)A person holding ajudicial office may be removed from office by the
              Chief Justice an grounds only ofstated misbehaviour, incompetence or
              inability to perform his functions arising from infirnuty ofbody or mind
              and upon a resolution supported by the votes ofnot less than two-thirds aP
               all the members ofthe Judicial Council.

              (2)Far the purpose ofclause(1)ofthis article, the judicial officer shall be
              entitled to be heard in his defence by himselfor by a lawyer ox other
              expert of his choice.

    152.

              (1)A panel member ofa lower court or tribunal other than the person
              presiding -

                      (a)shall be appointed by the ChiefJustice acting on the advice of
                      the Judicial Council and in consultation with the relevant District
                      Assembly from among persons ofhigh moral character and proven
                      integrity';

                      (b} shall be paid such allowances and benefits as the Judicial
                      Council may determine; and

                      (c) may be reinaveil by the Chief Justice on the advice ofthe
                      Judicial Councilon ground ofstated misbehaviour, incompetence
                      or inability to perform his functions arising from irifitiiiity ofbody
                      ax mind.

               (2)Por the purpose of paragraph(c)ofthis article the panel member
               concerned is entitled to be heard in his defence by himselfor by a lawyer
               or other expert ofhis choice.
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                                          The Judicial Council

   153.

             There shall be a Judicial Council which shall comprise the following
             persons

                    (a)the ChiefJustice who shall be Chairman;

                     (b)the Attorney-General;

                     (c)a Justice ofthe Supreme Court nominated by the Justices ofthe
                     Supreme court;

                     (d)a Justice ofthe Court ofAppeal nominated by the Justices of
                     the Court of Appeal;

                     (e)a Justice ofthe High court nominated by the Justices ofthe
                     High Court;

                     (fl two representatives ofthe Ghana Bar Association one ofwhom
                     shall be a person ofnot less than twelve years' standing as a
                     lawyer.

                     (g)a representative ofthe Chairmen ofRegional Tribunals
                     nominated by the Chairmen;

                     (h)a representative ofthe lower courts or tribunals;

                     (i} the Judge Advocate-General ofthe Ghana Armed Forces;

                     (j) the Head ofthe Legal Directorate ofthe Police Service;

                     (k)the Editor ofthe Ghana Law Reports;

                      (1} a representative_ofthe Judicial Service Staff Association
                      nominated by the Association;

                     (m)a chiefnominated by the National House ofChief's; and

                      (n)four other persons who are not lawyers appointed. by the
                      President

    154.

              (1)The functions oftlie Judicial Council are -
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                     (a)to propose for the consideration ofGovernment,jusiicial
                     reforms to ~innprove the level ofadministration ofjustice and
                     efficiency i~ the Judiciary;

                     (b)to be a forum for consideration and discussion of matters
                     relating to the discharge ofthe functions ofthe Judiciary and
                     thereby assist the ChiefJustice in the performance ofhis duties
                     with a view to ensuring efficiency and effe~t~ve realization of
                     justice; and

                     (c)to perform any other functions conferred on it by or under this
                     Constitution ox any other law not inconsistent with this
                     Constitution.

              (2)The Judicial Council may establish such committees as it considers
              necessary to which it sha11 refer matters relating to the Judiciary.

                                               Miscellaneous

    155.

              (1) Notwithstanding the provisions ofthis Chapter, a Justice ofthe
              Superior Court ofJudicature who has attained the age of sixty years or
              above, shall, on retiring, in addition to any gratuity payable to him,be paid
              a pension equal to the salary payable for the tinne beizag to a Justice ofthe
               Superior Court from which he retired where -

                      (a)he has served for ten continuous years or more as a Justice of
                      the Superior Court of Judicature; or

                      (b)he has served for twenty years or more in the public service at
                      least five continuous years of which were as a Justice ofthe
                      Superior Court of Judicature; and upon retirement under this
                      clause, he shall not-hold any private office of profit or emolument
                       whether directly or indirectly.

              (2)For the avoidance of doubt,the pension paid to a person undex clause
              (1)ofthis article shall be subject to the same changes and increases as the
              salary ofa serving Justice ofthe Superior Court ofJudicature.

               (3)A Justice ofthe Superior Court•of Judicature may,in lieu ofretiring
               under clause(1)ofthis article;retire ifhe has attained the age prescribed
               as retiring age for public officers generally, and shall be paid retiring
               awards based on his total public service, including service as a JusCice of
               the Superior Court ofJudicature, but otherwise at the same rate as is, for
               the time being applicable to the public service generally.
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   156,

             (I) A.Justice ofa Superior Court, the Chairman ofa Regional Tribunal,
             and also a person presiding aver a lower court ar tribunal, and any other
             judicial officer or person•whose functions involve the exercise by him of
             judicial power shall, before assuming the exercise ofthe duties ofhis
             office, take and subscribe the oath ofallegiance and the Judicial Oath set
             out in the Second Scheduled to this Constitution.

              (2)The President may,on the advice ofthe ChiefJustice, direct that any
              other person connected with the exercise ofjudicial power, shall take and
              subscribe the Judicial Oath.

              (3)The oath of allegiance and the judicial oath required by this article
              shall be taken andsubscribed

                      (a)in the case ofthe Chief Justice ox other justice ofa Superior
                      Court, and a Chairman ofa Regional Tribunal, before the
                      President; and

                      (b)in the case of any other person, before the ChiefJustice on
                      before any other Justice ofa Superior Court or Chaurnan ofa
                      Regional Tribunal as the ChiefJustice may direct.

    157.

              (1)There shall be a Rules of Court Committee which shall consist of

                       (a)the ChiefJustice, who shall be Chairman;

                       (b) six members ofthe Judicial Council other than the chief Justice
                       nominated by the Judicial Council;

                       (c)two lawyers, one ofnot less than ten and the other ofnot more
                       than five years' standing, bath o~whom shall be nominated by the
                       Ghana Bar Association.

               (2)The Rules of Court Committee shall, by c.~nstitutlonal insh~ument,
               make rules and regulations for regulating the practice and procedure ofall
               courts in Ghana.

               (3) Without prejudice to clause(2)ofthis article, no person sitting in a
               superior Court for the determination ofany cause or matter shall, having
               heard the arguments ofthe parties to that cause or mattex and before
               judgment is delivered, withdraw as a nnember ofthe court or tribunal, or as
               a member ofpanel determining that cause or matter, nor shall that person
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             become functus officio in respect ofthat cause or matter, untiljudgment is
             delivered.

   158.

             (1)The appoinhnent ofofficers and employees ofthe Courts other than
             those expressly provided for by other provisions ofthis Constitution, shall
             be made by the~Chie£7ustice or other Justice or other officer ofthe Court
             as the Chief Justice may direct in writing.

             (2)The Judicial Council shall, acting in consultation with the Public
             Services Commission and with the prior approval ofthe President, by
             constitutional insGrunnent;make regulations prescribing the terms and
             conditions ofservice ofthe persons to whom clause(1)ofthis article
             applies.

   159,

              The ChiefJustice may,acting in accordance with the advice ofthe Judicial
              Council and with the approval ofthe President, by constitutional
              instYument, make regulations for the efficient performance ofthe functions
              ofthe Judicial Service and the Judicial Council under this Chapter.

    160.

              The fees, fines and other moneys paid to the Courts shall form part ofthe
              Consolidated Fund.

    162.

              In this Chapter, unless the conte~ otherwise requires -

                      1. "court" includes a tribunal;

                      2.'judicial office" means

                                      (a)the office ofa person.presiding over a lower
                                      court or tribunal howsoever described;

                                      (b)the office ofthe Judicial Secretary or Registrar
                                      ofthe Superior Courts;

                                       (c)such other offices connected with any court as
                                       may be prescribed by constitutional instrument
                                       made by the ChiefJustice acting in accordance with
                                       the advice ofthe Judicial Council and with the
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                                   approval ofthe President;'judicial officer" means
                                   the holder ofajudicial office; and

                   3."supervisory jurisdiction" includesjurisdic~ian to issue writs or
                   orders in the nature ofhabeas corpus, certiorari, mazidarnus,
                   prohibition and quo warranto.
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                               CHAPTER EIGHT

                                THE EXECUTIVE

                                    The President

 57.

           (1)There shall be a President ofthe Republic of Ghana who shall be the
           Head of State and Head of Government and Commander-in Chiefofthe
           Armed Forces of Ghana.

           (2)The President shall take precedence over all other persons in Ghana;
           and in descending order, the Vice-President, the Speaker ofParliament
           and the Chief Justice, shall take precedence over all other persons in
           Ghana.

           (3)Before assuming office the President shall take and subscribe before
           Parliament the oath of allegiance and the presidential oath set out in the
           Second Schedule to this Constitution.

            (4) Without prejudice to the provisions of article 2 ofthis Constitution,
            and subject to the operation ofthe prerogative writs, the President shall
            not, while in office, be liable to proceedings in any court for the
            performance of his functions, or for any act done or omitted to be done, or
            purported to be done, or purported to have been done or purporting to be
            done in the performance ofhis functions, under this Constitution or any
            other law.

            (5)The President shall not, while in office as President, be personally
            liable to any civil or criminal proceedings in court.

            (6)Civil or criminal proceedings may be instituted against a person within
            three years after his ceasing to be President, in respect ofanything done or
            omitted to be done by him in his personal capacity before or during his
            term ofoffice notwithstanding any period oflimitation except where the
            proceedings had been legally barred before he assumed the office of
            President.

 58.

            (1)The executive authority of Ghana shall vest in the President and shall
            be exercised in accordance with the provisions ofthis Constitution.




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           (2)The executive authority ofGhana shall emend to the execution and
           maintenance ofthis Constitution and all laws made under or continued in
           force by this Constitution.

           (3) Subject to the provisions ofthis Constitution, the functions conferred
           on the President by clause(1)ofthis article may be exercised by hun
           either directly or through officers subordinate to him.

           (4)Except as otherwise provided in this Constitution or by a law not
           inconsistent with this Constitution, all executive acts of Government shall
           be expressed to betaken in the name ofthe President.

           (5)A constitutional or statutory instrument or any other instrument made,
           issued or executed in the name ofthe President shall be authenticated by
           the signature ofa Minister and the validity ofnay such instrument so
           authenticated shall not be called in question on the ground that it is not
            made, issued or executed by the President..

 59.

            The President shall not leave Ghana without prior notification in writing,
            signed by him and addressed to the Speaker ofParliament.



           (1)There shall be aVice-President of Ghana who shall perform such
           functions as may be assigned to him by this Constitution or by the
           President.

            (2) A candidate for the office ofVice-President shall be designated by the
            candidate for the office ofPresident before the election ofPresident.

            (3)The provisions of article 62 ofthis Constitution apply to a candidate
            for election as Vice-President.

            (4) A candidate shall be deemed to be duly elected asVice-Presidentifthe
            candidate who designated him as candidate for election to the office of
            Vice-President has been duly elected as President in accordance with the
            provisions of article 63 of this Constitution.-

            (5)The Vice-President shall, before commencing to perform the functions
            of Vice-President, take and subscribe the oath of allegiance and the Vice-
            Presidential oath set out in the Second Schedule to this Constitution.

            (6) Whenever the President dies, resigns or is removed from office, the
            Vice-President shall assume office as President for the unexpired term of
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                                 CHAPTER TEN

                             THE LEGISLATURE

                             Composition ofParliament

93.

           (1)There shall be a Parliament of Ghana which shall consist ofnot less
           than one hundred and forty elected members.

           (2) Subject to the provisions ofthis Constitution, the legislative power of
           Ghana shall be vested in Parliament and shall be exercised in accordance
           with this Constitution.

 94.

           (1) Subject to the provisions ofthis article, a person shall not be qualified
           to be a member ofParliament unless -

                   (a)he is a citizen of Ghana, has attained the age oftwenty-one
                   years and is a registered voter;

                   (b) he is resident in the constituency for which he stands as a
                   candidate for election to Parliament or has resided there for a total
                   period of not less than five years out ofthe ten years immediately_
                   preceding the election for which he stands, or he hails from that
                   constituency; and

                   (c) he has paid all his taxes or made arrangements satisfactory to
                   the appropriate authority for the payment of his tares.

            (2) A person shall not be qualified to be a member ofParliament if he -

                    (a)owes allegiance to a country other than Ghana: or

                    (b) has been adjudged or otherwise declared-

                                     (i) bankrupt under any law in force in Ghana and
                                     has not been discharged or

                                     (ii)to be of unsound mind or is detained as a
                                     criminal lunatic under any law in force in Ghana; or

                    (c) has been convicted -




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                                     CHr~,PTER ELEVEN

                                       THE JiJDICIARY

                                               General

        125.

                  (1)Justice emanates froth the people and shall be administered in the
'                 name ofthe Republic by the Judiciary which shall be independent and
                  subject only to this Constitution,

                  (2)Citizens.may exercise popular participation in the administration of
                  justice through the institutions ofpublic and customary tribunals and the
                  jury and assessor systems,

                  (3)Thejudicial power of Ghana shall be vested in the Judiciary,
                  accordingly, neither the President nor Parliament nor any organ ox agency
                  ofthe President or Parliament shall have or be given final judicial power.

                  (4)The ChiefJustice sha11, subject to this Constitution, be the Head ofthe
                  Judiciary and shall be responsible for the administration and supervision
                  ofthe Judiciary.

                  (S)The Judiciary shall have jurisdiction in all matters civil and criminal,
                  including matters relating to tivs Constitution, and such other jurisdiction
                  as Parliament may, by law, confer on it.

        126.

                  (1)The Judiciary shall consist o£

                          (a)the Superior Courts ofJudicature comprising -

                                            (i) the Supreme Court;

                                            (ii) the Court ofAppeal; and

                                            (iii)the High Court and Regional Tribunals.

                           (b)such lower courts or tribunals as Parliament may by law
                           establish,

                   (2)The Superior Courts shall be superior courts ofrecord and shall have
                   the power to commit fox contempt to themselves and ali such powers as




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                                            EXHIBIT 7
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              were vested in a court ofrecord immediafiely before the coming into force
              ofthis constitution.

             (3)Except as otherwise provided in this Constitution or as may otherwise
             be ordered by a court in the interest ofpublic rr~orality, public safety ar
             public order,the proceedings ofevery court shall beheld in public.

              (4)In the exercise ofthejudicial power conferred on the Judiciary by this
              Constitution ar any othar law,the Superior Courts may,in relation to any
              matter witivn their jurisdiction, issue such orders and diractians as may be
              necessary to ensure the enfoxcement ofanyjudgement, decree or o~•der of
              those courts.

    127.

              (1)In the exercise ofthe judicial power of Ghana,the Judiciary, vn both its
              judicial and administrative functions, including financial administration, is
              subject only to this Constitution and shall not be subject to the control or
              direction ofany person or authority,

              (2)Neither the President nor Parliament nor any person acting under the
              authority oftha President or Parliament nor any other person whatsoever
              shall interfered with Judges or judicial officers or other persons exercising
              judicial power,in the exercise oftheirjudicial functions; and all organs
              and agencies ofthe State shall accord to the courts such assistance as the
              courts may reasonably require tb protect the independence, dignity and
              effectiveness ofthe courts, subject.to this Constitution.

              (3)A Justice ofa Superior Court, or any person exercisingjudicial power,
              shall not be liable to any action or suit far any act or omission by him in
              the exercise ofthe judicial powex.

              (4)The'administrative expenses ofthe judiciary, including all salaries,
              allowances, gratuities and pensions payable to our in respect of, persons
              serving in tlae judiciary, shall be charged an the.Consolidated Fund.

              (5)The salary, allowances, privileges and rights in respect ofleave of
              absence, gratuity, pension and other conditions o~service ofa Justice of
              the superior court or any judicial officer ox other person exercising judicial
              power, shall not be varied to his disadvantage,

              (6)k'unds voted by parliament, ar charged an the Consolidated Fund by
              this Constitution for the Judiciary, shall be released to the Judiciary, in
              quarterly installments,




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             (7)For the purposes ofclause(1) ofthis article,"financial adminish~ation"
             includes the operation of banking facilities by the 7udiciaxy without the
             interference ofany person ax authority, other than for the purposes ofaudit
             by the Auditor-General, ofthe funds voted by Parliament or charged on
             the Consolidated Fund by this Constitution ox any other law,for the
              purposes of defraying the expanses ofthe Judiciary in respect ofwhich the
             funds were voted ox charged.

                                   The Supreme Court

    128.

              (1)The Supreme court shall consist ofthe Chiaf Justice and not less than
              nine other Justices ofthe Supreme Court.

              (2)The Supreme Court shall be duly constituted for its work by not less
              than five Supreme Court Justices except as otherwise provided in article
               133 ofthis Constitution.

              (3)The ChiefJustica shall preside at sittings ofthe Supreme CourC and in
              his absence, the most senior ofthe Justices ofthe Supreme Court, as
              constituted, shall preside.

              (4)A person shall not be qualified for appointment as a Justice ofthe
              Supreme Court unless he is ofhigh moral character and proven integrity
              and is ofnot less than fifteen years' standing as a lawyer.

    129.

              (1)The Supreme Court shall be the final court ofappeal and shall have
              such appellate and otherjurisdiction as may be confe;~ed an it by this
              Constitution or by any other law.

              (2)The Supreme Court shall not be bound to follow the decisions ofany
              other court.

              (3)The Supreme Court may, while treating its own previous decisions as
              normally binding, depart from a previous decision when it appears to it
              right to do so; and all other courts shall be bound to fallow the decisions
              ofthe Supreme Court an questions oflaw.

               (4)for the purposes of hearing and determining a matter within its
               jurisdiction and the amendment,'execution or the enforcement ofa
               judgement ox order made on any matter,and for the purposes ofany other
               authority, expressly or by necessary implication given to the Supreme
                Court by this Constitution ar any other law,the Supreme Court shall have
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146.

           (1) A Justice ofthe Superior Court or a Chairman ofthe Regional Tribunal
           shall not be removed from office except for stated misbehaviour or
           incompetence or on ground ofinability to perform the functions ofhis
           office arising from infirmity ofbody or mind.

           (2) A Justice ofthe Superior Court of Judicature or a Chairman ofthe
           Regional Tribunal may only be removed in accordance with the procedure
           specified in this article.

           (3)Ifthe President receives a petition for the removal of Justice ofa
           Superior Court other than the Chief Justice or for the removal ofthe
           Chairman ofa Regional Tribunal, he shall refer the petition to the Chief
           Justice, who shall determine whether there is a prima facie case.

           (4) Where the Chief Justice decides that there is a prima facie case, he
           shall set up a committee consisting ofthree Justices ofthe Superior Courts
           or Chairmen ofthe Regional Tribunals or both, appointed by the Judicial
           council and two other persons who are not members ofthe Council of
           State, nor members ofParliament, nor lawyers, and who shall be
           appointed by the Chief Justice on the advice ofthe Council of State.

           (5)The committee appointed under clause(4)ofthis article shall
           investigate the complaint and shall make its recommendations to the Chief
           Justice who shall forward it to the President.

           (6) Where the petition is for the removal ofthe ChiefJustice, the President
           shall, acting in consultation with the Council of State, appoint a committee
           consisting oftwo Justices ofthe Supreme Court, one ofwhom shall be
           appointed chairman by the President, and three other persons who are not
            members ofthe Council of State, nor members ofParliament, nor lawyers.

            (7)The committee appointed under clause(6)ofthis article shall inquire
            into the petition and recommend to the President whether the Chief Justice
            ought to be removed from office.

            (8) All proceedings under this article shall be held in camera, and the
            Justice or Chairman against whom the petition is made is entitled to be
            heard in his defence by himself or by a lawyer or other expert ofhis
            choice.

            (9)The President shall, in each case, act in accordance with the
            recommendations ofthe committee.




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           (10) Where a petition has been referred to a committee under this article,
           the President may -

                   (a)in the case ofthe Chief Justice, acting- in accordance with the
                   advice ofthe Council of State, by warrant signed by him, suspend
                   the ChiefJustice;

                   (b)in the case of any other Justice of a Superior court or of a
                   Chairman ofa Regional Tribunal, acting in accordance with the
                   advice ofthe Judicial Council, suspend that Justice or that
                   Chairman ofa Regional Tribunal.

           (11)The President may, at any time, revoke a suspension under this
           article.

 147.

           (1) A panel member ofa Regional Tribunal, other than the Chairman, shall
           have such allowances and benefits as may be determined by the President
           acting on the advice ofthe Judicial Council.

           (2)A panel member ofa Regional Tribunal other than the Chairman may
           be removed by the Chief Justice acting on the advice ofthe Judicial
           Council and ofthe Regional Co-ordinating Council on grounds ofstated
           misbehaviour or incompetence or on ground ofinability to perform his
           functions arising from infirmity ofbody or mind.

            (3)For the purposes ofclause(2)ofthis article the panel member
            concerned is entitled to be heard in his defence by himselfor by a lawyer
            or other expert ofhis choice.

                     Appointment, retirement and removal ofJudicial Officers

 148.

            Subject to the provisions ofthis article, the power to appoint persons to
            hold or to act in ajudicial office shall be vested, subject to the approval of
            the President in the Chief Justice acting on the advice ofthe Judicial
            Council.

 149.

            Judicial officers shall received such salaries, allowances, facilities and
            privileges and other benefits as the President may, acting on the advice of
            the Judicial Council determine.
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                           CHAPTER TWENTY-SIX

                               MISCELLANEOUS

293.

           (1) Where a person has a claim against the Government, that claim may be
           enforced as ofright by proceedings taken against the Government for that
           purpose without the grant of a fiat or the use ofthe process known as
           petition ofright.

           (2)The Government shall be subject to all those liabilities in tort to which,
           if it were a private person offull age and capacity, it would be subject -

                   (a) in respect oftorts committed by its employees or agents;

                   (b) in respect of a breach of duties which a person owes to his
                   employees or agents at common law or under any other law by
                   reason ofbeing their employer; and

                   (c) in respect ofa breach ofthe duties at common law or under any
                   other law attached to the ownership, occupation, possession or
                   control of property.

            (3)No proceedings shall lie against the Government by virtue of
            paragraph (a)of clause (2)ofthis article in respect ofan act or omission of
            an employee or agent ofthe Government unless the act or omission would,
            apart from this article, have given rise to a cause.ofaction in tort against
            that employee or his estate.

            (4) Where the Government is bound by a statutory duty which is binding
            also upon persons other than the Government.and its officers, the
            Government shall, in respect ofa failure to comply with that duty, be
            subject to all liabilities in tort to which it would be so subject if the
            Government were a private person offull age and capacity.

            (5) Where functions are conferred or imposed on an officer ofthe
            Government as such officer either by a rule ofthe common law or by
            statute and that officer commits tort-while performing or purporting to
            perform those functions, the liabilities ofthe Government in respect ofthe
            tort shall be what they would have been ifthe function had been conferred
            or imposed solely by virtue ofinstructions lawfully given by the
            Government.

            (6)No proceedings shall lie against the Government by virtue ofthis
            article in respect of -




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                   (a) anything done or omitted to be done by any person while
                   discharging or purporting to discharge responsibilities ofajudicial
                   nature vested in him; or

                   (b)any act, neglect or default ofan officer ofthe Government
                   unless that officer-

                                   (i) has been directly or indirectly appointed by the
                                   Government and was, at the material time, paid in
                                   respect of his duties as an officer ofthe Government
                                   wholly out of public funds or out of moneys
                                    provided by Parliament; or

                                    (ii) was, at the material time, holding an office in
                                    respect of which the Public Services Commission
                                    certifies that the holder ofthat office would
                                    normally be so paid.

           (7) Where the Government is subject to a liability by virtue ofthis article,
           the law relating to indemnity and contribution shall be enforceable-

                   (a)against the Government by an employee ofthe Government
                   who is acting in the proper execution ofhis duties in respect ofthe
                   liability or by any other person in respect ofthe liability to which
                   that person is subject; or

                   (b)by the Government against any person other than an employee
                   ofthe Government, in respect ofthe liability to which it is so
                   subject, as ifthe Government were a private person offull age and
                   capacity.

 294.

           (1)For the purposes ofenforcing any provision ofthis Constitution, a
           person is entitled to legal aid in connection with any proceedings relating
           to this Constitution if he has reasonable grounds for taking, defending,
           prosecuting or being a party to the proceedings.

            (2)Subject to clause(1)ofthis article, Parliament shall, by or under an
            Act ofParliament, regulate the grant oflegal aid.

            (3) Without prejudice to clause(2)ofthis article, Parliament may, under
            that clause provide for the granting oflegal aid in such matters other than
            those referred to in clause(1)ofthis article as may be prescribed by or
            under that Act.
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      ACT 4G2                                                Local Government Act, 1993




          (7) The emoluments of a presiding member shall be determined by the District As-
        sembly and paid out ofthe Assembly's own resources.

        18, Meetings
           (I) A District Assembly shall meet at least three times in a year.
           (2) Matters for decision by the Assembly shall be determined by the votes ofthe ~taa-
           jority of the members present and voting.
           (3)In the event ofequality of votes the presiding member shall have a casting vote.
            (4)The validity ofthe proceedings of a District Assembly shall not ba affected by a
                                                                                                of a
        vacancy among tts members or by a defect in the appointment or qualification
        member.
            (5) A District Assembly nnay summon a public officer in the district to attend any of
        its meetings to provide_the infarmatlon ar.assista~nc~ r~quirec~_by the Assembly.
           (6)The Minister shall make model standing orders for the conduct and proceedings
         ofthe District Assemblies.

         19. Executive Committees
            (I) There shall be established an executive committee of a District Assembly which
         shall be responsible for the performance ofthe executive and administrative functions of
         the District Assembly.
            (2) An executive committee shall consist of not more than one-third ofthe total number
                                                                                          ,
         offhe members of the Assembly elected by.the members fram among themselves
            (3) The presiding member of the Assembly shall not be a member of the executive
         committee,
         20. District Chief Executive
                                                                                                   for
            (I) In accordance with article 243 of theConstitution, the District Chief Executivethan
                        shall be appointed   by the President with the prior approval of not lass
         each district
                                                                                         voting at the
         two-thirds majority of the members of the District Assembly present and
         meeting.
                                                                                                    of
            (2) The Distriot Chief Executive shall be the chairman of the executive committee
         the District Assembly.
            (3)The District Chiefexecutive
                 (a) shall preside at meetings of the cxacutive connmittee of the District Assembly
                         and in the absence of the chairman a member of the executive committee
                         elected by the members present from among themselves shall preside;
                 (b) is responsible for the day-to-day performance of the executive and adminis-
                 trative functions ofthe Assembly;
                 (c) is responsible for the supervision ofthe departments ofthe Assembly; and
                  (d) is the chief representative ofthe Government in the district.



                                                    V - 3466
      [Issue I]




                                               EXHIBIT 11
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                         I..ocal Government Act, 1993                                       ACT 462


                 (4)The office ofthe District Chiefexecutive becomes vacant.if
                     (a) a vote of no confidence against the District GhiefExecutive is passed supported
                             by the votes of not less than two-thirds ofthe total number ofthe
                             members ofthe District Assembly, or
                     (b) the District ChiefExecutive is removed fiom office by the President, or (c)
                     the District ChiefExecutive resigns or dies.
                 (5) SubJect to subsection (4},the term ofoffice of a District Chief Executive shall be
              four years in accordance with clause(2)of article 246 ofthe Constitution.
                 (6)A person shall not hold office as a District ChiefExecutive far more than two
              terms in succession.

                  (7) The emoluments of a District Chief Executive shall be determined, in accordance
               with article 250 of the Constitution by Parliament and shall be charged on the Consoli-
               dated Fund.

             21. Functions of the executive committee
                      (I) By virtue of article 251 of the Constitutipn, the executive committee of a District
                   Assembly shall perform the executive and co-ordinating functions of the District
                   Assembly,
                      (2) Without prejudice to subsection (I), an executive committee shall,
                          (a) ca-ordinate plans and programmes ofthe sub-committees and submit these
                                 as comprehensive plans of action to the District Assembly;
                          (b)implement resolutions ofthe District Assembly;
                          (c) oversee the administrAtion ofthe district in collaboration with the office of
                                 the District ChiefExecutive;
                          (d)recommend, where it considers necessary, in the case ofdepartments outside the
                                 supervision of the Assembly which are in the district, to the appropriate
                                 government Ministry, Department or Agency the appoinhnent and
                                 replacement on stated grounds of officers within the area of authority of the
                                 District Assembly;
                          (e) develop and execute approved plans ofthe units, area and towns and sub
                                  metropolitan districts within the area o£authoxity ofthe District Assembly;
                           (~ recommend to Che District Assembly              '
                                   (i)the economic; social, spatial and human settlement policies relating
                                          to the development ofthe district;
                                 (ii) the harmonisation ofthe development policies ofthe district with the
                                          national development policies;
                                  (iii) the integration and the co-ordination ofthe processes of planning,
                                          programming, budgeting and implementation;
                                  (iv)the initiation and implementation ofdevelopment programmes and
                                          projects at the district level; and
                                 (v)the monitoring and evaluation ofthose policies, programmes and
                                          projects.



                                       V - 3467                                            [Issue I]
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           (3) Subject to this Constitution, a District Assembly shall be the highest
           political authority in the district, and shall have deliberative, legislative
           and executive powers.

242.

           A District Assembly shall consist ofthe following members -

                    (a)one person from each local govetirnment electoral area within
                    the district elected by universal adult suffrage;

                    (b)the member or members ofParliament from the constituencies
                    that fall within the area ofauthority ofthe District Assembly as
                    members without the right to vote;

                    (c)the District ChiefExecutive ofthe district; and

                    (d)other members not being more than thirty percent of all the
                    members ofthe District Assembly, appointed by the President in
                    consultation with the traditional authorities and other interest
                    groups in the district.

 243

            (1)There shall be a District chiefExecutive for every district who shall be
            appointed by the President with the prior approval ofnot less than two-
            thirds majority of members ofthe Assembly present and voting at the
            meeting.

            (2)The District ChiefExecutive shall -

                    (a) preside at meetings ofthe Executive Committee ofthe
                    Assembly;

                    (b) be responsible for the day-to-day performance ofthe executive
                    and administrative functions ofthe District Assembly; and

                     (c) be the chief representative ofthe Central Government in the
                     district.

            (3)The office ofDistrict ChiefExecutive shall become vacant if -

                     (a) a vote of no confidence, supported by the votes of not less than
                     two-thirds of all the members ofthe District Assembly is passed
                     against him; or




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                   (b) he is removed from office by the President; or

                   (c) he resigns or dies.

244.

           (1)The District Assembly shall have a Presiding Member who shall be
           elected by the Assembly from among its members.

           (2)The Presiding Member shall be elected by at least tow thirds majority
           of all the members ofthe Assembly.

           (3)The Presiding Member shall-

                   (a)preside over the meetings ofthe Assembly;

                   (b) perform such other functions as may be prescribed by law.

           (4) Subject to clause(5)ofthis article, the term ofoffice ofthe Presiding
           Member shall be two years and he shall be eligible for re-election.

           (5)The Presiding Member shall cease to hold office whenever the
           Assembly by a majority ofat least two-thirds of all the members ofthe
           Assembly vote to remove him from office.

 245.

            Parliament shall, by law, prescribe the functions ofDistrict Assemblies
            which shall include -

                    (a)the formulation and execution of plans, programmes and
                    strategies for the effective mobilization ofthe resources necessary
                    for the overall development ofthe district;

                    (b)the levying and collection oftaxes, rates, duties and fees.

 246.

            (1)Elections to the District Assemblies shall be held every four years
            except that such elections and elections to Parliament shall be held at least
            s~ months apart.

            (2)Unless he resigns or dies or the earlier ceases to hold office under
            clause(3)of article 243 ofthis Constitution, the term ofoffice ofthe
            District ChiefExecutive shall be four years; and a person shall not hold
            office as a District ChiefExecutive for more than two consecutive terms.
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                             CHAPTER TWENTY

        DECENTRALIZATION AND LOCAL GOVERNMENT

r~~

           (1)Ghana shall have a system oflocal government and administration
           which shall, as far as practicable, be decentralized.

           (2)The system of decentralized local government shall have the following
           features-

                   (a)Parliament shall enact appropriate laws to ensure that functions,
                   powers, responsibilities and resources are at all times transferred
                   from the Central Government to local government units in a co-
                   ordinated manner;

                   (b)Parliament shall by law provide for the taking ofsuch measures
                   as are necessary to enhance the capacity oflocal government
                   authorities to plan, initiate, co-ordinate, manage and execute
                    policies in respect of all matters affecting the people within their.
                   areas, with a view to ultimately achieving localization ofthose
                    activities;

                   (c)there shall be established for each local government unit a
                   sound financial base with adequate and reliable sources ofrevenue;

                   (d)as far as practicable, persons in the service oflocal government
                   shall be subject to the effective control oflocal authorities;

                   (e)to ensure the accountability oflocal government authorities,
                   people in particular local government areas shall,- as far as
                   practicable,, be afforded the opportunity to participate effectively in
                   their governance.

 241.

            (1)For the purposes of local government, Ghana shall be deemed to have
            been divided into the districts in existence immediately before the coming
            into force ofthis Constitution.

            (2)Parliament may by law make provision for the redrawing ofthe
            boundaries of districts or for reconstituting the districts.




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           (3) Subject to this Constitution, a District Assembly shall be the highest
           political authority in the district, and shall have deliberative, legislative
           and executive powers.

242.

            A District Assembly shall consist ofthe following members -

                   (a)one person from each local government electoral area within
                   the district elected by universal adult suffrage;

                   (b)the member or members ofParliament from the constituencies
                   that fall within the area ofauthority ofthe District Assembly as
                   members without the right to vote;

                    (c)the District ChiefExecutive ofthe district; and

                    (d) other members not being more than thirty percent of all the
                    members ofthe District Assembly, appointed by the President in
                    consultation with the traditional authorities and other interest.
                    groups in the district.

 243.

            (1)There shall be a District chief Executive for every district who shall be
            appointed by the President with the prior approval of not less than two-
            thirds majority of members ofthe Assembly presentand voting at the
            meeting.

            (2)The District ChiefExecutive shall -

                    (a) preside at meetings ofthe Executive Committee ofthe
                    Assembly;

                    (b) be responsible for the day-to-day performance ofthe executive
                    and administrative functions ofthe District Assembly; and

                    (c) be the chief representative ofthe Central Government in the
                    district.

            (3)The office ofDistrict ChiefExecutive shall become vacant if -

                    (a)a vote of no confidence, supported by the votes ofnot less than
                    two-thirds ofall the members ofthe District Assembly is passed
                    against him; or
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                   (b)he is removed from oi~ice by the President; or

                   (c) he resigns or dies.

244.

           (1)The District Assembly shall have a Presiding Member who shall be
           elected by the Assembly from among its members.

           (2)The Presiding Member shall be elected by at least towthirds majority
           of all the members ofthe Assembly.

           (3)The Presiding Member shall-

                   (a) preside over the meetings ofthe Assembly;

                   (b) perform such other functions as may be prescribed by law.

           (4) Subject to clause(5)ofthis article, the term ofoffice ofthe Presiding
           Member shall be two years and he shall be eligible for re-election.

           (5)The Presiding Member shall cease to hold office whenever the
           Assembly by a majority ofat least two-thirds of all the members ofthe
           Assembly vote to remove him-from office.

 245.

            Parliament shall, by law, prescribe the functions ofDistrict Assemblies
            which shall include -

                    (a)the formulation and execution of plans, programmes and
                    strategies for the effective mobilization ofthe resources necessary
                    for the overall development ofthe district;

                    (b)the levying and collection oftaxes, rates, duties and fees.

 ►~.

            (1)Elections to the District Assemblies shall be held every four years
            except that such elections and elections to Parliament shall be held at least
            six months apart.

            (2)Unless he resigns or dies or the earlier ceases to hold office under
            clause(3)of article 243 ofthis Constitution, the term ofoffice ofthe
            District ChiefExecutive shall be four years; and a person shall not hold
            office as a District ChiefExecutive for more than two consecutive terms.
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247.

           Subject to this constitution, the qualifications for membership ofa District
           Assembly,the procedures ofa District Assembly and other local
           government units lower than a District Assembly that may be created,
           shall be provided for by law.

248.

           (1) A candidate seeking election to a District Assembly or any lower local
           government unit shall present himselfto the electorate as an individual,
           and shall not use any symbol associated with any political party.

           (2)A political party shall not endorse, sponsor, offer a platform to or in
           anyway campaign for or against a candidate seeking election to a District
           Assembly or any lower local government unit.

 249.

            Subject to any procedure established by law, the mandate of a member of
            a District Assembly may be revoked by the electorate or the appointing
            body.

 250.

           (1)The emoluments ofa District chiefExecutive ofa District Assembly
           shall be determined by Parliament and shall be charged on the
           consolidated Fund.

           (2)The emoluments ofa Presiding Member of a District Assembly and
           other members ofthe Assembly shall be determined by the District
           Assembly and paid out ofthe Assembly's own resources.

 251.

            (1)There shall be established an Executive Committee of a District
            Assembly which shall be responsible for the performance ofthe executive
            and administrative functions ofthe District Assembly.

            (2)The composition of the Executive Committee and the procedure for its
            deliberations shall be as provided for by law.

 252.

            (1)There shall be a fund to be known as the District Assemblies Common
            Fund.
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           (2)Subject to the provisions ofthis Constitution, Parliament shall annually
           make provision for the allocation ofnot less than five percent ofthe total
           revenues of Ghana to the District Assemblies for development; and the.
           amount shall be paid into the District Assemblies Common Fund in
           quarterly installments.

           (3)The moneys accruing to the district Assemblies in the Common Fund
           shall be distributed among all the District Assemblies on the basis ofa
           formula approved by Parliament.

           (4)There shall be appointed by the President with the approval of
           Parliament, a District Assemblies Common Fund Administrator.

           (5)Parliament shall by law prescribe the functions and tenure of office of
           the Administrator in such a manner as will ensure the effective and
           equitable administration ofthe District Assemblies Common Fund.

           (6)Nothing in this Chapter or any other law shall be taken to prohibit the
           State or other bodies from making grants-in-aid to any District Assembly.

 253.

            The Auditor-General shall audit the accounts ofthe District Assemblies
            annually and shall submit his reports on the audit to Parliament.

 254.

            Parliament shall enact laws and take steps necessary for further
            decentralization ofthe administrative functions and projects ofthe Central
            Government but shall not exercise any control over the District
            Assemblies that is incompatible with their decentralized status, or
            otherwise contrary to law.

 255.

            (1)There shall be established a Regional Co-ordinating Council in each
            region, which shall consist of -

                    (a)the Regional Minister and his deputy or deputies;

                    (b)the Presiding Member and the District ChiefExecutive from
                    each district in the Region;

                    (c)two chiefs from the Regional House ofchiefs; and
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                  (d)the Regional Heads ofthe decentralized ministries in the region
                  as members without the right to vote;

           (2)The Regional Minister shall be the Chairman ofthe Regional Co-
           ordinating Council.

           (3)Subject to this Chapter, the functions ofa Regional Co-ordinating
           Council shall be as prescribed by Act ofParliament.

256.

           (1)The President shall, with the prior approval ofParliament, appoint for
           each region, a Minister of State who shall -

                   (a)represent the President in the region; and

                   (b)be responsible for the co-ordination and direction ofthe
                   administrative machinery in the region.

           (2)The President may, in consultation with the Minister of State for a
           region and with the prior approval ofParliament, appoint for the regional
           Deputy Minister or Deputy Ministers to perform such functions as the
           President may determine.
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             (3} Subject to this Constitution, a District Assembly shall be the highest
             political authority in the district, and shall have deliberative, legislative
             and.executive powers.

   242.

              A District Assembly shall consist ofthe following members

                     (a)one person from each local government electoral area within
                     the district elected by universal adult sui~rage;

                      (b)the member or members ofParliament from the constituencies
                      that fall within-the area ofauthority ofthe District Assembly as
                      mambers without the right to vota;

                      (c)the District ChiefExecutive ofthe distinct; and

                      (d)other members not being more than thirty percent ofall the
                      members ofthe District Assembly, appointed by the President in
                      consultation with the traditional authorities and other interesC
                      groups in the district.

    243.

              (1)There shall be a District chiefExecutive for every district who sha11 be
              appointed by the President with the prior approval ofnot lessthan two-
              thirds majority of members ofthe Assembly present and voting atthe
              meeting.

              (2)The District ChiefExecutive shall -

                      (a) preside at meetings ofthe Executive Committee ofthe
                      Assembly;

                       (b) be responsible far tha day-to-day performance ofthe executive
                       and administrative functions ofthe District Assembly; and

                       (c)be the chiefrepresentative ofthe Central Government in the
                       district.

              (3)The office ofDistriot ChiefExecutive shall become vacant if

                       (a} a vote ofno confidence, supported by the votes ofnot less than
                       two-thirds ofall the members ofthe District Assembly is passed
                       against him; or




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   Act 663                        Public Procurement Act, 2003


   Authority to dispose
     83.(1)The head of a.procurement entity shall convene a Board of Survey comprising
   representatives. of departments with unserviceable, obsolete or surplus stores, plant and
   equipment which shall report on the items and subject to a technical report on them,
   recommend Che best method of disposal after the officer,in charge has completed a Board
   of Survey form.
          (2)The Baaxd of Survey's recommendations shall be approved by the head of the
   procurement entity and the items shall be disposed of as approved.
          (3) Where items become unserviceable far reasons other than fair wear and tear,
   such as through accident or expiry, a sit procedure established by the Board for handling
   lasses skull be followed before the items are boarded and disposed of.
   Disposal procedures
     84. Disposal of obsolete and surplus items shall be by
            (a) transfer to governmentdepartments or other public entities, with or without
                financial adjustment;
            (b) sale by public tender to the highest tenderer, subject to reserve price;.
            (c) sale by public auction, subject to a reserve price; ox
            (d) destruction, dumping, or burying as appropriate.
                          PART IX—MISCELLANEOUS PROVISIONS
    Instructions and guidelines far disposal of unserviceable stores
      85.(1)The Minister shall make furCher regulations on the dispasa! of unserviceable
    stores and obsolete equipment.
           (2)The Board shall issue detailed instructions and policy guidelines relating to the
    disposal of unserviceable stares and equipment.
    Code of conduct
       86. The Board shall compile and publish a code of conduct with the approval of the
    Minister which shall apply to every official of a procurement entity, the Board., nnembers
    ofTender Review Boards, as well as suppliers, contractors and consultants.
    Modifications
       87.(1)Except in cases of extreme urgency, where there will be an aggregate increase
    in the original amount of the contract by more than 10 percent of the original price, a
                                                                                          of
    procurement entity shall inform the appropriate Tender Review Boards in the case a
                                      the Tender  Review   Board  of  any  proposed extension ,
    contract subject to review by
    modification or variation order  with reasons.
            (2)In the case of contracts which are not originally subject to review by a Tender
    Review Board, .any proposed modification of contract which will make the revised
    contract price exceed the procurement method threshold or the threshold of the
    procurement entity shall be cleared with the appropriate Tender Review Board.
    Request for information by the Board
        88. Every procurement entity shall provide the Board with such information as the
     Board may require in writing, regarding procurement engaged in by the procurennent
     entity.
     Investigation by the Board




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           Act 663                          Public Procurement Act, 2003

              89.(1)The Board may appoint a person to conduct an investigation into any matter
           related to the conduct of procurement proceedings by a pxocuremEnt entity, or the
           conclusion or operation of a procurexrient contract i~' it considers that an investigation is
           necessary or desirable to prevent, or detect a contravention ofthis Act.
                  (2) An investigator may, subject to subsection (3),
'                    (a) at any time during normal office hours, without previous notice, enter the
                         premises of the procurement entity tenderer, supplier, contractor, ox
                          consultant concerned with the procurement proceedings under
                          investigation;
                     (b) require an officer, employee or agent ofthe procurement entity or tenderer,
                          supplier, contractor, or consultant to produce any books, records, accounts
                          or documents;
                     (c) search premises for any books, records, accaun~s or documents;
                     (d) examine and make extracts from and copies of books, records, accounts or
                          documents of the procurement entity, tenderer, supplier, contractor or
                          consultant;
                      (e) remove books, records, accoants or documents of the procurement entity,
                          tenderer, supplier, contractor or consultant fax as long as may be necessary
                          to examine them or make extracts from ar copies of them, but the
                                                                                                          or
                           investigator shall give a detailed receipt for the books, records, accounts
                           documents removed;
                                                                                                   tenderer,
                      (fl require an officex, employee or agent of the procurerment entity or
                           supplier, ar contractor or consultant,
                               (i) to explain an entry in the books, records, accounts or documents;
                               (ii) to provide the investigator with information concerning the
                                    management or activities of the procurement entity or tenderers as
                                    may be reasonably required.
                                                                                                  (c) of this
                   (3)The powers of entry and search conferred by subsection (2)(a) and
                                                                                             ment entity or
            section shall not be exercised except with the consent of the procure
                                                                                           i~ charge of the
            tenderer, supplier, contractor, ox consultant concerned or of the person
                                                     grounds   to believe  that it is necessa ry to exercise
             premises unless there are reasonable
                                                          ation  or detectio n of  an  offence  ar to obtain
             those powers for the prevention, investig
             evidence relating to an offence.
                                                                                                       in the
    .              (4) Any person who, without just cause, hinders or obstructs an investigator
                                                                                                   summar   y
             exercise of a function under this section commits an offence and is liable an
                                                                                                          not
             conviction to a fine not exceeding 500 penalty units ox a term of imprisonment
             exceeding two years ar to both.
             Pracedures•on completion of investigation
               $9.(1) An investigator shall
                       (a) forward a copy ofthe investigation report to the Board; and
               .     (h) send a surmmary of the findings and recommendations to the procurement
                         entity and to any tenderer,.supplier, contractor or consultant whose conduct
                          was the subject o~the investigation.
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   ~Ct 6~$                        Public Procurement Act, 2003

          (2)The Board shall, if satisfed that there has been a contravention of this Act or
   any other law in relation to procurement proceedings or procuxement contracts, take
   action to rectify the contravention which action~shall include
             (a) annulment ofthe procurement proceedings;
             (b) cancellation ofthe procurement"contract;
              (c) rati#'ication of anything done in relation to the proceedings; ar
              (d) a declaration consistent with any relevant provisions ofthis Act.
          (3)The Board shall'afford a~person adequate opportunity to make representations
   in a matter, before taking any action in terms of subsection (2) which may adversely
   affect the rights or property ofthat person.
    Statutory audits
      91,(1)The Auditor-General shall conduct annual audits of the procurement activities
    o£ entities and shall furnish copies ofreports on the audits ~tothe hoard upon request from
    the Board.
           (2)The A~iditar-General shall also carry .out specific audits into the procurennent
    activities of entities and compliance by contractors, suppliers and consultants with the
    procurement requiretrients in this Act and regulations made under this Act at the request
    ofthe Board.
           (3)The statutory audit of procurement activities may be relied upon by the Board
    to institute measures to improve the procurement system.
    Offences relating to procurement
                                                                                           and
      92.(1) Any person who contravenes any provision of this Act commits an offence
                                                                 person  is liable on summary
    where na penalty has been provided for the offence, the
                                                                                       ment not
    conviction to a fine not exceeding 1000 penalty units or a term of imprison
    exceeding five yeaxs or to both.
          (2)The fallowing shall also constitute offences under this Act:
             (a) entering or attempting to enter into a collusive agreement, whether
                 enforceable or not, with any other supplier or contractor where the prices
                 quoted in their respective tenders, proposals or quotations are ox would be
                  higher than would have been the case has there not been collusion between
                  the persons concerned;
             (b) directly or indirectly influencing in any manner or attempting to influence
                  in any manner the procurement process to obtain an unfair advantage in the
                  award of a procurerrient contract;
              (c) altering any procurement document with intent to influence the outcome of
                  a tender proceeding and this includes but is not limited to
                       (i) forged aritlunetical correction;
                      (ii) insertion of documents such as bid security or tax clearance
                           certificate which were not submitCed at bid opening; and
              (d) request for clarification in a manner not permitted under this Act.
     Corrapt Practices
       93.(1)Entities and participants 'in a procurement process sha11, in undertaking
     procurement activities, abide by the provisions ofarticle 284 ofthe Constitution.
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          (2) An act amounts to a corrupt practice if so construed within the meaning of
   corruption as defined in the Criminal Code, 1960(Aot 29).
   Review of threshold levels
     94. The ttireshald levels specified in Schedule 3 shall be reviewed by the Board and
   presented by the Minister for the approval ofParliament.          ,
   Public access to legal texts
     95. The Chief Executive of the Board shall ensure that administrative rulings and
   directives of general application under this Act are promptly made available to the public.
   International obligations
      9b. Notwithstanding tha extent of the application of this Act to procurement,
   procurement with international obligations arising from anygrant or concessionary loan
   to the gaverntnent shall be in accordance ~v✓ith the terms ofthe grant or loan,
    Regulations
       97.(1)The Minister, in consultation with the Board, may make regulations by
    legislative instrument to give effect to the purposes ofthis Act.
           (2)In furtherance of subsection (1), the Minister may make regulations
              (a) on the preparation and submission oftenders;
              (b) to provide for the manner of publication of the notice of procurement
                   contract awards;
               (c) on the margin of preference in the evaluation oftenders;
              (d) on the preparation and submission of applications to prequalify for a tendex;
               (e) an procurement proceedings on the basis of nationality;
               (~ on the procurement process where one entity or a specially appointed agent
                   is to procure items on behalfof another entity;
              (~ on the disposal of unserviceable stores and obsolete equipment;
               (h) to amend the schedules to this Act; and
               (i) on any other matter connected with public procurement.
           (3)Notwithstanding anything to the contrary in any enactment, a person who
     contravenes any regulation made under this Act is liable on summary conviction to a.fine
                                                                                             ar
     not exceeding 1000 penalty units or imprisonment for a term not exceeding five years
     to both.
    Interpretation
      98.In this Act unless the context otherwise requires,
             " Board" means the Public I'racuxement Board established under section 1 of
                  this Act;
              "Catastrophic event" means a disaster ofa national proportion;
              "central management ageincies" means the Public Services Commission, O£fice
                  ofthe President and Office Afthe Head of Civil Service;
            . "CEO" means chiefexecutive officer;
              "confirmer" in relation to security means a person who or a bank which
                  confirms letters ofcredit or bills;
              "consultancy services" means services which are of an intellectual and advisory
                  nature provided by firms ar individuals using their professional skills to
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   ACt 663 ~                   Public Procurement Act, 2Q03

              study, design and organise specific projects, advise clients, aanduct training
              or transfer krtawledge;
          "consultant" means a person, natural ar corporate, dealing in the provision of
              services including consultancy services;
          "currency" includes monetary unit ofaccount;
          "entity" means procurement entity;
          "a domestic supplier" means a citizen who is a supplier ox a corporate body
               with a majority shareholding owned by citizens which is a supplier;
           "goods" means objects of every kind and description including raw materials,
               products and equipment and objects in solid, liquid or gaseous form, and
               electricity, as well as services incidental to the supply of the ,goods if the
               value of those incidental services does not exceed that of the goods
               themselves;
          "governance institutions" includes Regional Co-ordinating Councils, Distirict
               Assemblies, Metropolitan and Municipal Assemblies;
           "head ofentity" means in relation to
                    (i) the central management agencies and Ministries, the sector
                         Minister;
                    (ii) subvented agencies, the Airector—General, Executive Director,
                         Secretary or ChiefExecutive;
                   (iii) the Regional Co-ordinating Coancils, the Regional Minister;
                   (iv) the District Assemblies,the District ChiefExecutive;
                    (v) State Owned Enterprises, the sector Minister;
           "key staff'means important professional staff but excludes support staff;
           "Least Cost Selection (LCS)" means a competitive method where quality and
              .cast are taken into account but the firm offexing the least cost is considered;
           "local content" means a product originating from Ghana;
           "Minister" means the Minister responsible for Finance;
           "national interest" means a condition where the nation attaches high value,
                returns, benefit and consideration to the matter in question;
           "national security", means a condition where security takes priority over
                economic consideration and efficiency;
           "one stop only" means .in relation to the operating threshold the procurement
                entity seeks, concurrent approval for a contract award from 'one tender
                review board only.
           "performance security" means ~a security guaranteeing the performance of a
                contract;
           "procurement contract" means a contract between the procuring entity and a
                supplier,.contractor or consultant resulting from procurement proceedings;
             "procuremer►t entity" means any entity conducting public procurement under
                this Act;
            "procurement unit" means the person or unit in the procurement entity that is
                 dedicated to providing technical procurement services ~ for the tender
                 committee;
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   ACt 6~3                      Public Procurement Act, 2p03

          "professional body" means a body comprising members of a profession which
               is registered under the Professional Bodies Registration Decree, 1973
               (N.R.C.D, 143)of under any other enactment;
          "public funds" include the Consolidated Fund, the Contingency Fund and such
               other public funds as may be established by Parliament;
          "Quality Cost Based Selection (QCBS)" means a competitive method of
                combining quality and cost of services in the selection of ~ firm taking into
                consideration
                     (a) the relative weight to ba given to quality and the cost to be
                         determined in each case depending on the nature ofthe assignment,
                    (b) the total score to be obtained by weighing the quality and the cost
                         score and adding them togethar, where the weight assigned to the
                         quality and price is determined by the xelative importance of quality
                         in the assignment;
           "security" means an amount to secure tha fulfillment of any obligation of a
                contractor, supplier or consultant, which may take the form of a financial
                deposit, a surety bond, ar an irrevocable letter ofcredit;
           "selection procedure where price is not a factor" means selection which is made
                 on technical quality only and where price is negotiated later;
           "service" means the furnishing of labour, time, ar effort not involving the
                 delivery of a specific end product other than reports, which are merely
                                                                                             ing,
                 incidental to the required performance; and includes consult
                 professional and technical services but does        not  include   employ  ment
                 agreements or collective bargaining agreements;
            "subvented agency" means an agency set up by Government to provide public
                                                                                              the
                 service and financed from .public funds allocated by Parliament in
                 annual appropriation;
                                                                                            to a
             "supplier or contractor" means any potential party or the party
                  procurement contract with the procuring entity;
            "technical services" means services which are tendered and contracted on the
                                                                                                 ,
                  basis of performance of a measurable physical output such as drilling
                  nnapping, aerial photography, surveys, seismic investigations   , mainten  ance
                  offacilities ox plant and similar operations;
                                                                                              for
            "Tender Committee" means the body within an entity with responsibility
                  planning, processing, and general     ly taking  procur  ement  decisio ns  and
                  ensuring compliance with the public procurement law, among others;
            "tenderer" means a person who puts in a bid in a procurement contract;
             "tender security" means security provided to the procurement entity to secure
                  the fulfiliraent of an obligation under this Act and includes arrangements
                  such as bank guarantees, surety bonds, stand-by letters of credit, cheques an
                  which a bank is prinnarily liable, cash deposits and bills ofexchange;
             "works" means work associated with the construction, reconstruction,
                   demolition, repair or renovation of a building ar structure ar surface and
                   includes site preparation, excavation, erection, assembly, installation of
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   AC's ~~3                        Public Procurement Act, 2003


                 plant, fixing of equipment and laying out of :materials, decoration and
                 finishing, and any incidental activity under a procurement contract.
   Repeal and savings
      99.(1)The following enactments are hereby revoked or repealed as appropriate:
             (a) The.District Tender Board Regulations, 1995 (L.I. 1606);
              (b) the Ghana National Procuret~ent Agency Decree, X976(S.M.C,D. SS); and
              (c) the Ghana Supply Commission Law, 19.90(P.N.D.C.~,. 245).
           (2)Notwithstanding the revocation and repeal of tha enactments stated in
   subsection (1), any contracts, orders, decisions or anything made. or done by a body
   which, until the coming into fora of this Act, was charged with the performance of any
   of the functions under thisc-Act shall, be valid and continue to be in force as ifit was trade
   or done under this Act..
           (3) Where in the view of the Board the continued validity of an act under
   subsection (2) is inconsistent with this Act, the Board may take the appropriate decision
   to rectify the inconsistency to the extant consistent with this Act.
           (~)Notwithstanding the coming into force of this Act, Tender Boards, and
    Committees which immediately befoxe the coming into force of this Act performed the
    functions of Award Authorities as envisaged under this Act shall continue in existence
    until they are reconstituted or otherwise replaced under this Act.
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    12egaest for quotations
      42. A procurement entity may engage in procurement by requesting quotations in
    accordance with section 43,
              (a) for readily available goods or technical services that are not specially
                  produced or provided to the particular specifications of the procurement
                  entity; and
              (b) for goods where there is an established market if the estimated value of the
                  procurement contract is less than the amount in Schedule 3.
    Procedure for request for quotation
       43.(1) The procurement entity sha11 request quotations from as many suppliers ar
    contractors as practicable, but from at least three different sources.
           (2)Each supplier or contractor from wham a quotation is requested shall be
    informed whether any elements, apart from the charges for the goods or services
    themselves, such as transportation and insurance charges, customs duties and ta~css, are to
    be included in the price.
           (3)Each supplier or contractor shall only give one price quotation and shall not
    ohange its quotation;
           (4)No negotiations shall take place between the procurement entity and a suppliex
     ox contractor with respect to a quotation submitted by the supplier or contractor, pxior to
     evaluation of bids,

                              PART V-TENDERING PROCEDURES

                Sub-PartI—Invitation ofTenders and Applications to Prequalify
    National campetiti~~e tendering
      44.(1)In procurement proceedings in which the procurement entity decides that only
                                                                                      shall
    domestic suppliers or contractoxs may submit tenders, the procurement entity
    employ national competitive tendering procedures.
          (2)The procurement entity is not required to employ the procedures set out in
    sections 47 and 48 of this Act if the estimated contract amount is lower than the value
    threshold spedified in Schedule 3.
          (3)The procurement entity may stipulate in the tender documents that tenderers
                                                                                       local
    must quote only in the local currency and payments must be made wholly in the
     currency.
     International competitive tendering                                '
       4S.(1)International competitive tendering       shall be used whenever   open competitive
     tendering is used and effective competition cannot be abtained      unless foreign firms are
     invited to tender.
            (2) Open international tendering sha11 be in accordance with Part IV and Part V of
     this Act and the following shall also apply:
               (a) the invitation to tender and tender documents must be in English, Subject to
                    sections 34 and 52;
               (b) the invitation to tender shall be placed in a newspaper with adequate
                    circulation to attract foreign competition as provided under section 47;




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             (c) at least six weeks shall be allowed for submission of tenders in order to
                 allow sufficient tuna for the invitation to reach candidates and to enable
                 them to prepare and submit the tendexs as provided in section 53;
             (d) technical specifications shall, to tha extent compatible with national
                 requirements, be based on international standards ox standards widely used
                 in international trade and in particular shall conform to the provisions of
                 sections 33 and SO(3);
             (e) tendarers are permitted to express their tenders, as well as any security
                 documents to be presented by them, in freely convertible aurrenay and
                 stated in the tender documents, subject to section 50(3) and section
                 55(2)(c); and
             (fl general and special conditions of contract as stated in the tender documents,
    Other international procedures
       46. Part IV and Part V shall apply with such modification as may be necessary
    whenever effective competition cannot be obtained unless foreign firms are invited to
                                                                                              as
    participate in procedures apart from open competitive international tendering such
    selective tendering or invitation £or proposal s.
    Procedures for inviting tenders or applications to prequalify
       47,(1) A procurement entity shall invite tenders ox, where applicable, applications to
    prequalify by causing an invitation to tender or an invitation to prequalify, to be
    published in the Procurement Bulletin.
            (2)The invitation to tender or invitation to prequalify shall also be published in at
    least two newspapers of wide national circulation.
            (3)The invitation may also be published in a newspaper of wide international
                                                                                         of wide
    circulation, in a relevant trade publication or technical car professional journal
     international circulation,
     Contents of invitation to tender and invitation to prequalify
        48,(1)The invitation to tender shall contain the following information:
               (a) the name and address ofthe procurement entity;
               (b) the nature, quantity and place of delivery of the goads to be supplied, the
                    country of origin, the nature and location of the works to be effected or the
                    nature of the technical services, and the location where they arc to be
                    provided;
               (c) the desired ar required time far the supply of the goods or for the
                    completion ofthe works, or the timetable for the provision ofthe services;
               (d) the criteria and procedures to be used to evaluate the qualifications Qf
                    suppliers or contractors, in conformity with section 23;
               (e) a declaration, which may not be subsequently altered that suppliers ar
                    contractors may participate in the procurement proceedings regardless of
                    nationality, or a declaration that participation is limited on the basis of
                     nationality under section 25;
               (~ the means of obtaining the invitation documents and the place from where
                     they may be obtained;
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             (g) the price, i~ any, charged by the procurement entity for the invitation
                  documents;
             (h) the currency and means of payment for the invitation documents;
             (i) the language in which the invitation docunnen~s are available;
             (j) the place and daadtine for the submission oftenders;
             (/c) the place, date and time for the opening of bids; and
             (l) any other information considered relevant.
          (2) An Invitation to prequalify shall contain the information referred to in
    subsection (1)(a) to (e),(~,(h) and, ifthe infornnatian required under those paragraphs is
    already known, contain the information required under subsection (1) (j), ~s well as the
    fallowing information
             (a) the means to obtain the pre-qualification documents and the place from
                  whexe they. can be obtained;
             (b) the price chaxged by the procurement entity for the pre-qualification
                  documents;
             (c) the currency and terms pf payment far the pre-qualification documents;
              (d) the language in which the pre-qualification documents are available;
              (e) the place and deadline for the submission of applications to prequalify and
                   the tune allowed for the preparation of pre-qualification applications shall
                   not be less than four weeks.
    Provision of tender documents
       49.(1)The procurement entity shall provide the tender documents to suppliers or
                                                                                                n
    contractors in accordance with the procedures and requirements specified in the invitatio
    to tender.
           (2)Ifpre-qualification proceedings have tatcen place, the procurement entity shall
                                                                                             been
    provide a set of tender documents to each supplier or contractor that has
    pxequalified and that pays the price charged for those documents.
           (3)The price that the procurement entity may charge for the tender documents
    shall reflect the cost of printing them. and providing them to suppliers or contractors.
     Contents of tender documents and ase of standard tender documents
                                                                                               ts
        S0.(1)Procurement entities shall use the appropriate standat`d tender documen
     stipulated in Schedule 4 with such minimum changes acceptable to the Board.
            (2)Changes shall be introduced only through tender or contract data sheets, or
     through special conditions of contract and not by introducing changes in the standard
     tender documents.
            (3)The invitation documents shall include,
               (a) instructions for preparing tenders;
               (b) the criteria and procedures, in conformity with the provisions of section 22,
                    for the evaluation ofthe qualifications ofsuppliers or contractors;
               (c) the requirements an additional documentary evidence or other information
                    that is to be submitted by suppliers or contractors to demonstrate their
                    qualifications;
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          (d) the nature and required technical and quality characteristics, in relation to
               the goods, works ar technical .services to be procured under section 33
               including, but not limited to,
                    (i) technical specifications, plates, drawings and designs,
                    (ii) the quantity ofthe goods;
                    (iii) any incidental services to be performed;
                    (iv) the location where the works is to be effected or the services are to
                          be provided; and
                    (v) the desired or 'required time, if any when the goods are to be
                          delivered, the construction is to be effected or the services axe to be
                          provided;
          (e) the criteria to be used by the procurement entity to determine the successful
               tender, including any margin of preference and any criteria other than price
               to be used under section 59(4)(b)(c) ar (d) and the factors apart from price
               to be used to determine the lowest evaluated bid, shall, to the extent
                practicable; be expressed-in rzipnetary terms, or given a relative weight in
                the evaluation provisions in the tender documents;
           (fl the terms and conditions of the procurement contract and the~contract form
                to be signed by the parties;
          (~ a statement that the characteristics of the goods, works or services,
                contractual terms and, conditions or other requixements set out in the
                invitation documents are permitted, and a description of the manner in
                which alternative tenders are to be evaluated and compared;
           (h) a description of the portion or portions for which tenders may be submitted
                where suppliers or contractors are permitted to submit tenders for only a
                 portion ofthe goods, works or services to be procured;
           (z) the manner in which the tender price is to be formulated and expressed,
                 including a statement whether the price covers elements apart .from the
                 goods, works or services, such as applicable transportation and insurance
                 charges, customs duties and taxes;
            (j) the currency or currencies in which the tender pxice is to be formulated and
                 expressed;
            (k) the language in conformity with section 52, in which tenders are to be
                 prepared;
            (l) any requirements of
                     (i) the ~ procurement entity connected with the issue, natuxe, farm,
                           amount and other principal terms and conditions of tender security
                           to be provided by suppliers or contractors submitting tenders;and
                     (ii) security for the performance of the procurement contract to be
                           provided by a supplier or contractor that enters into the
                           procurement contract, including .securities such as labour and
                           materials bonds;
            (m)a statement that a supplier or contractor can modify ar withdraw its tender
                  prior to the deadline for the. submission of tenders without forfeiting its
                  tender security;                                                          .
             (n) the manner, place and deadline far the submission      of tenders;
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                 (o).the means by which suppliers or contractors may seek clarification of the
                     invitation documents and a statement whether the- procurement entity
                     intends to convene a meeting ofsuppliers or contractors;
                 (p) the period oftime during which tenders will be in effect;
                 (c~ the place, date and time for the opening oftenders;
                 (r) the procedures to be followed for opening and examining tenders;
c
                 (s) the currency that. will be used to evaluate and ~cgznpare tenders under
                      section S8 and either the exchange .rate that will be used for the conversion
                  ' of tenders into that currency or a statement that the rate published by a
                      specified financial institution prevailing on a specified date will be used',
                 (t) references to this Act, the procurement regulations and other Acts and
                      regulations relevant to the procurement proceedings, but the omission ofthe
                      reference shall not constitute grounds for review under Part VII or give rise'
                      to liability an the part ofthe procurement entity;
                 (u) the name, functional title and address of one or more officers or employees            .
                      of the procurement entity who are authorised to communicate directly with
                      and to receive communications directly from a supplier ox contractor in
                      connection with the procurement proceedings, without the intervention of
                       an intermediary;
                  (v) any commitments to be made by the supplier or contractor outside the
                       procurement contract,.such as commitments relating to countertrade or to
                      the transfer oftechnology;
                  (w)a statement of the right to seek review of an unlawful act or decision af, or
                       procedure followed by the procurement entity in relation ~o the procurement
                       proceedings;
                                                                                                       to
                  (x) the procurement entity reserves the right to reject tenders, a statement
                       if
                       that effect;
                                                                                                    fox a
                  (y) any formalities that will be required once a tender has been accepted,
                       procurement contract to enter     into force, 'includi ng, where  applicab le, the
                       execution of a written procure         ment  contxact    and   approva  l by   the
                       Government and the estimated period      of time  followin  g the despatch  of the
                       notice of acceptance that will be required  to  obtain  the approval ; and
                   (z) any other requirements established by the procurement entity under this Act
                       and Regulations relating to the preparation and submission oftenders and to
                        other aspects ofthe procurement proceedings.
         Clarifications and madi~cations of tender documents
           51.(1) A supplier ar contractor may request promptly clari~catian of the
         tender dacumet~ts from the prpourement entity.
                         (2)The procurement entity shall respond to a request by a supplier or
                                                                                                 to
         contractor ~yvithin a reasonable time before the deadline fox the submission of tenders
         enable the supplier ar contractor make a timely submission of its tender and shall without
         disclasing~ the source of the request communicate the clarification to the suppliers or
         contractors provided with the invitation documents.
                (3)The procurement entity may modify the invitation documents by issuing an
         addendum prior to the deadline for submission oftenders.
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           (4)The addendum shall be communicated promptly to the suppliers or contractors
    provided with the invitation documents by the procurement entity and shall be binding on
    those suppliers or contractors.
           (S)The procurement entity may convene a meeting ofsuppliers and contractors to
    clarify and modify tender documents and shall' prepare minutes of any previous meeting
    concerned with clarification of the invitation documents without identifying the sources
    of the requests.
           (6)The minutes shall be given promptly to the suppliers- and contractors provided
    with the invitation documents by the procurement entity to enable them take the minutes
    into account in the preparation oftheir tenders.
                                Sub-Part XI—Submission ofTenders
    Language of tenders
      52.(1)Tenders shall. be formulated and submitted in English,
          (2) Supporting documents and printed literature furnished by the tenderer may be
    in another language if they are aecorapanied by an accurate translation of the relevant
    passages in English.
          (3) Where there is a translation, the translation shall be used to interpret the tender.
    Submission a~'tendars
       S3,(1)The procurement entity shall,
              (a) ~x the place for, anc~ a specific date and time as the deadline for the
                  submission oftenders; and
              (6) allow tenderers at least six weeks to prepare their tenders for international
                  competitive tendering.
           (2)The time fax preparation of tenders under national competitive tendering
    procedures shall not exceed faux weeks,
           (3)If a procurement entity issues claxification or modification documents or if a .
    meeting of tenderers is held, the procurement entity shall prior to the expiry of the
    deadline far the- submission of tenders extend the deadline to give the suppliers and
    contractors reasonable time to take the clarification ar nnodification, or the rr►inutes ofthe
     meeting into account in their tenders. -
            (4)The procurement entity may, prior to the expiry of daadlit~e for the submission
     oftenders, extend the deadline.
            (5)The procurement entity shall, at least ten days before the expiry of the
     deadline, give notice of an extension ofthe deadlina by fad e-mail or any other expedited
     written means of communication to each supplier or contractor to whom the procurement
     entity provided the tender documents or to any new prospective tenderers,
            (6) A tender shall be in writing, signed and be submitted in a sealed envelope.
            (7) A tender may alternatively bs submitted in any other form specified in the
     tender documents that provides a record ofthe contents of the tender and a similar degree
     of authenticity, security and confidentiality.
            (8)The procurement entity shall provide the tenderer with a receipt showing the
     date and time when its tender was received.
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           (9) A tender received by the procurement entity after the deadline for the
    submission of tenders shall not be .opened and shall be returned to the supplier or
    contractor which submitted it.
    Period of validity of tenders; modification and `withdrawal of tenders
       ~4.(1)The period of validity for a tender shall be the period"specified in the tender
    documents.
           (2)A procurement entity may request suppliers or contractors to extend the period
    of validiTy for an additional specified period oftime.
           (3} A supplier or -contractor may refuse the request without forfeiting its tender
    security and the effectiveness of .its tender will terminate upon the expiry of the
    unextended period ofeffectiveness.
           (4) A supplier or contractor that agrees to an extension of the period ~~of
    effectiveness of its tenders shall extend or procure an extension of the period of tender
    securities provided by it or provide new tender securities to cover the extended period of
    effectiveness ofits tender.
           (5) A supplier ox contractor whose tender security is not extended ox that has not
     provided a new tender security is considered to have refused the request to extend the
     period of effectiveness of its tender,
           (6)A supplier or contractor may modify or withdxaw its tender prior to the
     deadline for the submission of tendexs without forfeiting its tender security unless
     otherwise_ stipulated in the tender documents.
            (7)The modification or notice of withdrawal is effective if it is received by the
     procurement entity before the deadline fox the submission oftenders:
    Tender Securities
      S5.(1)The procurement entity shall specify the principal terms and conditions of the
    required tender security in the invitation documents.
          (2) When the procurement entity requires suppliers or contractors submitting
    tenders to provide tender security,
              (a) the requirement shall apply to each supplier. or contractor;
              (b) the invitation documents shall stipulate that the issuer and confirmer of the
                  tender security are. acceptable to the procurement entity;
              (c) notwithstanding paragraph (b), a tender security shall not be rejected by the
                  procurement entity an the grounds that the tender security was not issued by
                  a~ issuer in the country, if the tender security and the issuer otherwise
                  conform to requirements in the invitation documents;
              (d) a supplier ox contractor may request the procurement entity to confirm the
                  acceptability of a proposed issuer or a proposed con~rmer of a tender
                  security before submitting.a tender and the procurennent entity shall respond
                  promptly to the request;
              (e) confirmation of the acceptability of a proposed issuer or of a proposed
                  canfirmer.does got preclude the procurement entity from. rejecting the
                  tender security on the ground that the issuer or confirmer has become
                  insolvent or is otherwise not creditworthy.
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           (3) Any requirement on tender security that refers directly or indirectly to conduct
    by the supplier or contractor submitting the tender may only relate to
              (a) withdrawal or modification of the tender after the deadline for submission
                  oftenders, ox before the deadline if stipulated in the invitation documents;
              (b) failure to sign the procurement contract if required by the procurement
                  entity to da so;
              (c) failure to provide a required security for the performance of the contract
                   after the tender has been accepted or to comply with any other condition
                   precedent to signing the procurement contract specified in the tender
                   documents.
           (~) The   procurement entity shall not make a claim to the amount of the tender
    security and  shall  promptly return or procure the return of the tender seourity document
    after whichever the following occurs first
                      of                                                     .
              (a) the expiry of  the tender security;
              (b) the entry into force of a procurement contract and the provision of security
                   for the performance of the contract, if the security is required by the
                   invitation documents;
              (c) the termination of the tendering proceedings without the entry into force of
                   a procurement contract; or
              (d) the withdrawal of the tender prior to the deadline for the submission of
                   tenders.
                        Sub-Part III—Evaluation and Comparison ofTenders
    Opening of tenders
      S6.(1)Tenders shall be opened
              (a) at the time specified in the tender documents as the deadline for the
                  submission of tenders or at the deadline specified in any extension of the
                  deadline; and
              (b) at the place and in accordance with the procedures specified in the tender
                  documents.
           {2) The time for opening of the tenders shall be the same as the deadline for
    receipt oftenders or promptly after that deadline.
          (3) A supplier or contractor who has submitted a tender ar a representative ofthat
    supplier or contractor, shall be permitted by the procurement entity to be present at the
    opening oftenders.
           (4)The name and address of each supplier or contractor whose tender is opened
    and the tender price shall be announced to those present at the opening of tenders and
    communicated on request to a supplier or contractor who has submitted a tender but is
    not present or represented at the opening ofthe tenders.
           (5)The tender price shall be recorded' immediately in the record of tendering
    proceedings.
     Examination of tenders
       57.(1)The procurement entity may ask a supplier or a contractor far clarification of its
     tender in order to assist in the examination, evaluation and comparison oftenders.
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          (2)No change in a matter of substance in the tender, including changes in price
    and changes aimed at making an unresponsive tender responsive, shall be sought, offered
    or permitted.
          (3)Notwithstanding subsection (2), the procurement~~entity shall correct purely
    arithmetical errors that are discovered during the examination oftenders.
           (4)The procurement entity shall give prompt notice of the correction to tlae
    supplier or contractor that submitted the tender.
    Responsiveness of tenders
       S8.(1) A procurement entity shall regard a tender as responsive if it conforms to the
    requirements set out in the tender invitation documents,
           (2) The procurement entity may, however, regard a tender .as responsive if it
    contains rninar deviations that da not materially alter or depart from the characteristics,
    terms, conditions and other requirements set out in the invitation documents or if it
    contains errors or oversights that are capable of being corrected without touching on the
    substance ofthe tender.
           (3)The deviations shall be quantified, to the extent possible, and shall be taken
    into,account in the evaluation and comparison offenders.
           (4) A procurement entity shall not accept a tender
              (a) ifthe supplier or contractor that submitted the tender is not qualified;
              (b) if the tenderer that submitted the tender does not accept a correction of an
                  arithmetical error made under subsectian(1)(b);
              (c) ifthe tender is not responsive;
              (d) in the circumstances referred to in section 32 with respect to inducement
                  from a tenderex.
    Evaluation of tenders
       S9.(1)The procurement entity shall evaluate anal compare the tenders that have been
    accepted in order to ascertain the successful tender in accordance_ with the procedures and
    criteria set out in the invitation documents.
           (2)No criterion shall be used that has not been set out in the invitation documents.
           (3)The successful tender shall be;
               (a) the,tender with the lowest evaluated tender price; and
               (b) the lowest evaluated tender ascertained on the basis of criteria specified in
                   the invitation documents which shall be
                         (i) objective and quantifiable; and                  .
                        (ii) given  relative weight  in the evaluation procedure or expressed in
                             monetary terms where practicable if the procurement entity has so
                             stipulated in the invitation documents.
           (4)To determine the lowest evaluated tender, the procurement entity shall
    consider
               (a) the tender price, subject to any margin of preference applied under section
                    60(2);
               (h) the cost of operating, maintaining and repairing the goods or works, the
                    time for delivery of the goods, completion of works ar provisions of the
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                 services, the functional characteristics of the goods or works, the terms of
                 payment and ofguarantees in respect ofthe goods, works or services;
             (c) the effect the acceptance ofthe tender will have on
                      (i) the balance of payments position and foreign exchange reserves of
                           tha country;
                      (ii) the countertrade arrangements offered by suppliers ar contractors;
                     (iii) the extent of local content, including manufacturer, labour and
                           materials, in foods, works or services being offered by suppliers or
                           aantractors;
                      (iv)the econpmic-development potential offered by tenders,. including
                           domestic investment or other business activity;
                      (v) the encouragement of employment, the reservation of certain
                           production for domestic suppliers;
                      (vi)the transfer oftechnology;
                     (vii)the development of managerial, scientific and operational skills;
                           and
             (d) national security considerations.
    Margin of preference
      60.(1)A procurement entity may grant a margin of preference fox the benefit of
    tenders for work by domestic contractors or far the benefit of tenders fox domestically
    produced goods ox for the benefit ofdomestic suppliers ofservices.
           (2)The margin of preference shall be calculated in accordance with the
    procurement regulations and reflected in the record ofthe procurement proceedings;
           (3)The margin of preference shall be authorised by the Board and be subject to
    approval by the Soard.
    Maltiple currency tender priees
       61. When tender prices are expressed in two or more currencies, the tender prices of
    the total number of tenders shall be converted to the same currency according to the rate
    speaifiad in the invitation documents for the evaluation and comparison tenders.
     Repeat tender qualifications
       62.(1)The ~ procurement entity tray require the supplier or contractor which is the
     successful tenderer, to demonstrate its qualifications again, whether ox not it has engaged
     in pre-qualification proceedings in accordanas with criteria and,procedures that conform
     to section 23 on prequalification proceedings.
            (2)The criteria and procedures to be used for the further demonstration shall be set
     out in the tender documents.
            (3)'VVlaere pre-qualification proceedings have been used, the criteria for further
     demonstration shall be the same as those used in the pre-qualification proceedings.
            (A)If tenderers have not been pre-qualified, the entity shall determine whether the
     selected tenderer has the capacity to perform the contract effectively.
            (5)The criteria to be met shall be specified in the tender documents and if tha
     selected tender is rejected, the procurement entity shall nnake a similar determination of
     the next ranked best evaluated tender.
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          (6)If the supplier or contractor submitting the successful tender is requested to
   demonstrate its qualifications again but fails to do so, the procurement entity shall reject
   that tender and shall select a successful tenderer, in accordance with section S9(4) froth
   among the remaining tenders, subject to the right of the procurement entity to reject the
   remaining tenders.
   Non-disclosure of tender evaluation details
       63. Information relating to the examination, clarification, evaluation and comparison of
   tenders shall not be disclosed to suppliers ax contractors ar to any other person not
                                                                                                   in the
   involved officially in the examination, evalnatia~ or comparison of tenders or
   decision an which tender should be accepte         d, except  as provide   d in section     28  on  the
   record of procurement proceedings.
   Prohibition of negotiations with suppliers or contractors
       64,(1) Subject.ta the exception in this section, no negotiations shall take place between
                                                                                                    ed by
   the procurement entity and a supplier or contactor with respect to a tender submitt
   the supplier or contractor.
                                                                                                      t by
            (2)If tha lowest evaluated responsive tender exceeds the budget fox the contrac
                                                                    ate  the causes  for   the  excessi ve
    a substantial margin, the procurement entity shall investig
    cost and may
               (a) consider requesting new tenders; or
                                                                                                         es
               .(b) subject to approval by the relevant Tender Review Board and guidelin
                                                                            lowest  evaluat    ed tendere r
                    issued by that Board, negotiate a contract with the
                    to try to obtain a satisfactory contract.
                                                                                  t
    Acceptance of tender and entry into force of procurement contrac
                                     been  ascertai ned to be  the successf  ul tender    in accordance
        6S.(1) A tender that has
                                                                                tender shall be given
    with this Act shall be accepted and notice of acceptance of the
                                                                                      or submitting the
     within 30 days ofthe acceptance ofthe tender to the supplier or contract
    tender.
                                                                                       or whose tender
             (2) Where the tender documents require the supplier ax contract
                                                                                     to  the tender, the.
     has been aecep'ted to sign a written procurement contract conforming
                                                                                            ment contract
     procurement entity and the supplier or contractor shall sign the procure
                                                                                    hed the supplier
                                                                                          to
     within 30 days after the notice referred to in subsection (1) is despatc
     or contractor.
             (~) Wh~sre a written procurement contract is required to be signed, the contract
                                                                                        .
     shall enter into force on the commencement date indicated on the contract
                                                                                             or contractor
             (~) Between the time when the notice is despatched to the supplier
                                                                                          ment entity nor
     and the entry into force of the procurement contract, neither the procure
                                                  action  that interfer es with the  entry    into force of
     the supplier or contractor shall take any
     the procuremenfi contract or with its performance.
                                                                                                        nce
             (5)Except as provided in subsection (2), a procurement contract in accorda
                                                                                              the notice is
      with the terms and conditions of the accepted tender enters into force when
                                                                                                  hed while
      despatched to the supplied or contractor that submitted the tender, if it is despatc
      the tender is in force.
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         (6)The notice is despatched when it is properly addressed or otherwise directed
   and transmitted to the supplier or contractor or conveyed t~ an appropriate authority far
   transmission to the supplier or contractor in a manner authorised in section 26.
         (7)If the supplier ox contractor whose tender has been accepted fails,to sign a
   written procurement contract within 30 working days of receipt of the notice of
   acceptance ar fails to provide the required security for the performance of the contract,
   the procurement entity shall select a successful tender in accordance with section .59(3)
   from among the remaining tenders that are in ~ force, subject to. the right of~ the
   procurement entity to reject the remaining tenders:
         (8)The notice provided far in subsection (1).shall be given to the supplier or
   contractor that submitted the successful tender:
          (9)A procurement entity shall give notice of the procurement contract in writing
   to unsuccessful suppliers and contractors and the notice shall
             (a) specify the name and address of the successful supplier or contractor who
                 has entered into the contract and the contract price;
             (b) be given ai~er the commencement of the pracuretnent contract and may
                 include the provision by the supplier or contractor of security for the
                 performance ofthe contract;                                      .
             (c) for contracts above the threshold in Schedule 3, be published in the
                 Procurement Bulletin which shall disclose the names offirms ar individuals
                 awarded contracts, the start and completion dates, as well as the value of
                 the contracts.
           PART VI—A'i~THpDS A3VD PROCE)7URES TO PROCURE CONSUL,TAIVTS
    Notice ofinvitation of expressions of interest and preparation of shortlists
      66.(1) A procurement entity shall invite consulting services by causing a notice
    seeking expression of interest in submitting a proposal to be published in the Public
    Procurement Bulletin for consultancy contracts above the threshold in Schedule 3.
         (2} The notice shall,
             (a) contain the name and address of the procurement entity and a brief
                 description ofthe services to be procured; and
             (b) be published in English and in a newspaper of wide circulation or in a
                 relevant trade or professional publication of wide circulation except where
                 participation is limited solely to national consultants under section 44(1)or
                 where the procurement entity decides that only. national consultants may
                 submit proposals.
         (3} Where direct invitation is necessary for economic and efficiency reasons, the
                                                                                               n
    procurement entity with the approval ofthe Board may apply the provisions ofsubsectio
    (1)and (2) where
             (a) the services to be procured are available only from a limited number of
                 consultants, if it invites expressions ofinterest from all these consultants;
             (b) the time and cost required to examine and evaluate a large number of
                  expressions of interest would be disproportionate to the value of the
                  services to be performed, if it invites proposals from enough consultants to
                  ensure effective competition; or
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                                SCHEDULE 1
                                 (Section 17)
                      ENTITY TENDER COlVI1ViITTEES
   1, Tender Committee for Central Management Agent/ Ministry/Sabuented

     (1) Chairperson       A Minister, Chief Executive Officer or Head of Agency
          .                    to be appointed by the President
     (2) Members           (a) head offinance or head ofaccounts division;
                           (G) a representative of the Ministry. of Justice not below
                               Chief State Attorney;
                           (c) three  other heads of division or department one of
                               whom represents a user department or division.
                           (d) two members of Parliament from the region, one
                               appointed by the Minister and. the. other chosen by
                               the Regional Caucus of Members ofParliament.
      (3)~ Secretary        The officer heading the procurement unit or department
      (4) Quoram            The quorum of the Tender Coxnrnittee shall be five
                                members, including the chairperson and members
                                shall not delegate their responsibility to any other
                                person.
      (5) Voting                Decisions shall be made by simple nnajority and the
                                chairperson shall have a casting vote.
      (6) Functions         The Committee shall
                            (a) review procurement plans in order to ensure that
                                they support the objectives and operations of the
                                 entity;
                            (b) confirm the range of acceptable costs of items to be
                                 procured and match these with the available funds in
                                 the entity's approved budget,
                            (c) review the schedules of procuxement and
                                 specifications and also ensure that the procurement
                                 procedures to be followed are in strict conformity
                                 with the provisions of this Act, its operating
                                 regulations and guidelines;
                            (d) ensure that the necessary concurrent approval is
                                 secured from the relevant Tender Review Board, in
                                 terms of the applicable threshold in Schedule 3 of
                                 this Act, prior to the award ofthe contract;
                             (e) facilitate contract administration and ensure
                                  compliance with all reporting requirements under
                                  this Act; and




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                                 (f} ensure that stares and equipment are     disposed of
                                     in.compliance with this Act.
   2. Tender Committee for Re Tonal Co-ordinatin~ Council
     (1) Chairperson ~         The Regional Minister
     (2) Members        ~      (a) the Director ofFinance; and
                             . (G) a representative of the Ministry of Justice not below
                                    Senior State Attorney;
                               (c) four heads of Departments, one of whom represents
                                    the user department/agericy.
     (3) pViernber Secretary   The Regional Co-ordinating Director
     (4) Quorum                The quorum o£ the Tender. Committee shall be four
                                    members, including the chairperson and members
                                    shall not delegate their responsibility to any other
                                    person
     (5) Voting                 Decisions shall be made b~ simple majority and .the
                                    chairperson shall have a casting vote.
     (6) Functions                The Committee shall
                                  (a) review procurement plans in order to ensure that
                                       they support the policies and programmes of the
                                       Regional Administration or District, Metropolitan or
                                       Municipal Assembly;
                                  (6) aon~rm the range of acceptable costs of items to be
                                       procured and match these with the available funds in
                                       the approved budget of the Regional Administration
                                       or District, Metropolitan or Municipal Assembly;
                                  (c) review the schedules of procurement and
                                       specifications and also ensure that the procurement
                                        procedures to be followed are in strict conformity
                                        with the praviszons of this Act, its operating
                                        regulations and guidelines;
                                  (d) ensure that the necessary concurrent approval is
                                        secured from the relevant Tender Review Board, in
                                        terms of the applicable threshold in Schedule ,3 of
                                        this Act, prior to the award ofthe contract;
                                   (e) facilitate contract administration and ensure
                                        compliance with all reporting requirements under
                                        this Act; and
                                   (fl ensure that stores and equipment are disposed of in
                                        compliance with this Act,
    3. IVIetropolitan/Mnnicipal/l)istriet"Terider Committee                      ..
      (1) Chairperson               the Metropolitan, Municipal or District ChiefExecutive
      (2) Members                  (a) the Director ofFinance;
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                                (b) a lawyer appointed by the Metrapalitan, Municipal
                                     or District Assembly;
                                (c) one Member ofParliament; and
                                (dJ three heads of Departments ane of whom represents
                                     the user department or agency.
     (3) A~tember Secretary      Co-ordinating Director
     (4) Quorum                 The quorum of the Tender Committee shall be four
                                     members, including the chairperson and members
                                     shall not delegate their responsibility to any other
                                     person.
     (5) Voting                  Decisions shall be made by simple majority and the
                                     chairperson shall have a casting vote.
     (6) Functions               The Committee shall
                                 (a) review procurement plans in order to ensure that
                                      they support the policies and programmes- of the
                                      Assembly;
                                 (b) confirm the range of acceptable costs of items to be
                                      procured and snatch these with the available funds in
                                      the approved budget ofthe Assembly;
                                 (c) review the schedules of procurement and
                                      specifications and also ensure that the procurement
                                      procedures to be followed are in strict conformity
                                      with the provisions of this Act, its operating
                                      regulations and guidelines;
                                 (d) ensure that the necessary approval is secured from
                                      the relevant Tender Review Baard, in terms of the
                                       applicable threshold in Schedule 3 of this Act, prior
                                       to the award ofthe contract;
                                  (e) facilitate contract administration and ensure
                                       compliance with all xeporting requirements under
                                       this Act;
                                  (f} ensure that stores and equipment are disposed of in
                                       compliance with this Act.
    4. State Enterprises Tender Committee
      (1) Chairperson .          the sector Minister or Chairman ofthe Board
      (2) Members                (a) the ChiefExecutive;
                                 (b) the Financial Controller;
                                 (c) the head of Technical Services;
                                 (d) representative of the Ministry of Justice not below
                                      Senior State Attorney;
                                 (e) two members ofthe Board; and
                                 (f) three ~ heads of Deparhnents appointed. by tfie
                                      Minister.
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     (3) Secretary                the head of procurement
     (4) Quorum                   Five
     (S) Voting                   Decisions shall be by simple ~ majority and the
                                       chairperson shall have a casting vote.
     (6) FunEtions                The Committee shall
                                  (a) review procurement plans in order to ensure that
                                       they support the objectives and operations of the
                                       Entity;
                                  (b) confirm the range of acceptable costs of items to be
                                       procured and match these with the available funds in
                                       the entity's approved budget;
                                  (c) review the schedules of procurement and
                                       specifications and also ensure that the procurement
                                        procedures to be followed are in strict conformity
                                        with the provisions of this Act, its operating
                                        regulations and guidelines;
                                  (d) ensure that the necessary concurrent approval is
                                        secured from the relevant Tender Review Board, in
                                        tertrzs of the applicable threshold in Schedule 3 of
                                        this Act, prior to the award ofthe contract.
                                   (e) facilitate contract administration and ensure
                                        compliance with ~Il reporting requirements under.
                                        this Act; and
                                   (fl ensure~that stores and equipment are disposed of in
                                        compliance with this Act.
    5. Tertiary„Institutions Tender Committee
      (1).Chairperson             Chairperson ofCouncil
      (2) Members                 (a) the Registrar;
                                  (b) the Finance Officer;
                                  (c) a lawyer appointed by the Council;
                                  (d) one member nominated by the Development
                                       Committee;
                                  (e) one member appointed by the Ministry ofEducation;
                                  (~ one member appointed by the National Council an
                                       Tertiary Education(NCTE);
                                  (~ one ~ representative of the students' Representative
                                       Council(SRC); and
                                  (h) one representative from an association of university
                                       teachers.
      (3) Secretary                the Senior Assistant Registrar with responsibility far the
                                        General Services schedule
      (4) Quorum                    Five
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     (5) Voting                      Decisions shall be by simple majority_ and the
                                          chairperson shall have a casting vote.
     (6) Functions            ~    ~ The Committee shall
                                     (a) review procurement plans in order to 'ensure that
                                          they support the objectives and operations of the
                                          Institution, Faculty; Departrr~ent or Entity;
                                     (b) confirna the range of acceptable costs of ite~ns,ta be
                                          procured and match these with the available funds in
                                          the approved budget;
                                     (c) review the schedules . of procurement _ and.
                                          specifications and ~tso erisnre thaf the procurement
                                          procedures to be followed .are in strict conformity
                                          with the provisions of this Act, its operating
                                          regulations and guidelines;
                                     (d) ensure that the necessary concurrent approval is
                                           secured from the relevant Tender Review Board, in
                                          terms of the applicable threshold in Schedule 3 of
                  • -                      this Act; prior to the award-af-the-contract;-------------------   ~   -
                                     (e)      facilitate contract administration and ensure
                                           compliance with all reporting requirements under
                                           this Act; and
                                      (fl ensure that stores and equiprrient are disposed of in
                                           compliance with this Act.
    6. College /School Tender Committee
      (1) Chairperson            Chairman ofBoard of Governors
      (2) iVlembers              (a) Principal, Headmaster or Headmistress;
                                 (b) the Bursar or Finance officer;
                                 (c) two members ofthe governing board;
                                 (d) a lawyer appointed by the governing board;
                                 (e) two heads of department one being the ~bene~ciary
                                      department.
      (3) Secretary ~             Secretary to the governing board
      (4) Qnorurn                 Five             ~                       '
      (5) doting                Decisions shall be by simple majority and the chairperson
                                      shall have a casting vote.
      (6) Funet~ons               The Committee shall
                                 (a) review procurement plans in order to ensure that
                                      they support the objectives and operations of the
                                      Institution ox Entity;
                                 (b) confirm the range of acceptable costs bf items to be
                                       procured and match these with the available funds in
                                      the approved budget;-
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          (2)The annual report shall include a copy of the audited accounts together with
    the Auditor-General's report and the Minister shall as soon as practicable after receipt of
    the annual report submit the report to Parliament with such comment as the Minister
    aansiders necessary.
                           PART II—PROCiJR.EMENT STRUCTURES
    Scope of application
       14.(X)This Act applies to
               (a) theprocurement of goods, works and services, financed in whale or in part
                   from public funds except where the Minister decides that it is in the
                   national interest to use a different procedure;
               (b) functions that pertain to procurement of goods, works and services
                   including the description of requirements and invitation of sources,
                    preparation, selection and award of contract and the phases of contract
                   administration;
               (e) the disposal of public storey and equipment; and
               (d) procurement with funds or loans taken or guaranteed by the State and
                    foreign aid funds except where the applicable loan agreement, guarantee
                    contract or foreign agreement provides the procedure fox the use of the
                    funds.
           (2) Without limiting subsection (1), this Act applies to
               (a) central management agencies;
               (b) government ministries, departments and agencies;
                (c) subvented agencies;
               (d) governance institutions;
               (e) state awned enterprises to the extent that they utilise public funds;
               (~ public universities, public schools, colleges and hospitals;
               (~ the Bank of Ghana and financial institutions such as public trusts, pension
                    funds, insurance companies and building societies which are wholly owned
                     by the State or in which the State has majority interest;
                (h) institutions established by Government for the .general welfare ofthe public
                     or community.
            (3) Where the Minister decides under subsection (1)(a) that it is in the national
     interest to use a different procedure, the Minister shall define and publish in the Gazette
     the method of procurement to be followed in order to serve the interest ofeconomy.
     Procurement entihy
        1S.(1)A procurement entity is responsible far procurement, subject to this Act and to
     such other conditions as may be laid down in the procurement regulations and
     administrative instructions ofthe Minister, issued in consultation with the Board.
            (2)The head of an entity and any officer to whom responsibility is delegated are
     responsible and accountable for action taken and far any instructions with regard to the
     implementation ofthis Act that may be issued by the Minister acting in consultation with
     the Board.
            (3)Procurement decisions of an entity shall be taken in a corporate manner and
     any internal units concerned shall contribute to the decision making pracess.~




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              (8) Where,in respect ofa financial year, it is found that the amount of
              moneys appeopriated by the Appropriation Act for any purpose is
              insufficient or that a~need has arisen for expenditure for a purpose for
              which no sum ofmoneys has been appropriated by that Act,a
              supplementary estimate showing the sum ofmoney required, sha11 be laid
               before Parliament for ids approval.

              (9) Where,in the case ofa financial year, a supplementary estimate has
              been approved by Parliament in accordance with clause(8)ofthis article,
              a supplementary Apprapria~ion Bill shall be introduced into Parliament in
              the financial year next following the financial year to which the estimates
              relates, providing for the appropriation ofthe sum so approved for the
              purposes specified in that estimate.

              (10)Notwithstanding the provisions ofthe preceding .clauses ofthis
              article, the P~•esident may cause to be prepared and laid before Parliament,
              estimates ofrevenue and expenditure ofGhana for periods ofover one
              year,

              (11) Whenever in the estimates prepared in accordance with clauses(1)
              and (8)ofthis article provision is made for an item or vote other than for
              the Contingency Fund,not relating to a specifio item ofexpenditure, any
               moneys voted by Parliament in respect ofthat item or vote shall be under
              the control and supervision ofa Committee which shall consist ofthe
               President,the Speaker and the Chairman ofthe Council ofthe Council of
               State.

    180,

               Where it appearsto the P~•esident that the Appropriation Act in respect of
               any financial year will not came into operation by the beginning ofthat
               financial year, he may, with the prior approval ofParliament by a
               resolution, authorise the withdrawal ofmoneys from the Consolidated
               Fund fox the purpose of meeting expenditure necessary to carry on the
               services ofthe Government in respect ofthe period expiring three months
               from the beginning ofthe financial year or on the.coming into operation of
               the Act whichever is earlier.

     181,

               (1)Parliament may, be a resolution supported by the votes ofa majority of
               all the members ofParliament, authorise the Government to enter into an
               agreement for the granting ofa loan out ofany public fund or public
               account.




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              (2)An agreement entered into under clause(1)ofthis article shall be laid
              before ~'arliament and shall not came into operation unless it is approved
              by a resolution ofParliament.

              (3)No- loan shall be raised by the Government on behalfofitselfor any
              other public uastitution or authority otherwise than by or under the
              authority ofan Act ofParliament.

              (4)An Act ofParliament enacted in accordance with clause(3)ofthis
              article shall provide

                      (a)that the terms and conditions ofa loan shall be laid before
                      Parliament and shall not comeinto operation unless they have been
                      approved by a resolution ofParliament; and

                      (b)that any moneys received in respect ofthat loan sha11 be paid
                      into the Consolidated Fund and form part ofthat Fund ar into some
                      other publicfund ofGhana either existing or created for the
                      purposes ofthe loan.

              {5)This article shall, with the necessary modifications by Parliament,
              apply to an international business or economic transaction to which the
              Government is a party as it applies to a loan.

               (6}For the purposes ofthis article, "loan" includes any moneys lent or
               given to or by the Government on condition ofreturn or repayment, and
               any other form ofborrowing ox lending in respect ofwhich -

                       (a) moneys from the Consolidated Fund or any other public fund
                       may be used for payment or repayment;or

                       (b)moneys fronn any fund by whatever name called, established
                       for the purposes ofpayment or repayment whether directly or
                       indirectly, may be used for payment or repayment.

               (7)The Minister responsible for finance shall, at such times as Parliament
               may determine, present to Parliament any information concerning any
               discrepancies relating to -

                       (a)the granting ofloans, their repayment and servicing;

                       (b)the payment into the Consolidated Fund or other public fund of
                       moneys derived from loans raised on institutions outside Ghana.
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           (2) A party to the negotiations shall not reveal to any other person any technical,
    price ox other. infarmatian relating to the negotiations without the consent of the other
    PartY~
                                      PART VII---REVIEW
    Right to review
      78.(1) Any supplier, contractor or consultanti that claims to have suffered, or that may
    suffer loss or injury due to a breach of a duty imposed on the procurement entity'by this
    Act,.may seek review in accordance with this Part.
           (2)Notwithstanding subsection (1), the following shall not be subject to the review
              (a) the selectipn of a method of procurement under sections 35 to 43;
              (b) the choice of a selection procedure under section 75(6)(a), 75(6)(b) or
                   section 76;
              (c) the limitation of procurement proceedings in accordance with section 44;
                   and
              (d) a decision by the procurement entity under section 29 to reject tenders,
                   proposal, offers or quotation.
    Review by procurement entity
       79.(1) A complaint shall, in the first instance, be submitted in writing to the head of
    the procurement entity ifthe procurement contract has not already entered into force.
           (2)The head ofthe procurement entity shall not entertain a complaint unless it was
    submitted within twenty days after the supplier, contractor or consultant submitting it
    became aware of~the circumstances giving rise to the complaint ar when that supplier,
    contractor, pr consultant should have become aware of those circumstances, whichever is
    earlier.
           (3)The head of the procurement entity racy entertain a complaint or continue to
    entertain a complaint after the procurement contract has entered into force
    notwithstanding subsection (1).
           (4) A procurement entity shall attempt to resolve a complaint by mutual agreement
    ofthe supplier or contractor and the procurement entity.
           (S)The head of the procurement entity shall, within twenty-one days after the
    submission ofthe complaint, issue a written decision.
           (6)The decision sha11
              (a) state the reasons far the decision; and
              (b) i~' the complaint is upheld in whole or in part, indicate the corrective
                   measures that are to be taken.
           (7)If the head of the procurezx~ent entity does not issue a decision by the time
     specified in subsection (S), the supplier, contractor, or consultant, submitting the
     complaint is entitled to institute proceedings for administrative review under section 80.
            (8)After the institution of the proceedings, the competence of tl~e fiead of the
     procuring entity to entertain the complaint ceases.
     Administrative review
       80.(1) A supplier, contractor or consultant entitled to seek review may submit a
     complaint to the Board,




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             (a)within twenty-one days after
                       (i) ,the supplier, contractor or consultant became aware of the
                            circumstances giving rise to tie complaint; or
                       (ii) the time when the supplier, contractor ox consultant ought to have
                            become aware ofthose circumstances,
                    ifthe caxnplaint cannot 6e submitted under section 79 because ofthe entry
                     into force~ofthe procurennent contract;
             (G) if the head ~af the procurement entity does not entertain the complaint
                   because the procurement.contract has entered into force, and the complaint
                   is submitted within twenty-one days after the issuance ofthe decision not to
                   entertain the complaint;
             (c) under section 79(7) if the complaint is submitted within twenty-one days
                   after the expiry ofthe period referred to in section 79(5); or
             (d) ifthe supplier, contractor, or consultant claims to be adversely affected by a
                   decision of the head of the procurement entity under .section 79, and the
                   complaint is submitted within twenty days after the issue ofthe decision.
          (2)Upon .receipt of a complaint, the Board shall give notice of the complaint
    promptly to the procurement entity.
          (3)The Board may,
              (a) declare the legal rules or principles that govern' the subject-mattex of the
                    complaint;
              (b) order that the provisions ofthis Act be complied with;
              (c) require the procurement entity that hay acted or proceeded in an illegal
                    manner, ar that has reached an illegal decision, to act ox to proceed in a
                    legal manner or to reach a legal decision;
              (d) annul in whole or in part an illegal act or decision of the procurement
                    entity, other than any pct ox decision bringing the procurement contract into
                    force;
              (e) revise an illegal decision by the procurement entity or substitute its own
                    decision for the decision, other than any decision bringing the procurement
                    contract into force;
               (fl  require  the payment of compensation for reasonable costs incurred by the
                    supplier or contractor who'submitted the complaint, in connection with the
                     procurement proceedings as a result of an illegal decision of, or procedure
                    followed by the procurement entity;                               .
              (~ order that the procurement proceedin      gs be terminate d;
               (h) dismiss the complaint and require the payment of compensation for
                     reasonable casts incurred by the Procurement Entity or the Board.
            (4)The Board shall, within twenty-one days of starting a review, issue a written
     decision concerning the complaint, stating the reasons for the decision,
            (5) Correspondence pertaining to any complaint shall be copied to the Board..
     Certain rules applicable to review proceedings                                 .
       81,(1)The head of the procurement entity          or the  Board  shall notify  the suppliers, .
     contractors, or consultants participating in procurem   ent proceedin gs about the submission.
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    of a aamplaint and of its substance within 1~ working days after the submission of the
    complaint for review.
            (2) A supplier ox contractor or any government authority whose interests are or
    could be affected by the review proceedings is entitled to participate in the review
    proceedings.
            (3) A supplier, contractor, ar consultant who fails to participate in the review
    proceedings is barred from subsequently making the same type ofclaim.
            (4) A copy of the decision of the head of the procurement entity or of the Board
    shall be fitrnished within .five days after tfie issue of the decision to the supplier,
    contractor, ar consultant submitting the corr~plaint to the procurement entity and to any
    other ~ supplier, contractor or government authority that has participated in the review
    proceedings.
            (S) After the decision has been taken, the complaint and the decision shall be
    promptly made available :for inspection by the general public, but no information shall be
    disclosed if its disclosure would be contrary to law, would impede law enforcement;
     would not be in the public interest, would prejudice legitimate commercial interests ofthe
    parties or would inhibit fair competition.
     Suspension of procurement proceedings
        82.(1) Where review proceedings are initiated, the procurement proceedings may be
     suspended for 7 days ifthe complaint
                (a) ~s not frivolous;
                (b) contains a declaration which demonstrates that the supplier, contractor ar
                    consultant will suffer irreparable damage if the suspension is not granted;
                    and
                (d) is likely to succeed
     and the grant of the suspension will not cause disproportionate harm to the procurement
     entity or to other suppliers, contractors, or consultants.
              (2) When the procurement contract enters into force, upon the submission of a
     complaint under section 79, performance of the procurement contract shall be suspended
     for seven days, ifthe complaint meets the requirements set out in subsection (1).
              (3)The head of the procurement entity and the Board under subsection (2) may
     extend the suspension in order to presexve the rights of the supplier, contractor, or
     consultant who is a party to the review pending the disposition ofthe review proceedings,
     but the total period ofsuspension shall not exceed thirty days.
              (~)The suspension provided for by this section shall not apply if the procurement
      entity certifies that urgent public interest considerations requires the procurement to
      proceed.
              (S)The certification shall state the grounds for the finding that urgent
      considerations exist and shall be made a part of the record of the procurerr~ent
      proceedings, and it is conclusive with respect to administrative review.
              (6} Any dacision by the procurement entziy under this section and the grounds and
      circumstances shall be made part ofthe record o£the procurement proceedings,
                   PART'VIIT—DISPOSAL OF STORES,PLAATT AND EQUIPMENT
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                               CHAPTER ONE
                            THE CONSTITUTION

 1.

            (1)The Sovereignty of Ghana resides in the people of Ghana in whose
            name and for whose welfare the powers of government are to be exercised
            in the manner and within the limits laid down in this Constitution.

            (2)The Constitution shall be the supreme law of Ghana and any other law
            found to be inconsistent with any provision ofthis Constitution should, to
            the extent ofthe inconsistency, be void.



            (1) A person who alleges that -

                    (a) an enactment or anything contained in or done under the
                    authority ofthat or any other enactment; or

                    (b)any act or omission ofany person;

                    is inconsistent with, or is in contravention of a provision ofthis
                    Constitution, may bring an action in the Supreme Court for a
                    declaration to that effect.

            (2)The Supreme Court shall, for the purposes ofa declaration under
            clause(1)ofthis article, make such orders and give such directions as it
            may consider appropriate for giving effect, or enabling effect to be given,
            to the declaration so made.

            (3)Any person or group of persons of whom an order or direction is
            addressed under clause(2)ofthis article by the Supreme Court, shall duly
            obey and carry out the terms ofthe order or direction.

            (4)Failure to obey or carry out the terms of an order or direction made or
            given under clause(2)ofthis article constitutes a high crime under this
            Constitution and shall, in the case ofthe President or the Vice-President,
            constitute a ground for removal from office under this Constitution.




                                         __        __ _..

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                                 The Constitution

                                 CHAPTER TWO

                          TERRITORIES OF GHANA



            (1)The sovereign State of Ghana is a unitary republic consisting ofthose
            territories comprised in the regions which immediately before the coming
            into force ofthis Constitution, existed in Ghana, including the territorial
            sea and the air space.

            (2). parliament may by law provide for the delimitation ofthe territorial
            sea, the contiguous zone, the exclusive economic zone and the continental
            shelfof Ghana.

 5.

            (1) Subject to the provisions ofthis article, the President may,by
            constitutional instrument -

                    (a) create a new region;

                    (b)alter the boundaries ofa region; or

                    (c) provide for the merger oftwo or more regions.

            (2)Ifthe President, upon a petition being presented to him and, on the
            advice ofthe Council of State, is satisfied that there is substantial demand
            for -

                    (a)the creation ofa new region;

                    (b)the alteration ofthe boundaries ofa region, whether or not the
                    alteration involves the creation ofa new region; or

                     (c)the merger of any two or more regions;

             he shall, acting in accordance with the advice ofthe Council of State,
             appoint a commission ofinquiry to inquire into the demand and to make
             recommendations on all the factors involved in the creation, alteration or
             merge.

            (3)If, notwithstanding that a petition has not been presented to him,the
            President is, on the advice ofthe Council of State, satisfied that the need




                                         EXHIBIT 22
